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followed to ensure the safety of the public and MDOT SHA staff. Refer to Table 7-1 in SDEIS, Chapter 7
for a full list of the DEIS viewing locations.

The extensive and innovative efforts to provide opportunity for public comment on the DEIS was
unprecedented in Maryland. MDOT SHA and FHWA successfully held four virtual public hearings, each
lasting nine hours, to maximize the opportunity for participation throughout the day. The virtual public
hearings were held on the following dates from 9 AM to 8 PM (including two short breaks):

* Tuesday, August 18, 2020;

e Thursday, August 20, 2020;

e Tuesday, August 25, 2020; and
« Thursday, September 3, 2020.

Approximately 400 people participated in the virtual public hearings.

Two, in-person public hearings were also held in early September 2020, each lasting nine hours, in full
compliance with State-mandated COVID-19 guidelines to keep both the public and staff safe. In-person
hearings included a live presentation repeated at the beginning of the morning, afternoon, and evening
sessions. The in-person public hearings were held on the following dates from 12 PM to 9 PM (including
one short break):

e Tuesday, September 1, 2020, at Homewood Suites by Hilton (9103 Basil Court, Largo, MD 20774);
and

* Thursday, September 10, 2020, at Hilton Executive Meeting Center (1750 Rockville Pike Rockville,
MD 20852).

A total of 22 people attended the in-person public hearings.

Each virtual and in-person hearing could be listened to live via phone to accommodate persons without
access to a computer. The public and elected officials could register to provide verbal testimony in
advance or during both the virtual and in-person hearings and had the option to provide voicemail
testimony during any of the six public hearings. Members of the public were allotted three minutes and
elected officials were allotted five minutes, per person, for verbal testimony. Responses to questions were
not given at the hearing; responses to comments are provided in this FEIS. The virtual hearings held were
live-streamed on YouTube with automatic closed captioning. For full transparency, the recorded
testimony was transcribed and posted on the 1-495 & I-270 P3 Program webpage
(https://oplanesmd.com/your-participation/past-public-outreach/) along with the in-person public

hearing testimony transcripts. Plain-text versions of the presentation script and display boards were also
uploaded to the program website so that website visitors may use Google translate and/or text-to-voice
programs for the visually impaired.

The MDOT SHA and FHWA granted a 30-day extension of the public comment period for the DEIS. A 90-
day comment period was originally provided on the DEIS, twice the minimum time required by FHWA.
Based on input from the public, community partners, stakeholders and local and federal officials, MDOT
SHA supported extending the comment period to 120 days and made a formal request to FHWA, which

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has authority to grant any extension. FHWA approved the request, and comments on the DEIS were
accepted until November 9, 2020.

Refer to Appendix A of the Final Public Involvement and Agency Coordination Technical Report (FEIS,
Appendix R) for outreach materials from the DEIS public comment period. For a summary of comments
received on the DEIS and responses to common themes, refer to FEIS, Chapter 9. Individual comments
and responses as well as transcripts of oral testimony received for the DEIS are included in FEIS, Appendix
T.

8.2.2 SDEIS Notice of Availability and Comment Period

The SDEIS was published on October 1, 2021 and was made available on the |!-495 & I-270 P3 Program
webpage (https://oplanesmd.com/sdeis/), USEPA EIS Database webpage, as well as 18 public libraries in
Montgomery, Prince George’s, and Fairfax Counties and Washington DC (refer to Table 8-1). MDOT SHA
and FHWA granted a 15-day extension of the public comment period for the SDEIS, which lasted 60 days
from October 1, 2021 to November 30, 2021.

Opportunities to comment on the SDEIS were provided by the following ways:

Oral testimony at the Virtual Public Hearing, on November 1, 2021

Online SDEIS comment form at https://oplanesmd.com/SDEIS/

Email to MLS-NEPA-P3 @mdot.maryland.gov

Letters to Jeffrey T. Folden, P.E., DBIA, 1-495 & I-270 P3 Program Deputy Director, |-495 & I-270
P3 Office, 707 North Calvert Street, Mail Stop P-601, Baltimore MD 21202

e = Call-in line to provide verbal comment through voicemail

The SDEIS Virtual Public Hearing was held on November 1, 2021 with two sessions to provide the public
an opportunity to provide live oral testimony on the SDEIS. Session 1 was from 2 PM to 4 PM and Session
2 was from 6 PM to 8 PM. Individuals were required to register in advance to be admitted to the phone
queue for comment. Members of the public were allotted three minutes and elected officials were
allotted five minutes, per person, for verbal testimony. Responses to questions were not given at the
hearing; responses to comments are provided in this FEIS. A total of 35 people attended the virtual public
hearing.

In addition to verbal public testimony, stakeholders were able to provide one-on-one testimony during
the call-in hearing sessions by calling and leaving a single voicemail message limited to three minutes. The
public could listen live to the hearing sessions via telephone to accommodate persons without access to
a computer or via livestream at https://oplanesmd.com/SDEIS/. For full transparency, the recorded
testimony was posted on the 1-495 & 1-270 P3 Program webpage (https://oplanesmd.com/your-
participation/past-public-outreach/). Plain-text versions of the presentation script and display boards

were also uploaded to the program website so that website visitors may use Google translate and/or text-
to-voice programs for the visually impaired.

To provide persons without electronic access to view the SDEIS in hard copy, MDOT SHA and FHWA
provided 18 SDEIS viewing locations. These locations and hours when the facility was open for viewing
the documentation are included in Table 8-1.

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Table 8-1: SDEIS Viewing Locations

COUNTY

LOCATION

VIEWING TIMES

1 Montgomery

GAITHERSBURG LIBRARY

18330 Montgomery Village Ave

Gaithersburg, MD 20879

Tue & Thu: 12 - 8 PM

Mon, Wed, Fri & Sat: 10 AM - 6 PM

2 Montgomery

QUINCE ORCHARD LIBRARY
15831 Quince Orchard Rd
Gaithersburg, MD 20878

Tue & Thu: 12-8 PM

Mon, Wed, Fri & Sat: 10 AM - 6 PM

3 Montgomery

ROCKVILLE MEMORIAL LIBRARY*

21 Maryland Ave
Rockville, MD 20850

Tue & Thu: 12-8 PM

Mon, Wed, Fri & Sat: 10 AM - 6 PM

4 Montgomery

POTOMAC LIBRARY
10101 Glenolden Dr
Potomac, MD 20854

Tue & Thu: 12 - 8 PM

Mon, Wed, Fri & Sat: 10 AM - 6 PM

5 Montgomery

DAVIS LIBRARY
6400 Democracy Blvd
Bethesda, MD 20817

Tue & Thu: 12-8 PM

Mon, Wed, Fri & Sat: 10 AM - 6 PM

6 Montgomery

KENSINGTON PARK LIBRARY
4201 Knowles Ave
Kensington, MD 20895

Tue & Thu: 12-8 PM

Mon, Wed, Fri & Sat: 10 AM - 6 PM

7 Montgomery

CHEVY CHASE LIBRARY
8005 Connecticut Ave
Chevy Chase, MD 20815

Tue & Thu: 12 - 8 PM

Mon, Wed, Fri & Sat: 10 AM - 6 PM

8 Montgomery

SILVER SPRING LIBRARY
900 Wayne Ave
Silver Spring, MD 20910

Tue & Thu: 12-8 PM

Mon, Wed, Fri & Sat: 10 AM - 6 PM

9 Montgomery

WHITE OAK LIBRARY
11701 New Hampshire Ave
Silver Spring, MD 20904

Tue & Thu: 12-8 PM

Mon, Wed, Fri & Sat: 10 AM- 6 PM

10 | Prince George’s BELTSVILLE LIBRARY Mon, Tue, Thu, & Fri: 10 AM-6 PM
4319 Sellman Rd Wed: 12-8 PM
Beltsville, MD 20705 Sat: 10 AM-S PM

11 | Prince George’s GREENBELT LIBRARY* Mon, Tue, Thu, & Fri: 10 AM - 6 PM
11 Crescent Rd Wed: 12-8 PM
Greenbelt, MD 20770 Sat: 10 AM-S PM

12 | Prince George’s NEW CARROLLTON LIBRARY Mon, Tue, Thu, & Fri: 10 AM- 6PM
7414 Riverdale Rd Wed: 12-8 PM
New Carrollton, MD 20784 Sat: 10 AM-5 PM

13 | Prince George’s GLENARDEN LIBRARY Mon, Tue, Thu, & Fri: 10 AM-6 PM
8724 Glenarden Pkwy Wed: 12-8 PM
Glenarden, MD 20706 Sat: 10 AM-5 PM

14 | Prince George’s LARGO-KETTERING LIBRARY Mon, Tue, Thu, & Fri: 10 AM - 6 PM
9601 Capital Ln Wed: 12-8PM
Upper Marlboro, MD 20772 Sat: 10 AM-5 PM

15 | Prince George’s SPAULDINGS LIBRARY Mon, Tue, Thu, & Fri: 10 AM- 6PM
5811 Old Silver Hill Rd Wed: 12-8 PM
District Heights, MD 20747 Sat: 10 AM-5 PM

16 | Prince George’s OXON HILL LIBRARY Mon, Tue, Thu, & Fri: 10 AM-6 PM
6200 Oxon Hill Rd Wed: 12-8PM
Oxon Hill, MD 20745 Sat: 10 AM-S PM

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COUNTY LOCATION VIEWING TIMES
17 =| Fairfax DOLLY MADISON LIBRARY Mon & Tue: 10 AM-9 PM
1244 Oak Ridge Ave Wed, Thu, Fri & Sat: 10 AM—6 PM
McLean, VA 22101
18 | Washington DC SHEPHERD PARK LIBRARY Mon, Tue, Wed, Fri & Sat: 10 AM - 6
7420 Georgia Ave NW PM
Washington, DC 20012 Thu: 12-8PM

*The Rockville and Greenbelt libraries had hard copies of the SDEIS and Technical Reports available. All other libraries had the
technical reports on USB flash drives

Refer to Appendix B of the Final Public Involvement and Agency Coordination Technical Report (FEIS,
Appendix R) for outreach materials from the SDEIS public comment period. For asummary of comments
received on the SDEIS and responses to common themes, refer to FEIS, Chapter 9. Individual comments
and responses as well as transcripts of oral testimony received for the SDEIS are included in FEIS, Appendix
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8.2.3 Public Outreach with Environmental Justice (EJ) Populations

An Environmental Justice (EJ) population is a population concentration of minority race and ethnicity
individuals and/or low-income households that meets federal definitions. As documented in the EJ
Analysis in Chapter 5, Section 21 of the FEIS, EJ populations have been identified along the study corridors
and are shown in Figure 8-1.

Providing full and fair access to meaningful involvement by low-income and minority populations in
project planning and development is an important aspect of EJ. Meaningful involvement means the lead
agencies invites participation from populations typically underrepresented, throughout all the project
stages. Due to the highly diverse demographics composing the population adjacent to and using the study
corridors, much of the corridor-wide public involvement efforts conducted for the Study were aimed at
reaching this socioeconomically diverse audience. This chapter highlights the public involvement efforts
conducted in or near EJ populations, as well as additional efforts to outreach and engage with traditionally
underserved populations.

In addition to standard public notifications of the availability of the DEIS and notification of the Public
Hearings and associated comment period, MDOT SHA implemented additional notification methods to
encourage meaningful involvement by low-income and minority race/ethnicity populations, as well as
other traditionally marginalized populations in review of the DEIS and participation in the Public Hearings.
These efforts include the following:

e Mailed flyers in English, Spanish, Amharic, and French? flyers to approximately 200 affordable
housing complexes, schools, and places of worship? in the study area. Emailed PDFs of these
flyers to the organizations that have email addresses listed online. A cover letter was sent with
both forms of distribution.

1 Spanish, French, and Amharic are the top primary languages of English for Speakers of Other Languages (ESOL)
learners in both counties.

? Includes EJ- area schools with above-average participation in the Free and Reduced-price Meals Program; places
of worship in EJ areas; and all affordable-housing complexes within the study area.

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e Uploaded to the project website the DEIS Executive Summary translated into Spanish, Amharic,

and French. All DEIS documents were made Section 508-compliant on the project website.

e Provided hard copies of the translated DEIS Executive Summary at the DEIS viewing locations.

® Spanish

language advertisements in E£/ Tiempo Latino, Washington Hispanic, and on

eltiempo.com.

e Additional County outreach:

o
o
o

Montgomery County News press release;
Inclusion in Montgomery County Executive’s weekly newsletter;
Inclusion in Montgomery County Department of Transportation (MCDOT) bi-weekly
newsletter and social media posts;
Distribution of flyer via Maryland-National Capital Park and Planning Commission
(M-NCPPC) Prince George’s County Planning email databases;

= Planning Department listserv with approximately 19,200 email addresses;

"= Community Association listserv with approximately 700 email addresses;

Inclusion in Prince George’s County social media posts; and
Coordination with Prince George’s County Faith-Based Advisory Board to distribute
information to their ministry listserv with approximately 70 email addresses.

e Additional translation of flyer to Chinese, Korean, Malayalam, Punjabi, Tagalog, and Yoruba,
uploaded to the project website, and distribution of hard copies to groceries largely serving

immigrant communities.

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ALDI (Beltsville, Lanham)

Anarkali Bazar (Greenbelt)

Giant Food (Greenbelt, Largo, Marlow Heights)
Global International Grocery (Silver Spring)

Great Wall Supermarket (Rockville)

Jumbo Food International Supermarket (Temple Hills)
La Colonia International Supermarket (Camp Springs)
Las Americas Market (Rockville)

Latino Market Grocery (Gaithersburg)

Lidl (District Heights)

Periyar Asian Grocery (Landover Hills)

Safeway (Greenbelt)

Save A Lot (Forestville)

Shoppers (College Park, Forestville, Largo, New Carrollton)

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Figure 8-1: EJ Populations along the Study Corridors

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2

Gaithersburg

Potomac

McLean

Montrose Roag North

Bethesda

Cu] CEA and EJ Analysis Area Communities CJ Low-Income Popluations
ap State Boundary GY Both Minority & Low Income Populations

CI Ho Minority & Low Income Populations

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EJ outreach efforts for publication of the SDEIS and notification of the Public Hearing and comment period
were similar to the DEIS outreach efforts and included the following:

e Newspaper print advertisements in E/ Tiempo Latino, Washington Hispanic and digital
advertisements on DCBlack.com, Afro.com, and Eltiempo.com.

« Developed a flyer to outreach to EJ populations that featured an emphasis on SDEIS availability,
ways to comment, and the announcement of Virtual Public Hearings; the flyer included a QR code
to link to SDEIS availability on the project website. The flyer was translated into in Spanish,
Amharic, French, Chinese, and Korean based on the top languages spoken by limited English
proficiency (LEP) populations in Montgomery County as identified in the 2020 MCDOT Language
Assistance Plan.

« Mailed flyer to approximately 200 affordable housing complexes, schools, and places of worship
along the study corridors. PDFs of these flyers were emailed to the organizations that have email
addresses listed online. A cover letter was sent with both forms of distribution.

e Mailed flyers to county advisory boards and community groups who serve minority race and
ethnicity and other traditionally marginalized populations. PDFs of these flyers were emailed to
the organizations that have email addresses listed online. A cover letter was sent with both forms
of distribution.

o Montgomery County
= Faith Community Advisory Council
= Gilchrest Immigrant Resource Center
= Department of Housing and Community Affairs
= Community Reach, Commission on People with Disabilities
= Health and Human Services Latino Health Initiative
= Literacy Council
= DOT Division of Transit Services
= Health and Human Services Office of Community Affairs
= Office of Community Partnerships
= Sidney Kramer Upcountry Regional Services Center
= Health and Human Services Asian American Health Initiative
= Office of Community Relations
= Department of Social Services Internal and External Affairs
Prince George's Housing Authority
Prince George's Community Outreach Promoting Empowerment Section (COPE)
Literacy Council of Prince George's County
Prince George's Aging and Disabilities Services Division

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« Additional translation of flyer to Chinese, Korean, Malayalam, Punjabi, Tagalog, and Yoruba,
uploaded to the project website, and distribution of hard copies to groceries largely serving

immigrant communities in both Montgomery and Prince George’s Counties.

Additionally, translated versions of the SDEIS Executive Summary were posted to the project website, and
all SDEIS documents were made Section 508-compliant on the project website.

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Refer to Appendix G of the Final Community Effects Assessment and Environmental Justice Technical
Report (FEIS, Appendix F) for EJ outreach materials used for the notification and public comment periods
associated with the DEIS and SDEIS.

Since the DEIS publication and in response to comments from the USEPA, an EJ Working Group was
established to support the EJ analysis and outreach efforts to be conducted for the Study moving forward.
Agency members include FHWA, USEPA, MDOT SHA, Maryland Department of Planning (MDP), MCDOT,
M-NCPPC, and Prince George’s County Department of Public Works and Transportation (DPW&T). The
goals of the EJ Working Group are to:

e Develop potential mitigation measures should high and adverse disproportionate impacts occur
and identify additional outreach opportunities using federal, state, and local experience; and

e Identify potential commitments to EJ/public health mitigation measures related to social/health
vulnerability indicators; and

e Identify recommendations for additional engagement opportunities including FEIS notifications
and post-NEPA outreach to communities.

Since the DEIS was published, three meetings of the EJ Working Group were held in 2021 (Table 8-2) with
additional coordination via email and resulted in development implementation of an additional EJ
engagement initiative in the Fall of 2021.

Table 8-2: EJ Working Group Meetings and Coordination

DATE AGENDA ITEMS
March 2, 2021 Kick-off Meeting; Agency member introductions and establishing goals
April 7, 2021 Data collection to support existing conditions discussion in EJ Analysis; Discussion on

EJ Public Outreach Plan and future opportunities; Mitigation considerations
September 15, 2021 Draft EJ Outreach and Engagement Plan Through SDEIS/FEIS/ROD
November 9, 2021 Final EJ Outreach and Engagement Plan

In the Fall of 2021, MDOT SHA underwent an additional outreach effort with the purpose of providing
opportunities for meaningful engagement with underserved communities directly or indirectly affected
by the proposed improvements. The EJ Outreach and Engagement Plan focused on engaging with
individuals to learn about concerns and hear recommendations on community betterments that could be
implemented as part of the project. The EJ Outreach and Engagement Plan was developed and discussed
with: the EJ Working Group; the Director of University of Maryland’s Center for Community Engagement
Environmental Justice and Health; City of Rockville; City of Gaithersburg; and Montgomery County
Advisory Group Leads, including:

e African Affairs Advisory Group e LGBTQ Advisory Group

e Asian Pacific Advisory Group e Middle Eastern American Advisory
¢ Caribbean American Advisory Group Group

@ Faith Community Advisory Council e Senior Community Advisory Group

e Latin American Advisory Group

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MDOT SHA developed an online survey to seek feedback from EJ and other underserved populations on
existing community concerns and strategies that could be implemented to address those concerns. The
survey was distributed in a variety of ways including through multiple community “pop-up” events hosted
by MDOT SHA at local specialty markets in areas noted as having high percentages of low-income and/or
minority populations (Table 8-3). These community events allowed for meaningful, direct face-to-face
engagement. Community members were able to complete the survey on iPads and ask questions of the
staff. Multi-lingual staff were present at each pop-up event.

Table 8-3: Additional EJ Engagement

DATE ORGANIZATION

November 10, 2021 Great Wall Supermarket (Pop-up Event with informational booth)
November 13, 2021 Lotte Plaza Market (Pop-up Event with informational booth)
November 19, 2021 Megamart (Pop-up Event with informational booth)

November 19, 2021 H Mart (Pop-up Event with informational booth)

November 20, 2021 Adarash Market (Pop-up Event with informational booth)

November 20, 2021 Lotte Plaza Market (Pop-up Event with informational booth)
November 23, 2021 Patel Brothers Farms Market (Pop-up Event with informational booth)

The survey was open for approximately six weeks, allowing respondents to complete the questions at
their own pace. In addition to English, the survey was provided in Spanish, French, Amharic, Chinese, and
Korean— the same top five non-English spoken languages that DEIS and SDEIS materials were translated
into based on Montgomery County’s Department of Transportation 2020 Language Assistance Plan. The
survey is provided in Appendix H of the Community Effects Assessment and Environmental Justice Analysis
Technical Report (FEIS, Appendix F).

In addition to the direct face-to-face engagement,
postcards, flyers, yard signs, targeted social media, local
agency and community organization coordination were
used to promote the survey. Promotional materials
included a QR code with a direct link to the survey online;
the flyer also included the survey questions themselves.
All materials were translated into the top five non-English
languages identified above. Postcards and flyers were
placed at local health clinics, specialty markets, grocery
stores and places of worship. Yard signs with the QR code
were placed at affordable housing complexes and near
bus transit stations. In addition, an email with the survey
was sent to 230 community email addresses informing
people about the survey, inviting them to participate, and
encouraging them to share the information with their
community. Lastly, approximately 49 places of worship

were contacted and, where allowed postcards and yard
signs with the QR code were distributed.

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The survey included three multiple choice questions about
potential community betterment and needs, and one open-
ended question asking what other improvements are needed in
the respondent’s community. Sixty-one people completed the
survey. The following are the most common responses to the
multiple-choice questions in the survey.

Question #1: Transportation improvements needed:

1. Better lighting on streets and sidewalks (21%)
2. More or improved sidewalks (17%)
3. Traffic calming to make streets safer (15%)

Question #2: Neighborhood needs:

1. Recreation centers parks, and playgrounds (30%)
2. Sidewalks, trails, and bike lanes (26%)

Question #3: Environmental problems in your community:

1. Water quality (24%)
2. Noise (20%)
3. Safe and healthy housing (20%)

The most common responses to the open-ended question on community improvements needed were:

« Lighting

« Community services

« Safety

¢ Road (more or better)

MDOT SHA and the Developer will continue coordination with local and regional advisory groups to
determine additional methods for engaging with underserved communities. This will be an ongoing effort
that continues post-NEPA, through final design and construction.

For additional detail on EJ Engagement Initiatives, refer to the EJ Outreach Summary Report in Appendix
H of the Community Effects Assessment and Environmental Justice Analysis Technical Report (FEIS,
Appendix F). Refer to Appendix C of the Final Public Involvement and Agency Coordination Technical
Report (FEIS, Appendix R) for outreach materials used for the EJ Outreach Initiative.

8.2.4 Other Community Meetings and Stakeholder Outreach Events

Engagement with communities, stakeholders and elected officials continued to occur after the DEIS was
published in July 2020 (Table 8-4). All meetings except for one were held virtually due to the COVID-19
Pandemic. The focus of this engagement was to better understand comments received on the DEIS,
provide Study related updates, and seek feedback on a host of topics including effects of COVID-19 on
traffic, transit opportunities, alternatives design, managed lanes access, bicycle and pedestrian
improvements, economic benefits, and environmental concerns. MDOT SHA continued engaging with

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stakeholder working groups that were either initiated before the DEIS or developed after including the
Transit Working Group, Regional Economic Working Group, and EJ Working Group, as discussed above. In
February 2021, MDOT SHA reinitiated meetings, held virtually, with several Homeowners’ Associations
(HOA) and Community Associations. Active engagement with stakeholders, communities, and elected
official has continued to occur as the Study progressed to this FEIS. On April 6, 2021, an e-mail blast was
sent to more than 600 e-mail addresses compiled from the Montgomery County Mailing List Generator
for HOA, Citizens and Civic Associations. HOA and Community Association leaders along the study corridor
were invited to schedule a project briefing for their community. Ten groups responded and seven briefings
were held, and three briefings are planned for later in the year. In addition, MDOT SHA has held over 40
meetings with elected officials. Refer to FEIS, Appendix R for additional information on these meetings.

Table 8-4: Stakeholder and Community Meetings Since Publication of the DEIS
DATE ORGANIZATION

July 9, 2020 Northern Virginia Transportation Alliance
July 20, 2020 Montgomery County Council Transportation & Environment Committee Briefing
July 21, 2020 Greater Washington Partnership

September 3, 2020 Stakeholder Group Briefing (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

September 14, 2020 | Montgomery County Department of Transportation

September 15, 2020 | Prince George’s County Department of Public Works and Transportation

September 22, 2020 | Prince George’s County Council Briefing

October 5, 2020 Virginia Department of Transportation 495 NEXT Project Public Hearing

October 6, 2020 Frederick County Department of Transportation

October 8, 2020 Virginia Department of Transportation 495 NEXT Project Public Hearing (in-person)
October 26, 2020 Montgomery County Council Transportation and Environment Committee

November 6, 2020 Disadvantaged Business Enterprise Opportunity MDOT Networking Event

November 10, 2020 | Northern Virginia Transportation Alliance “What You Need to Know About
Transportation” Seminar

November 16, 2020 | Upcounty Citizens Advisory Board Land Use Committee

November 18, 2020 | Greater Washington Partnership Capital Region Transportation Forum

November 20, 2020 | Frederick County Department of Transportation

November 20, 2020 | Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

December 1, 2020 Great Seneca Science Corridor IAC
December 4, 2020 Maryland Transportation Builders and Materials Association Together for Transportation
Coalition

December 9, 2020 Montgomery County Business Roundtable

December 18, 2020 | Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

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DATE

ORGANIZATION

January 15, 2021

Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

January 19, 2021

Northern Virginia Transportation Alliance/Suburban Maryland Transportation Alliance
Joint Briefing

January 19, 2021

MDOT Office of Small Business Policy Small Business Enterprise Outreach Event

January 26, 2021

Transit Work Group

February 3, 2021

Regional Economic Work Group

February 4, 2021

Laborers International Union of North America

February 8, 2021

Montgomery County Economic Development Corporation

February 10, 2021

Leadership Montgomery

February 12, 2021

Asian American Chamber of Commerce

February 19, 2021

Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

February 19, 2021

MCDOT Office of Small and Minority Small Business Enterprise Outreach

February 24, 2021

Regency Estates Civic Association

February 24, 2021

Conference of Minority Transportation Officials

February 25, 2021

Lantian Development

March 1, 2021

Washington Biologists’ Field Club

March 12, 2021

ASHE Potomac Chapter

March 19, 2021

Hispanic Chamber of Commerce of Montgomery County

March 30, 2021

Peterson Companies

March 31, 2021

Regional Economic Work Group

April 14, 2021

Frederick County Chamber Transportation Advisory Committee

April 16, 2021

Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

April 20, 2021

Montgomery County Civic Federation

April 26, 2021

ITE Annual Meeting

April 29, 2021 George Mason University P3 Panel

April 30, 2021 Rubenstein Partners

May 6, 2021 Opportunity MDOT Stakeholders Meeting

May 11, 2021 Avonglen HOA

May 20, 2021 Rosemont Citizens Association

May 25, 2021 Maplewood Park HOA

May 26, 2021 Regional Economic Work Group Steering Committee

June 2, 2021

North Potomac Citizens Association

June 2, 2021

Friends of Moses Hall Cemetery and First Agape AME Zion Church Stakeholder Group

June 8, 2021

Luxmanor Citizens Association

June 2022

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DATE ORGANIZATION

June 10, 2021 Joint Briefing for Budget Committee Staff

June 11, 2021 Leadership Montgomery

June 15, 2021 Rock Creek Conservancy Advocacy Committee

June 24, 2021 Regional Economic Work Group

July 22, 2021 Hispanic Chamber of Commerce of Montgomery County

August 3, 2021 Frederick County Department of Transportation

August 13, 2021 Frederick Keys Baseball Game (Pop-up Event with informational booth)
August 18, 2021 Shady Grove Farmers Market (Pop-up Event with informational booth)
August 28, 2021 Derwood Farmers Market (Pop-up Event with informational booth)

September 4, 2021 Rockville Arts Festival (Pop-up Event with informational booth)
November 29, 2021 | Washington Biologists’ Field Club
December 20, 2021 | Upcounty Citizens Advisory Board

January 12, 2022 Patuxent River Commission

January 18, 2022 Bicycle / Pedestrian Crossing Discussion to the Transportation Planning Board
January 19, 2022 American Society of Civil Engineers Catoctin Branch

February 8, 2022 McLean Citizen’s Association- Transportation Subcommittee

March 24, 2022 Washington Biologists’ Field Club

Note: All meetings held virtually unless otherwise denoted.

8.3 Agency and Stakeholder Coordination

The FHWA and MDOT SHA actively engaged the Federal, state, regional, and local agencies, as well as the
adjacent counties, Metropolitan Planning Organizations, and other agency stakeholders throughout the
Study process, simultaneously with other public involvement efforts. Additional detail on agency
coordination is provided throughout the FEIS, Appendix R. For additional detail on agency
correspondence received on the project, refer to the respective technical reports and FEIS, Appendix S.

Since the DEIS was published in July 2020, MDOT SHA has continued to meet with FHWA, as the Lead
Federal Agency, the Cooperating Agencies and other state and local agencies and stakeholders. The
meetings are listed in Table 8-5 and focused on discussing individual DEIS comments from agencies and
stakeholders and working towards a resolution of critical study topics. Other ongoing agency collaboration
and consultation has included: Section 106 Consulting Parties meetings, Executive Steering Committee
meetings, and the establishment of the EJ Working Group. As a result of this continuous extensive
coordination effort, MDOT SHA was able to address many agency and stakeholder comments on the DEIS
and SDEIS by choosing a Preferred Alternative that aligns with the phased delivery and permitting
approach and avoids all residential and business displacements and significant impact to natural, cultural
and historic resources on the top and east sides of I-495, incorporating additional transit and bicycle and
pedestrian improvements, and refining the design to further avoid and minimize impacts to resources.
Refer to Section 8.4 of this Chapter and FEIS, Chapters 3 and 5 for additional details. These efforts were
based on the extensive agency coordination as detailed in Table 8-5 through Table 8-9.

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Table 8-5: Agency & Stakeholder Coordination Meetings Post-DEIS Publication

DATE PURPOSE AGENCIES AND/OR STAKEHOLDERS REPRESENTED
August 3, 2020 Stream Mitigation Calculator Coordination US Army Corps of Engineers (USACE) and Maryland
Department of the Environment (MDE)
August 6, 2020 Water and Science Administration Working | MDE
Meeting
August 17, 2020 Park Impacts and Mitigation Meeting M-NCPPC Montgomery County
September 3, 2020 | Wetland Mitigation Meeting National Park Service (NPS) and FHWA
September 21, 2020/ Park Impacts and Mitigation Meeting M-NCPPC Montgomery County
September 28, 2020| Park Impacts and Mitigation Meeting M-NCPPC Prince George’s County
September 29, 2020) Informal Section 7 Consultation US Fish and Wildlife Service (USFWS), FHWA, and
Maryland Department of Natural Resources
(MDNR)
October 5, 2020 Wetland Mitigation Meeting NPS
October 20, 2020 Park Impacts and Mitigation Meeting M-NCPPC Montgomery County
October 20, 2020 Bicycle and Pedestrian Improvements M-NCPPC Prince George’s County and Prince
Coordination Meeting George’s County DPW&T
November 2, 2020 | Right-of-Way Coordination Meeting M-NCPPC Montgomery County
November 23, 2020 | Permitting Strategy Meeting FHWA, USACE, MDE, and USEPA
December 1, 2020 Biweekly FHWA Coordination Meeting FHWA
December 1, 2020 | Northwest Branch Stormwater M-NCPPC Montgomery County
Management Meeting
December 2, 2020 | Permitting Strategy Meeting USACE, MDE, USEPA, and FHWA
December 8, 2020 Plummers Island Avoidance and NPS, MDNR, USFWS, MDE, USACE, and FHWA
Minimization Efforts Meeting
December 11, 2020 | Bicycle and Pedestrian Improvements M-NCPPC Montgomery County and MCDOT
Coordination Meeting
December 11, 2020 | Culvert Field Meeting USEPA, MDE, USACE and FHWA
December 14, 2020 | DEIS Comments Review Meeting NPS and FHWA
December 15, 2020 | Reoccurring FHWA Coordination Meeting FHWA
December 17, 2020 | Permitting Strategy Meeting FHWA, USACE, MDE, and USEPA
January 12, 2021 Reoccurring FHWA Coordination Meeting FHWA
January 19, 2021 Issue Resolution Kick-off Meeting M-NCPPC Montgomery and Prince George’s
County
January 20, 2021 Northwest Branch Stormwater M-NCPPC Montgomery County
Management Meeting
February 1, 2021 Collaborative Leadership Summit FHWA, USACE, USEPA, NPS, National Park and
Planning Commission (NCPC), USFWS, US Postal
Service (USPS), National Oceanic and Atmospheric
Administration National Marine Fisheries Service
(NOAA NMFS), US NAVY, MDNR, MDE, M-NCPPC,
VDOT, Maryland Historical Trust (MHT), MDP,
MDTA, Maryland Transit Authority (MTA), MCDOT,
and PG DW&T
February 3, 2021 DEIS Comments Review Meeting NCPC and FHWA
February 3, 2021 Reoccurring FHWA Coordination Meeting FHWA

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AGENCIES AND/OR STAKEHOLDERS REPRESENTED

February 8, 2021

American Legion Bridge and Baltimore-
Washington Parkway Impacts Coordination
Meeting

NPS and FHWA

February 9, 2021

Managed Lanes Study (MLS) and |-495
NEXT Coordination Meeting

VDOT

February 9, 2021

DEIS Comments Review Meeting

MDNR and FHWA

February 10, 2021

DEIS Comments Review Meeting

USACE, MDE, and FHWA

February 11, 2021

Reoccurring FHWA Coordination Meeting

FHWA

February 18, 2021

DEIS Comments Review Meeting

USEPA and FHWA

February 25, 2021

Executive Steering Committee

FHWA, USACE, US Department of Agriculture
(USDA), USEPA, NPS, NCPC, USFWS, USPS, NOAA
NMFS, US Navy, US Airforce Joint Base Andrews
(JBA), MDNR, MDE, M-NCPPC, VDOT, MHT, MDP,
MDTA, MTA, MCDOT, and PG DPW&T

February 26, 2021

Carderock and Bethesda Property Impacts
Meeting

US Navy and FHWA

March 2, 2021

Reoccurring FHWA Coordination Meeting

FHWA

March 4, 2021

American Legion Bridge, Baltimore-
Washington Parkway, and George
Washington Memorial Parkway (GWMP)
Impacts Coordination Meeting

NPS and FHWA

March 10, 2021

DEIS Comments Review and Stormwater
Management Meeting

M-NCPPC Montgomery County

March 15, 2021

DEIS Comments Review Meeting

M-NCPPC Montgomery County

March 17, 2021

Reoccurring FHWA Coordination Meeting

FHWA

March 19, 2021

Stormwater Management Meeting

M-NCPPC Prince George’s County

March 24, 2021

DEIS Comments Review and Stormwater
Management Meeting

M-NCPPC Prince George’s County

April 1, 2021 Transportation Use and Property Boundary | NPS and FHWA
Meeting
April 6, 2021 American Legion Bridge and Resources USACE and MDE
Update Meeting
April 6, 2021 Reoccurring FHWA Coordination Meeting FHWA
April 9, 2021 DEIS Comments Review and Stormwater M-NCPPC Prince George’s County

Management Meeting

April 12, 2021

Rock Creek DEIS Comments Review
Meeting

M-NCPPC Montgomery County

April 13, 2021

Stormwater Management Site Meeting

M-NCPPC Montgomery County

May 4, 2021 Reoccurring FHWA Coordination Meeting FHWA
May 12, 2021 Phase 1 South Park Impacts and Mitigation | M-NCPPC Montgomery County
Meeting

May 18, 2021 SDEIS Air and Noise Coordination Meeting FHWA

May 26, 2021 Executive Steering Committee FHWA, USACE, USEPA, NPS, NCPC, USFWS, USPS
NOAA NMFS, US Navy, JBA, MDNR, MDE, M-NCPPC,
VDOT, MHT, MDP, MDTA, MCDOT, and PG DPW&T

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AGENCIES AND/OR STAKEHOLDERS REPRESENTED

June 1, 2021

Reoccurring FHWA Coordination Meeting

FHWA

June 2, 2021

Moses Hall Cemetery and First Agape AME
Zion Church Bicycle and Pedestrian
Connection on Seven Locks Road Meeting

First Agape AME Zion Church at Gibson Grove,
Friends of Moses Hall, M-NCPPC Montgomery
County, MCDOT, and FHWA

June 8, 2021 Air Quality Conformity Determination FHWA
Meeting
June 10, 2021 Compensatory Stormwater Management FHWA

Plan Meeting

June 21, 2021

Park Impacts and Mitigation Meeting

NPS and FHWA

June 21, 2021

American Legion Bridge Trail Connection
Meeting

M-NCPPC, MCDOT, NPS, and FHWA

June 21, 2021

Maryland and Virginia 495 Interface
Technical Coordination

VDOT

June 23, 2021

Transportation Use and Property Boundary
Meeting

NPS and FHWA

June 30, 2021

Transportation Use and Property Boundary
Meeting

NPS and FHWA

July 7, 2021 Air Quality Conformity FHWA

July 8, 2021 Transportation Use and Property Boundary | NPS and FHWA
Meeting

July 12, 2021 Park Impacts NCPC, NPS, FHWA

July 13, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

July 14, 2021 NPS Parkland Impacts FHWA

July 20, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

July 27, 2021 NEPA and Section 106 Process FHWA

August 3, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

August 9, 2021 Air Quality and Environmental Justice FHWA
Meeting

August 16, 2021 SDEIS Comments FHWA

August 17, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

August 18, 2021 Highway Deed Easement Process with NPS FHWA
and SDEIS Comments

August 18, 2021 Reoccurring FHWA Coordination Meeting FHWA

August 23, 2021

1-495 NEXT and MLS Coordination Meeting

VDOT and Fairfax County Department of
Transportation

August 25, 2021 SDEIS Comments FHWA
August 26, 2021 Air Quality SDEIS Comments FHWA
August 30, 2021 SDEIS Comments FHWA
August 31, 2021 Maryland and Virginia 495 Interface VDOT

Technical Coordination

June 2022

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AGENCIES AND/OR STAKEHOLDERS REPRESENTED

September 1, 2021

Review of Common SDEIS Comments

FHWA, NPS, USACE, USEPA, NCPC, MDE, M-NCPPC,
McDOT

September 7, 2021 | Park Mitigation Field Meeting M-NCPPC
September 7, 2021 | Reoccurring FHWA Coordination Meeting FHWA
September 14, 2021) Maryland and Virginia 495 Interface VDOT

Technical Coordination

September 16, 2021

Coordination Meeting

M-NCPPC, FHWA

September 22, 2021| Coordination Meeting NPS, FHWA
September 27, 2021) Highway Easement Deed Discussion FHWA
September 28, 2021] Maryland and Virginia 495 Interface VDOT

Technical Coordination

September 28, 2021

Fairfax Board of Transportation Committee

Fairfax County, VDOT

September 29, 2021] |-495 NEXT Virtual Public Meeting VDOT
September 30, 2021) Coordination Meeting NPS, VDOT, FHWA
September 30, 2021] Coordination Meeting M-NCPPC, FHWA
October 4, 2021 Leadership Meeting Montgomery County
October 12, 2021 Maryland and Virginia 495 Interface VDOT

Technical Coordination
October 13, 2021 Noise Wall Discussion VDOT
October 14, 2021 Coordination Meeting NPS, FHWA
October 14, 2021 Coordination Meeting M-NCPPC, FHWA
October 28, 2021 Coordination Meeting NPS, FHWA
October 28, 2021 Coordination Meeting M-NCPPC, FHWA
November 2, 2021 | Tuckerman Lane Bike / Ped Discussion M-NCPPC
November 2, 2021 | Reoccurring FHWA Coordination Meeting FHWA
November 5, 2021 | Mitigation Field Meeting M-NCPPC
November 9, 2021 | Maryland and Virginia 495 Interface VDOT

Technical Coordination
November 10, 2021 | Mitigation Field Meeting M-NCPPC
November 17, 2021 | Reoccurring FHWA Coordination Meeting FHWA
November 18, 2021 | Coordination Meeting NPS, FHWA
November 23, 2021 | Maryland and Virginia 495 Interface VDOT

Technical Coordination
December 7, 2021 Maryland and Virginia 495 Interface VDOT

Technical Coordination
December 14, 2021 | Environmental Justice: Morningstar FHWA

Cemetery Discussion

December 14, 2021

Mitigation Coordination Meeting

M-NCCPC, FHWA

December 15, 2021 | Coordination Meeting NPS, FHWA

January 4, 2022 Maryland and Virginia 495 Interface VDOT
Technical Coordination

January 6, 2022 Smart Growth Coordination Meeting MDP

January 7, 2022

Stormwater Management Discussion

M-NCPPC, MDNR, MDE, NOAA, USACE, USEPA,
FHWA, USFWS

June 2022

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DATE PURPOSE AGENCIES AND/OR STAKEHOLDERS REPRESENTED
January 11, 2022 1-495 NEXT / Phase 1 South Technical VDOT

Coordination Meeting
January 18, 2022 Maryland and Virginia 495 Interface VDOT

Technical Coordination

January 19, 2022

Coordination Meeting

M-NCPPC, FHWA

January 19, 2022 Reoccurring FHWA Coordination Meeting FHWA
January 27, 2022 Coordination Meeting NPS, FHWA
February 24, 2022 | Coordination Meeting NPS, FHWA
March 8, 2022 Reoccurring FHWA Coordination Meeting FHWA
March 17, 2022 GWMP Signing Discussion NPS, FHWA

Note: All meetings held virtually unless otherwise denoted.

Since the DEIS was published in July 2020, MDOT SHA held four virtual Interagency Agency Working Group
(IAWG) meetings with members from 27 Cooperating and Participating Agencies. The focus of the [AWG
meetings was to provide Study updates, present common DEIS comment themes, discuss proposed
responses to common comments, discuss ongoing public and agency collaboration, present avoidance

and minimization measures, and to identify the recommended preferred alternative, present justification

for recommending the alternative and to listen to feedback on the alternative (Table 8-6).

Table 8-6: IAWG Meetings Post-DEIS Publication

DATE IAWG PURPOSE AGENCIES REPRESENTED
MEETING #
January 27, 13 Provide MLS Study Update, Review Advisory Council on Historic Preservation (ACHP),
2021 Summary of DEIS Comments, Announce USEPA, FHWA, USFWS, MDE, MDNR,
Recommended Preferred Alternative and MDOT MTA, MDP, MDTA, MHT, M-NCPPC,
Associated Commitments, and a New MCDOT, Metropolitan Washington Council of
Agency and Stakeholder Collaboration Governments (MWCOG), US Navy, NCPC,
Process National Institute of Standards and Technology
(NIST), NPS, PG DPW&T, USACE, USPS, and VDOT
February 17, 14 Provide Update on Agency and ACHP, USEPA, FHWA, USFWS, MDE, MDNR,
2021 Stakeholder Collaboration Efforts, Design MDOT MTA, MDP, MHT, M-NCPPC, MCDOT,
Efforts to address common DEIS MWCOG, US Navy, NCPC, NIST, NPS, PG
Comments, Review Recommended DPW&T, USACE, USDA, USDA, USPS, VDOT, JBA
Preferred alternative
May 12, 2021 15 Provide MLS Update, announce a New ACHP, USEPA, FHWA, USFWS, MDE, MDNR,
Recommended Preferred Alternative MDOT MTA, MDOT MDTA, MHT, M-NCPPC,
based off of Agency and Public Feedback, MCDOT, MWCOG, US Navy, NIST, PG DPW&T,
Announce the SDEIS, and Provide an USACE, USDA, USPS, VDOT, JBA
Updated MLS Schedule
December 16 Provide Update on MLS efforts since the ACHP, USEPA, FHWA, USFWS, MDE, MDNR,
15, 2021 SDEIS publication, review of SDEIS MDOT MTA, MDOT MDTA, MDP, MHT, M-
Comments, Ongoing activities toward NCPPC, MCDOT, MWCOG, US Navy, NCPC, NIST,
FEIS, and Provide Updated MLS Schedule NOAA, NPS, PG DPW&T, USACE, USPS, VDOT
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MDOT SHA also met with the City of Rockville and City of Gaithersburg to discuss DEIS comments, property
impacts, proposed stormwater management, parkland impacts and mitigation, bicycle and pedestrian
improvements, traffic, and structure design within the applicable City’s limits (Table 8-7).

Table 8-7: City of Rockville and City of Gaithersburg Meetings Post-DEIS Publication

DATE MEETING

March 19, 2021 City of Rockville Coordination Meeting

April 14, 2021 City of Rockville Stormwater Management Coordination Meeting
April 29, 2021 City of Rockville Parkland and Mitigation Meeting

July 22, 2021 City of Gaithersburg Parkland and Mitigation Meeting

September 2, 2021

City of Rockville Design, Traffic, and Mitigation Meeting

September 14, 2021

City of Gaithersburg Coordination Meeting

November 4, 2021

City of Rockville Design and Parkland Mitigation Meeting

November 22, 2021

City of Rockville Coordination Meeting

January 19, 2022

City of Rockville Coordination Meeting

April 25, 2022

City of Rockville Coordination Meeting

8.3.1

Natural Resource Agency Coordination

The regulatory and permitting process was conducted concurrently with NEPA and required agency

consultation with the goal of gaining approval for a USACE Individual Section 404 Permit; MDE Wetlands
and Waterways Permit; USFWS Endangered Species Act Section 7; and MDE 401 Water Quality
Certification. These approvals required meetings for the following purposes:

e Jurisdictional Determination;

e Permitting strategy;

« Avoidance, minimization, and mitigation;

e Wetland delineation; and

e Rare, Threatened, and Endangered Species coordination.

Table 8-8 summarizes the meetings held since July 2020. For additional detail on agency correspondence

received on the project regarding natural resources, refer to the FEIS, Appendix M.

Table 8-8: Natural Resource Related Meetings Since Publication of the DEIS

DATE AGENCIES GENERAL TOPICS COVERED
July 9, 2020 MDE and USACE Discussion of the logistics of the MLS Joint Public Hearings,
both virtual and in-person, for 404/401 purposes
July 21, 2020 MDNR Review Additional Potential Fish Blockages noted by MDE and
USFWS Upstream and Downstream of the Paint Branch Fish
Passage Site (AN-6)
July 22, 2020 M-NCPPC Montgomery Montgomery County M-NCPPC Comments on the Tributary to
County Seneca Creek Site (CA-5) Concept Design
July 24, 2020 Washington Suburban Logistics for Proposed Mitigation Site Work Over WSSC Sewer
Sanitary Commission (WSSC) | and Water Lines.
June 2022 8-2]

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DATE AGENCIES GENERAL TOPICS COVERED
August 12, 2020 M-NCPPC Montgomery Montgomery County M-NCPPC & WSSC Comments on the
County Crabbs Branch Site (AN-1) 404 Mitigation Concept Design

August 12, 2020 USACE Discussion of new regulatory definition of Waters of the US
and any implications on the Jurisdictional Determination

August 27, 2020 MDE Discussion of impacts within the MDE Tier II boundary and the
Tier ll package requirements

September 3, 2020 NPS Discussion of the Statement of Findings requirement as it

pertains to MLS and path forward for coordination meetings.

September 4, 2020

USACE and MDE

Discussion with the regulatory agencies about how to apply
the MSMF stream calculator and which stream assessments to
use.

September 29, 2020

M-NCPPC Montgomery
County

404 Mitigation Magruder Branch (CA-2/3) Site Preliminary
Design

September 29, 2020

FHWA

Culvert and permitting

September 29, 2020

USACE and MDE

Provide project updates and receive updates from the
regulatory agencies related to MLS permitting.

September 29, 2020

MDNR and USFWS

MLS Informal Section 7 Consultation — 2020 Bat Survey Results

October 5, 2020 NPS Wetland Mitigation Meeting for Chesapeake and Ohio Canal
National Historical Park and GWMP
October 14, 2020 NPS Wetland Mitigation for NPS National Capital Parks- East

October 15, 2020

FHWA, USACE, and MDE

Permitting

October 16, 2020

MDE, USACE, MDNR, and
USEPA

404 Mitigation Magruder Branch (CA-2/3) and Pebblestone Dr.
Tributary Preliminary Designs

October 29, 2020

USACE and MDE

404 Permitting Update Meeting

November 9, 2020

FHWA, USACE, and MDE

Permitting

November 12, 2020

USACE and MDE

404 Permitting Update Meeting

November 18, 2020

M-NCPPC Montgomery
County

Stormwater Field Meeting

November 19, 2020

USACE and MDE

Stream Assessment Field Meeting

November 19, 2020

MDE and USACE

404 Mitigation Magruder Branch (CA-2/3) Wetland
Delineation Field Review

November 24, 2020

USACE and MDE

Permitting

December 1, 2020

M-NCPPC Montgomery
County

Stormwater Field Meeting

December 2, 2020

M-NCPPC Prince George’s
County

ROE Agreement Extension

December 8, 2020

USACE, MDE, FHWA, MDNR,
USFWS, and NPS

Plummers Island Coordination

December 10, 2020

USACE and MDE

404 Permitting Update Meeting

December 11, 2020

USEPA, MDE, USACE, and
FHWA

Culvert Field Meeting

December 14, 2020

USEPA, FHWA, USACE, and
MDE

Phased Permit Process

December 21, 2020

MDE and USACE

Culvert Field Meeting

January 7, 2021

USACE and MDE

404 Permitting Update Meeting

January 14, 2021

MDE and USACE

Seneca Creek Tributary (CA-5) and Crabbs Branch (AN-1)
Wetland Delineation Field Reviews

January 19, 2021

MDE, USACE, and USEPA

401 Water Quality Certification (WQC) Working Session

January 21, 2021

USACE and MDE

404 Permitting Update Meeting

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AGENCIES

GENERAL TOPICS COVERED

January 22, 2021

MDE

404 Mitigation Henson Creek (RFP-5) and Mill Swamp Creek
(RFP-6) Wetland Delineation Field Reviews

February 4, 2021

USACE and MDE

404 Permitting Update Meeting

February 16, 2021

USACE and MDE

A presentation to the regulatory agencies of how the
Maryland Stream Mitigation Framework stream calculator is
being applied to the MLS.

February 18, 2021

USACE and MDE

404 Permitting Update Meeting

February 22, 2021

MDE, USACE, and USEPA

401 WQC Working Session

March 1, 2021

NPS

Washington Biologists’ Field Club Coordination Meeting

March 4, 2021

USACE and MDE

404 Permitting Update Meeting

March 9, 2021

MDE and USACE

Cabin Branch (RFP-2) and Pebblestone Dr. Tributary (AN-3)
Wetland Delineation Field Reviews

March 18, 2021

USACE and MDE

404 Permitting Update Meeting

March 19, 2021

Potomac Electric Power
Company (PEPCO)

404 Mitigation Tributary to Seneca Creek (CA-5) Semi-Final
Design

March 24, 2021

M-NCPPC Montgomery
County, MDE, and USACE

404 Mitigation Tributary to Seneca Creek (CA-5) Semi-Final
Design

April 1, 2021 MDE and USACE 404 Mitigation Indian Creek and Tributaries at Konterra (RFP-
1) Wetland Delineation Field Review
April 9, 2021 MDOT SHA Plan Review 404 Mitigation PRD Comments on the Magruder Branch (CA-

Division (PRD)

2/3) Site Development Submittal

April 16, 2021

MDE and USACE

404 Mitigation Indian Creek and Tributaries at Konterra (RFP-
1) Wetland Delineation Field Review

April 22, 2021

MDE and USACE

404 Permitting Update Meeting

May 6, 2021 M-NCPPC Montgomery 404 Mitigation Magruder Branch (CA-2/3) Semi-Final Design
County, MDE, and USACE
May 20, 2021 MDE and USACE 404 Permitting Update Meeting

June 15, 2021

MDE and USACE

Discussion of impact presentation in JPA and NEPA Documents

June 25, 2021

MDE and USACE

Compensatory SWM Site Wetlands & Waterways Delineation
Field Review

June 30, 2021

MDNR

Mussel Survey

June 30, 2021

M-NCPPC Montgomery
County, MDE, and USACE

404 Mitigation Tributary to Seneca Creek (CA-5) Semi-Final
Field Meeting

July 1, 2021

MDE and USACE

404 Permitting Update Meeting

July 12, 2021

M-NCPPC Montgomery
County and MDE

404 Mitigation M-NCPPC Comments on the Magruder Branch
(CA-2/3) Semi-Final Design

July 15, 2021

MDE and USACE

404 Permitting Update Meeting

July 23, 2021 MDNR Rare, Threatened, and Endangered Species and Boring
Locations
August 4, 2021 MDE and USACE LOD Review Meeting

August 19, 2021

USACE

Change in Jurisdiction for Navigable Waters Protection Rule

August 26, 2021

MDE and USACE

404 Permitting Update Meeting

September 7, 2021

M-NCPPC Montgomery
County

A(f) Mitigation Cabin John Creek Field Meeting

September 9, 2021

MDE and USACE

404 Permitting Update Meeting

September 24, 2021

USACE, MDE, USFWS, MDNR,

USEPA, M-NCPPC

Compensatory SWM Field Review

October 13, 2021

USACE, MDE

LOD Review Meeting- review minor changes

October 14, 2021

M-NCPPC

M-NCPPC Coordination Meeting

June 2022

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DATE AGENCIES GENERAL TOPICS COVERED
November 3, 2021 USACE, MDE Permitting Update Meeting
November 9, 2021 VDOT |-495 NEXT Project Coordination
November 29, 2021 | MHT, NPS, FHWA Washington Biologists’ Field Club Coordination Meeting
December 21, 2021 | USACE, MDE JPA Package Review Meeting
January 7, 2022 USACE, USEPA, FHWA MDE, Stormwater management discussion
M-NCPPC, Montgomery
County, MDNR

8.3.2 Section 106 Consultation

Agency and interested parties’ consultation is being conducted in accordance with Section 106 of the
National Historic Preservation Act of 1966 that considers the effects of the proposed action on historic
properties. FHWA and MDOT SHA notified the agencies and other consulting parties of an update to the
undertaking’s Area of Potential Effects (APE), new architectural eligibility determinations, and effects
assessments on July 23, 2020. The agencies and other consulting parties received archaeological reports
documenting archaeological and architectural survey and evaluation efforts for stream and wetland
mitigation areas identified by the Study, as added to the APE in July 2020, as well as determination of
eligibility forms for architectural resources associated with the proposed off-site wetlands and water
quality mitigation sites on February 11, 2021.

The FHWA and MDOT SHA held a fourth consulting parties’ meeting virtually on March 10, 2021. A draft
Programmatic Agreement was distributed for review and comment to the consulting parties on March 10,
2021 with the comment period ending April 12, 2021. MDOT SHA has continued to coordinate with
individuals consulting parties through informal meetings, email and other means as impacts to specific
resources are evaluated. MDOT SHA has conducted additional field work at the Moses Hall Cemetery, and
closely coordinated this effort with key consulting parties including the Friends of Moses Hall, the trustees
of the property, and the First Agape AME Zion Church at Gibson Grove. A draft report documenting the
fieldwork effort at Moses Hall Cemetery, with additional information on the Gibson Grove AME Zion
Church was provided to consulting parties for comment on May 27, 2021.

On September 8, 2021, MDOT SHA provided additional consultation materials including: additional
Ground Penetrating Radar results at the Morningstar Tabernacle No. 88 Moses Hall and Cemetery, a
revision to the APE to reflect the Phase 1 South limits including avoidance and minimization measures,
archaeological and historic architectural assessments of the proposed stormwater mitigation locations,
new determinations of eligibility, and revised effect determinations to reflect the reduced APE based on
the Phase 1 South limits. Additionally, a comment from Virginia Department of Historic Resources (VDHR)
was addressed to revise the effect determination on one archaeological site in Virginia. Concurrence was
requested from MHT on the eligibility determinations and revised effect determinations, in accordance
with each agency’s jurisdictional authority.

The FHWA and MDOT SHA have also held separate meetings with consulting parties to discuss avoidance,
minimization, and mitigation efforts on adversely affected historic properties within the APE (Table 8-9).
Note that Section 106 public involvement is being fulfilled through the same processes used for general
public involvement and NEPA compliance. For additional detail on agency correspondence received on

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the project regarding cultural resources, refer to the Fina/ Cultural Resources Technical Report (FEIS,
Appendix 1).

Table 8-9: Section 106 Consultation Meetings Post-DEIS Publication

ORGANIZATION
Friends of Moses Hall

DATE
September 16, 2020

November 10, 2020

Friends of Moses Hall

February 10, 2021

Friends of Moses Hall

March 10, 2021

Consulting Parties

April 6, 2021
May 5, 2021
June 2, 2021

First Agape AME Zion Church at Gibson Grove

VDHR, VDOT, and NPS

First Agape AME Zion Church at Gibson Grove, Friends of Moses
Hall, M-NCPPC Montgomery County, MCDOT, and FHWA

First Agape AME Zion Church at Gibson Grove, Friends of Moses
Hall, and FHWA

ACHP, MHT, VDHR, NPS, FHWA

First Agape AME Zion Church at Gibson Grove, Friends of Moses
Hall, M-NCPPC Montgomery County, MHT, FHWA, National Trust
for Historic Preservation

September 8, 2021

October 18, 2021
January 4, 2022

8.3.3 Section 4(f) Agency Coordination

Section 4(f) of the US Department of Transportation Act of 1966 mandates that use of a publicly-owned
park, recreation area, wildlife/waterfowl refuge, or historic site for a transportation project cannot be
approved unless there is no feasible and prudent alternative that avoids such use and all possible planning
to minimize harm to Section 4(f) properties has been included in the project. In reaching the
determination that no feasible and prudent avoidance alternative exists and all possible planning to
minimize harm has been included in the project, Section 4(f) regulations require the Draft Section 4(f)
Evaluation be made available for coordination and comment to officials with jurisdiction (OWJs) over the
Section 4(f) resources. The Draft Section 4(f) Evaluation was available for review and comment with the
DEIS comment period July 10 through November 9, 2020. The Draft Section 4(f) Evaluation is available on
the project website: https://www.oplanesmd.com/wp-content/uploads/2020/07/DEIS AppF_Draft-

Section-4f-Eval_web.pdf.

Since July 2020, MDOT SHA has conducted conference calls, meetings, and field reviews with or sent
letters to the following OWJs over parkland along the study corridors: NPS, M-NCPPC Montgomery
County, M-NCPPC Prince George’s County, NCPC, City of Rockville, City of Gaithersburg, City of Greenbelt,
City of New Carrollton, and Montgomery County Department of Education. FHWA and MDOT SHA have
also held meetings and coordinated with the agencies with jurisdiction over historic sites, including NPS,
the ACHP, MHT, and VDHR. Through this extensive coordination, MDOT SHA has provided detailed
explanations of the proposed project design and its associated impacts on Section 4(f) properties. MDOT
SHA has also worked closely with the OWJs to further reduce impacts and minimize harm to Section 4(f)
properties. These minimization efforts are presented in Chapter 6 of this FEIS. Additionally, MDOT SHA
has developed final Section 4(f) mitigation opportunities in close coordination with officials with
jurisdiction for feedback.

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In addition to OWJs, the Section 4(f) Evaluation must be made available to the US Department of the
Interior (USDOI) and as needed, to the USDA and the Department of Housing and Urban Development
(HUD) (23 C.F.R. §774.5). In accordance with 23 CFR §774.5, USDOI has been provided an opportunity to
review and comment on the Draft Section 4(f) and Updated Section 4(f) which included a preliminary
conclusion on the avoidance and least overall harm analysis. USDOI consultation will continue with review
of the Final Section 4(f) Evaluation (FEIS, Appendix G) in coordination with the FEIS which will enable
USDOI to provide comments on FHWA’s conclusions regarding the existence of feasible and prudent
avoidance alternatives, the inclusion of all possible planning to minimize harm to Section 4(f) properties
(including mitigation), and the least overall harm alternative. The Preferred Alternative would not affect
resources requiring coordination with USDA and HUD and, therefore, consultation with these agencies is
not necessary.

For additional detail on agency correspondence received on the project regarding Section 4(f), refer to
the FEIS, Appendix S.

8.4 Incorporation of Public and Agency Input into the Study

Following the publication of the DEIS in July 2020, MDOT SHA has considered over 5,000 comments
submitted via email, phone, online and hard copy comment forms, and public testimony. MDOT SHA
communicated with many agencies, stakeholders, and members of the public to address their questions
and concerns. As a result of this continued involvement and engagement effort with agencies,
stakeholders, and members of the public, comments have been incorporated into the project the
following ways (not all-inclusive):

« Aligned the Preferred Alternative and environmental permitting process with the phased project
delivery/construction approach focusing on addressing the severe congestion at the American
Legion Bridge (ALB) as priority.

« Committed to constructing a shared use path on the east side of the ALB to support regional
pedestrian and bicycle connectivity.

e Avoided and significantly reduced property, community, historic, natural resource, and parkland
impacts.
« Avoided all residential and business displacements.

e Avoided impacts at the historic Morningstar Tabernacle No. 88 Moses Hall and Cemetery.

e Identified appropriate on-site and off-site stormwater management to meet regulatory
requirements and removed or relocated stormwater management facilities from sensitive
resources including parks, where feasible, and NPS property.

# Monitored and analyzed traffic impacts associated with the COVID-19 Pandemic to understand
any impacts on existing and future travel and to the Study.

¢ Committed to priority bicycle, pedestrian, and transit improvements to increase affordable multi-
modal options for travel within the study corridors.

e Included toll-free travel under the Preferred Alternative for High-Occupancy Vehicles with three
(3) or more occupants, transit buses, carpool/vanpool and motorcyclists to reduce the reliance on
single occupancy vehicles and provide equitable travel options.

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e Avoided and minimized environmental and property impacts by eliminating the concrete barrier
and repurposing the pavement on I-270 between the Collector-Distributor system and the
general purpose lanes to provide a new lane and largely stay within the existing roadway
footprint on |-270.

e Modified direct access ramps to the managed lanes in consideration of local land use and the
potential for community, property, and environmental impacts.

e Established a Transit Work Group to further explore opportunities for new or expanded transit
service on managed lanes.

« Established an Economic Work Group to determine the economic impacts of the project to the
National Capital Region.

e Established an EJ Work Group to support the EJ analysis and engagement efforts.

e Incorporated closed roadway sections with retaining walls where feasible to avoid and minimize
environmental and property impacts.

e Included underground stormwater management vaults to avoid and minimize environmental and
property impacts.

e Significantly revised the constructability plan for the ALB by removing construction vehicle access
in three of the four quadrants to avoid and minimize impacts to NPS property.

e Eliminated all ramps crossing over the general purpose lanes of I-495 at the MD 190/River Road
interchange by adjusting the location of the high-occupancy toll (HOT) lane direct access ramps
between I-495 and MD 190. All HOT lanes direct access ramps within this interchange are now
proposed to connect at a new intersection on the MD 190 bridge over I-495 without the use of
ramps crossing over the general purpose lanes of |-495.

This effort was possible through the extensive agency and stakeholder coordination that occurred since
publication of the DEIS in July 2020 including:

e Holding meetings with the established Economic, Transit and EJ Working Groups.

e Holding over 50 individual stakeholder meetings with municipalities, non-governmental
organizations, elected officials and communities.

¢ Holding over 60 resource and regulatory agency meetings to discuss DEIS comments, avoidance,
minimization, and mitigation opportunities.

e Holding over 40 field and office meetings with regulatory agencies to discuss natural resource
impacts, stormwater management, culvert augmentation and permitting.

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9 DEIS AND SDEIS COMMENTS AND RESPONSES

This chapter presents a compilation of responses to the common theme comments
identified from both the DEIS and SDEIS and arranged by thematic topics,

Responses to Common Themes in Section 9.3 of this chapter include:
e 9.3.1 Purpose and Need

e 9.3.2 Screening of Preliminary Alternatives

e 9.3.3 Analysis of Alternatives Retained for Detailed Study

e 9.3.4 Resource Impacts Assessment Methodology and Level of Detail
e 9.3.5 Public-Private Partnership (P3) Program

e 9.3.6 Tolling

e 9.3.7 Public Involvement

e 9.3.8 Comments Concerning resources Outside Phase 1 South Limits

9.1 Introduction

The Federal Highway Administration (FHWA), as the Lead Federal Agency, and the Maryland Department
of Transportation State Highway Administration (MDOT SHA), as the Local Project Sponsor, have reviewed
and considered all comments received throughout the course of the |-495 & I-270 Managed Lanes Study
(Study) including those received during the formal comment periods on the Draft Environmental Impact
Statement (DEIS) and Supplemental Draft Environmental Impact Statement (SDEIS). MDOT SHA and FHWA
reviewed and considered comments received after the close of the formal comment period for both these
documents. With over 5,000 comments received on these documents during the formal comment
periods, common topics or themes emerged in the comments received. This chapter presents a
compilation of responses to the common themes identified from both EIS documents and arranged by
thematic topics in Section 9.3.

It is important to note that MDOT SHA and FHWA have continually considered and responded to
comments received over the course of the Study. For more detail on how public and agency comments
were incorporated into the Study, refer to DEIS Chapter 7, Section 7.4 and SDEIS 7, Section 7.4 and Final
Environmental Impact Statement (FEIS), Chapter 8, Section 8.4.

Individual comments received via oral testimony, voicemail, email, letter or, online comment form with
responses to each, can be found in FEIS, Appendix T. Refer to the DEIS and SDEIS comment/response
indices of FEIS, Appendix T which has been arranged in alphabetical order and/or by category (i.e., elected
officials, community organization, business, agency, etc.).

9.2 Formal DEIS and SDEIS Comment Periods
9.2.1 DEIS Comments Received

The DEIS was published on July 10, 2020 and was made available on the |-495 & I-270 P3 Program webpage
(https://oplanesmd.com/deis/), on the United States Environmental Protection Agency (USEPA) EIS

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Database webpage and in hard copy at multiple locations in Montgomery and Prince George’s counties
Maryland, Fairfax County Virginia and Washington, D.C. The DEIS comment period was 123 days, from
July 10, 2020 to November 9, 2020. During this comment period, 2,909 comments were received through
a variety of means, including oral testimony during the six public hearings, email, letter, voicemail, and
online comment form. Refer to FEIS, Appendix T for copies of the DEIS comments received as well as the
responses.

9.2.2 SDEIS Comments Received

The SDEIS was published on October 1, 2021 and was made available on the I-495 & I-270 P3 Program
webpage (https://oplanesmd.com/sdeis/), on the USEPA EIS Database webpage, and in hard copy at
multiple locations in Montgomery and Prince George’s counties, Maryland; Fairfax County, Virginia; and
Washington, D.C. The SDEIS comment period was 60 days, from October 1 to November 30, 2021. During
this comment period, 2,138 comments were received through a variety of means, including oral testimony

during the one public hearing, email, letter, voicemail and online comment form. Refer to FEIS, Appendix
T for copies of the SDEIS comments received and responses.

9.3 Responses to Common Theme Comments Received on the DEIS and SDEIS
9.3.1 Purpose and Need

Chapter 1 of the DEIS laid out the Purpose and Need: “the purpose of the Study is to develop a travel
demand management solution(s) that addresses congestion, improves trip reliability on |-495 and I-270
within the Study limits, and enhances existing and planned multimodal mobility and connectivity.” MDOT
SHA identified five key needs related to this underlying purpose: (1) accommodate existing traffic and
long-term traffic growth; (2) enhance trip reliability; (3) provide additional roadway choices; (4)
accommodate homeland security; and (5) improve movement of goods and services. Refer to DEIS,
Appendix A, https://oplanesmd.com/wp-content/uploads/2020/07/DEIS AppA PN_web.pdf.

Comments received suggested that the Study’s Purpose and Need was drafted too narrowly and
improperly focused on highway and tolled lane alternatives. Comments advocated that the Purpose and
Need should have been created to focus on solutions to a broader regional congestion and multi-modal
mobility need more generally. As described below, the FHWA and MDOT SHA developed the Study’s
Purpose and Need through a collaborative process with other federal, state and local agencies and the
public that included examination of multiple transportation and regional planning studies that had been
conducted over the past 20+ years. As detailed in the Purpose and Need statement, these studies
demonstrated the need in the National Capital Region (NCR) for a synergistic system of transportation
solutions as this region is the most congested in the nation based on annual delay and congestion per
auto commuter. Refer to DEIS, Appendix A. A particular mode or facility type, such as managed lanes, can
be identified through the transportation planning process and adopted in the National Environmental
Policy Act (NEPA) process.? The Purpose and Need for the Study neither precluded nor prevented
consideration of non-tolled lane alternatives. As further discussed, the process to establish the Purpose
and Need and the manner in which the agencies considered potential alternatives in light of that Purpose
and Need were conducted in accordance with well-established federal regulations.

1 AASHTO’s Practitioner’s Handbook 7, https://environment.transportation.org/wp-
content/uploads/2021/05/ph07-2. pdf

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Consistent with federal statutes, regulations and guidance and the Council on Environmental Quality
(CEQ) NEPA regulations, the Study’s Purpose and Need briefly describes a set of transportation problems
and needs regarding congestion on |-495 and I-270 that have been raised by state, local, and regional
transportation professionals over several decades. The Study’s Purpose and Need statement further
describes a set of problems arising out of the severe congestion on |-495 and I-270, as well as related
socioeconomic and financial needs for the agency to consider in the course of the Study.

Concerns with congestion on |-495 and I-270 and planning to accommodate anticipated future growth
have been the subject of numerous studies conducted by MDOT, Virginia Department of Transportation
(VDOT), and regional planning agencies for many years. (Refer to the OP Lanes Maryland website:
https://oplanesmd.com/environmental/resources/). These studies reflect how the Washington
metropolitan area has continued to experience considerable growth in population and employment.
Specifically, population in the study area has increased by 20.1 percent in Montgomery County and 14.6
percent in Prince George’s County between 2000 and 2020. Continued growth is anticipated as
Metropolitan Washington Council of Governments (MWCOG) estimates that between 2020 and 2045, the
population in Montgomery County and Prince George's County will increase approximately 16.3 percent
and 7.9 percent, respectively. Additionally, this area is one of the most intensive employment, residential
and transportation corridors in the State. The majority of these studies reflect, in part, some of the
operational and/or engineering alternatives that are included in the DEIS and SDEIS. Specifically, these
studies, dating back to 2004, evaluated various options of building managed lanes along these highways
and means to connect that additional capacity to other regional transportation facilities. Importantly,
these studies also considered various transit improvements, including major projects such as the Purple
Line which is currently under construction. None of the various analyses supported the principle that
highway or transit options by themselves could alleviate traffic congestion or accommodate anticipated
future demand. Refer to DEIS, Appendix A.

At the same time as Maryland, VDOT proceeded with its own studies and projects on the other side of the
Potomac River across the American Legion Bridge (ALB) and has built a managed lane system, currently
operating between Fairfax County and Fredericksburg. In 2017, the MWCOG’s Transportation Planning
Board (TPB) evaluated and approved a set of 10 regional initiatives for further study, which included
analyzing managed lanes on the portions of |-495 and I-270 included in the Study. Then, in October 2018,
the TPB approved the “Visualize 2045” plan which included a variety of financially constrained projects
related to potential toll lanes on 1-495 and I-270. The NCR Transportation Planning Board (NCRTPB) is
currently updating the Visualize 2045 plan, to be completed in 2022.

In addition to this wealth of historical consideration of transportation solutions, development of the
Study’s Purpose and Need was done in consideration of public and agency comments received during the
scoping process and also incorporated input through interagency collaboration from the full range of
federal, state, and local agencies involved in this Study. Eventually, all Cooperating Agencies participating
in the Study, except for the Maryland-National Capital Park and Planning Commission (M-NCPPC),
concurred with the definition of the Purpose and Need. Refer generally to Chapters 1 of the DEIS and
SDEIS.

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Multimodal Mobility and Connectivity Needs

Many comments received, mostly on the DEIS, noted a lack of multimodal travel options or that
multimodal connectivity was not adequately addressed in the Study. The Purpose and Need statement
recognizes that “accommodating existing and proposed multimodal mobility and connectivity” is an
important need to address the severe congestion on |-495 and |-270 and important features were
considered and was added to address specific comments received during Scoping. In support of this
identified need, multimodal alternatives and elements were analyzed through the alternatives
development process. Several standalone transit alternatives (e.g., Alternatives 14A, 14B, 14C, and 15)
were considered in the preliminary range of alternatives and were dismissed from further consideration
based on a number of factors, the most significant of which was the inability of standalone transit to
address long-term traffic growth. That is, no standalone transit alternative would be able to attract and
carry sufficient ridership to address the severe congestion on these facilities.

Although these standalone transit alternatives were found to not meet the Study’s Purpose and Need
(consistent with findings of the multiple planning studies summarized above), multiple transit elements
have been incorporated into the Study to address the identified multimodal and connectivity needs in the
study area as a complement to the congestion relief offered by the proposed highway improvements.
These include:

e Allowing toll-free bus transit usage of the high-occupancy toll (HOT) managed lanes to provide an
increase in speed of travel, assurance of a reliable trip, and connection to local bus
service/systems on arterials that directly connect to urban and suburban activity centers.

* Accommodating direct and indirect connections from the HOT managed lanes to existing transit
stations and planned Transit Oriented Development at the Shady Grove Metro, Twinbrook Metro,
Rockville Metro, and Westfield Montgomery Mall Transit Center.

MDOT SHA has also committed to regional transit improvements to enhance existing and planned transit
and support new opportunities for regional transit service including increasing the number of bus bays at
Washington Metropolitan Area Transit Authority’s (WMATA) Shady Grove Metrorail Station and
increasing parking at the Westfield Montgomery Mall Transit Center.

Comments indicated a strong interest in bicycle and pedestrian improvements which have also been
incorporated into the Study to address the need for accommodating existing and proposed multimodal
connectivity and mobility. These improvements include replacing, upgrading or providing new
pedestrian/bicycle facilities consistent with current master plans where adjacent connections on either
side of the bridge currently exist. Examples of pedestrian and bicycle facilities that would be constructed
as part of the Preferred Alternative include the following (refer to Chapter 3, Table 3-2 for the complete
list):

* Constructing a new shared use path across the ALB to connect facilities in Maryland and Virginia
to support regional multimodal travel.

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e Lengthening the I-270 bridge over Tuckerman Lane to accommodate future pedestrian/bicycle
facilities along Tuckerman Lane. Montgomery County would construct the master plan
recommended facilities along Tuckerman Lane in the future.

* Constructing new sidepaths across MD 190 over |-495 and new bike lanes in both directions on
MD 190.

® Constructing a new sidewalk along the west side of Seven Locks Road under I-495 to reestablish
the historic connection between the First Agape AME Zion Church and Morningstar Tabernacle
No. 88 Moses Hall and Cemetery.

Consideration of Non-Highway Alternatives

Comments received indicated that the established needs were too focused on highway improvements.
The Study’s Purpose and Need allowed for a robust analysis of a full range of alternatives that included
evaluation of non-tolled, general purpose lanes, tolled managed lanes, transit only, and a combination of
highway and transit improvements. Initially a range of 15 preliminary alternatives were identified and
analyzed based on previous studies and planning documents and input from the public and federal, state,
and local agencies during the scoping process. Additional alternatives were identified and analyzed in
direct response to public and agency comments for a total of eighteen different alternatives, including the
Preferred Alternative.

Non-highway alternatives were considered during the alternatives screening process. These included
heavy rail and light rail parallel to the existing alignments (the Purple Line Light Rail was already
proceeding), fixed guideway or Bus Rapid Transit (BRT) along a new alignment parallel to the existing
highway alignments and dedicated managed bus lanes on I-495 and |I-270. Refer to DEIS, Appendix B. As
with all the alternatives under the Preliminary Range of Alternatives, these non-highway options were
evaluated using the various project needs, a review of available data, and similar proposals that had been
made over time, as well as a qualitative traffic assessment of each alternative’s potential to reduce
congestion on |-495 and I-270.

The standalone transit options failed to address all the major areas of need identified and had major
engineering and operational challenges associated with them. As one example, the Purple Line FEIS and
Purple Line Travel Forecasts Results Report evaluated the impact of transit alternatives on overall
automobile usage by presenting the vehicle miles traveled (VMT) in the region. The results showed that
in 2040, under the Purple Line Preferred Alternative, 0.07 percent less VMT would be traveled each day
in the region versus the 2040 Purple Line No Build Alternative. Based upon the analysis conducted and
presented and input from agencies and public, FHWA and MDOT determined they would not adequately
address long-term traffic growth, address trip reliability, nor roadway choices, and none of them
accommodated homeland security and freight movement needs. For these reasons, those standalone
transit alternatives were dropped from further consideration. Refer to DEIS, Chapter 2, Section 2.5.2.

Effects of the Pandemic on Existing and Projected Traffic

Many commenters suggested that the Study’s Purpose and Need, which was developed in 2018, was no
longer valid due to the effects of the global pandemic seen in 2020, i.e., reduced car traffic, altered
commuting patterns, and increased telework (or remote work). Some noted that the effects of the

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pandemic may reduce the need for the project or negatively impact the project’s financial viability. Others
stated that incentivizing telework as an Alternate Transportation Improvement could also reduce the need
for the project. These viewpoints raised the question of MDOT SHA’s justification for the traffic congestion
and overall benefits of the proposed improvements.

MDOT has closely monitored changes in traffic patterns throughout the pandemic, and as of early 2022,
daily traffic volumes have already recovered back to over 90 percent of pre-COVID levels. Although there
is still uncertainty surrounding traffic projections resulting from the COVID-19 pandemic, transportation
experts have analyzed pandemic traffic conditions and future traffic demand inputs and note that traffic
volumes have continued to recover since the rollout of the vaccines in early 2021. Traffic volumes are
anticipated to return to pre-COVID levels before the time the HOT lanes are operational. Given the
ultimate 2045 design year, the HOT lanes will be required to accommodate long-term traffic.

Given the uncertainty surrounding resolution of the pandemic and how travel patterns will adjust, and
over what time period, no definitive traffic model exists to predict how the global pandemic will affect
long-term mobility patterns. To adapt to the ongoing and potential long-term travel impacts associated
with the pandemic, MDOT SHA developed a COVID-19 Travel Analysis and Monitoring Plan. Refer to FEIS,
Appendix C for a copy of the latest version of that plan and results. The plan included three components:

e Monitoring: tracking changes in roadway and transit demand during the pandemic, i.e., how travel
varies in response to infection figures, vaccine distribution, unemployment rates, school closings,
and policy changes;

e Research: reviewing historical data and projections from the Transportation Research Board and
the NCRTPB; and

e Sensitivity Analyses: evaluating “what if’ scenarios, including potential changes in teleworking,
eCommerce, and transit use on projected 2045 travel demand and operations.

The monitoring effort included tracking changes in traffic volumes and transit usage throughout the
pandemic, and the corresponding impact on speeds and congestion along I-495 and |-270. The data shows
a severe drop in traffic volumes in April 2020 after stay-at-home orders were issued across Maryland, with
daily traffic volumes on |-270 and |!-495 reducing by more than 50 percent compared to April 2019. After
the stay-at-home order was replaced with a “safer at home” advisory in May 2020, traffic volumes
gradually increased throughout the summer, stabilizing at approximately 15 percent less than typical
conditions during Fall 2020. As cases began to surge in November/December 2020, traffic volumes dipped
again through the winter. With the rollout of vaccines in early 2021, the corresponding drop in COVID-19
cases, and the gradual reopening of schools and businesses, daily traffic volumes have continued to
recover. Statewide, weekly traffic volumes were only down five (5) percent for the week of November 8,
2021 compared to the same week in 2019, per MDOT’s coronavirus tracking website, linked below.
(https://www.mdot.maryland.gov/tso/Pages/Index.aspx?Pageld=141). Transit use has been slower to
recover, with use of Maryland Transit Administration (MTA) services statewide down over 40 percent
compared to pre-pandemic levels as of October 2021 (see link above). In the D.C. region, usage of WMATA
facilities is also down significantly compared to 2019. As of Fall 2021, WMATA rail ridership is down 73
percent on weekdays, while WMATA bus ridership is down 40 percent on weekdays, and parking at Metro

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facilities is down 88 percent (https://www.wmata.com/initiatives/ridership-portal/upload/October-
2021-Ridership-Snapshot. pdf).

While congestion decreased significantly on I-495 and I-270 at the onset of the pandemic in Spring 2020,
significant congestion had returned to the study area by November 2021, approaching pre-pandemic
levels. For example, average speeds on the 1-495 Inner Loop crossing the ALB during the PM peak in early
November (non-holiday) of 2021 were 20 miles per hour (mph), reflecting significant congestion, and
matching the speeds during the similar period in November 2019 (also 20 mph). In the AM peak, average
speeds on the I-495 Outer Loop between MD 650 and US 29 in early November 2021 were even lower —
below 15 mph. While these speeds are slightly higher than those observed in that same area during the
AM peak in November 2019 (10 mph), the findings indicate that there is still a lot of congestion along I-
495 even though volumes have not fully rebounded to pre-pandemic levels along |-495 during the morning
peak period. Along I-270, average speeds are generally 5 to 10 mph higher in November 2021 compared
to November 2019 despite volumes exceeding 2019 levels at MDOT SHA’s permanent count station
located on |-270 South of MD 121. These improvements could be attributed to recent improvements
completed by MDOT SHA along |-270, including the opening of the Watkins Mill interchange in 2020 and
the implementation of ramp metering along southbound |-270 on-ramps in September 2021 as part of
the Innovative Congestion Management (ICM) project. Even so, some congestion remains along |-270,
with average speeds on |-270 southbound of approximately 30 mph during the AM peak period and
average speeds on I|-270 northbound below 40 mph during the PM peak period in November 2021.

Based upon historic research of other similar dramatic societal effects on travel and the most recent data
suggesting that traffic is rebounding close to pre-pandemic levels, the 2045 forecasts and results
presented in FEIS, Section 4.3 using models that were developed and calibrated prior to the onset of the
COVID-19 pandemic have been determined to be reasonable for use in evaluating projected 2045
conditions. However, MDOT SHA acknowledges that residual effects of some of the near-term changes in
travel behavior could be carried forward into the future. Therefore, a sensitivity analysis evaluating several
“what if” scenarios related to future traffic demand due to potential long-term changes to teleworking,
e-commerce, and transit use was also conducted. The first part of the sensitivity analysis involved
modifying input parameters in the MWCOG regional forecasting model based on observed changes in
travel behavior during the pandemic to evaluate a range of potential long-term scenarios. The second part
of the sensitivity analysis involved re-running the 2045 No Build and 2045 Build VISSIM models that were
used to generate the operational results presented Chapter 4, Section 4.3 of this FEIS, but with reduced
demand volumes to account for potential sustained impacts from the pandemic. The results of the
MWCOG and VISSIM sensitivity analyses confirm that the capacity improvements proposed under the
Preferred Alternative would be needed and effective even if future demand changes from the pre-
pandemic forecasts based on potential long-term impacts to teleworking, ecommerce, and transit use
that are not formally accounted for in the current regional forecasting models. Refer to FEIS, Appendix C.

Impacts of Teleworking/Remote Working

Comments that acknowledged the decrease in travel during the pandemic suggested that the trend may
be long-term with an increase in telework or remote working. The majority of the comments related to
telework or remote working was received on the DEIS. With regard to teleworking, recent surveys from

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Gallup and Pew Research? indicate that remote work can be expected to continue at levels higher than
before the pandemic. With this in mind, MDOT SHA is working with local and regional businesses and with
other state agencies, including the Maryland Departments of Environment, Budget and Management,
Commerce, and General Services, to better understand the types of initiatives that would support
increased telework while maintaining or increasing productivity. While supporting telework will continue
to be part of MDOT SHA’s approach to addressing the transportation needs and economic wellbeing of
the region, commuting trips only account for around 20 percent of daily travel in the NCR.’ Therefore,
even assuming a substantial shift to telework, this would likely have minimal impact on the remaining 80
percent of daily trips, which include tourism and interstate travel, shipping and freight deliveries, errands,
and other personal and business travel. These activities will continue to put pressure on the region’s road
network.

I-495 has been at or over capacity since the late 1980s during peak hours, and I-270 has been at or over
capacity since the late 1990s during the peak hours. Over the years, those hours of peak congestion on I-
495 and I|-270 have increased to 10 and 7 hours, respectively. Additionally, projections of long-term
growth in the region indicate that another 1.3 million people and 1.0 million jobs will be here by 2045.
These developments are expected to continue to drive growth in travel demand, even with the potential
for increased telework/remote working. MDOT SHA will commit to tracking travel behavior trends and
traffic volumes and will reevaluate during final design.

9.3.2 Screening of Preliminary Alternatives

Chapter 2 of the DEIS summarizes the process by which MDOT SHA considered and evaluated a full range
of potential alternatives; greater detail is provided in DEIS, Appendix B. Many comments received focused
on the agency’s screening of preliminary alternatives prior to publication of the DEIS, expressing support
for one or more of the options that were not carried forward for detailed study, including standalone
transit (a variety of heavy rail, light rail and other options), the MD 200 Diversion Alternative, and methods
of Transportation System Management / Transportation Demand Management (TSM/TDM). Other
comments received suggested a study of additional alternatives outside of the study area, including
monorail on |-270 north, a second Potomac River crossing, and Maryland Area Regional Commuter
(MARC) rail expansion. Some preliminary alternatives were identified through the agency’s assessment of
multiple regional planning studies that had been conducted and implemented over the past several
decades. Other alternatives reflected input received from the public, agencies, and stakeholders during
the NEPA scoping process. MDOT SHA performed a comprehensive analysis of all potential alternatives
and evaluated them using an objective set of criteria based on well-established NEPA principles to
determine whether those alternatives could meet the established Purpose and Need.

A. Process by Which Agency Eliminated Alternatives

Pursuant to the CEQ regulations and FHWA guidance, agencies perform an assessment of potential project
alternatives to determine if they warrant being advanced to detailed study in an EIS. The screening of
alternatives is an essential part of the NEPA process designed to focus attention of the public, stakeholders

2 https://www.pewresearch.org/social-trends/2022/02/16/covid-19-pandemic-continues-to-reshape-work-in-america/ and
https://news.gallup.com/poll/355907/remote-work-persisting-trending-permanent.aspx

3 TPB Regional Travel Survey, 2020 - https://www.mwcog.org/newsroom/2020/10/21/survey-provides-detailed-look-at-17m-
trips-taken-per-day-by-area-residents/

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and the agency decision-makers on the actions most likely to address the Purpose and Need and to avoid
wasteful analysis on options that could not address the identified fundamental needs. This process
involves application of the Study’s established Purpose and Need elements, as well as other criteria
related to transportation planning and the sources of financing a proposed action. Refer to DEIS, Appendix
B.

For the Study, the alternatives screening process first focused on four transportation assessments. Each
of the preliminarily identified alternatives were evaluated on whether or how they addressed: (1) existing
traffic and long-term traffic growth; (2) trip reliability (dependable travel times); (3) additional roadway
travel choice; and (4) ease of usage for travelers. In addition, the Purpose and Need elements were applied
to evaluate whether each alternative could: (1) accommodate population evacuations or emergency
response; (2) improve the movement of freight, services, and commuting employees; (3) provide a
revenue source; (4) promote multi-modal connectivity; and (5) address expected environmental impacts.
These criteria were applied to all 15 preliminary alternatives to gauge how they would be expected to
satisfy the project Purpose and Need. Refer to DEIS, Appendix B.

B. Certain Alternatives Should Have Been Retained for Detailed Study in EIS
Transit Improvements

Based on past regional studies and agency and public comments, MDOT SHA considered four separate,
standalone transit alternatives: 14A (heavy rail), 14B (light rail), 14C (fixed guideway BRT, off current
alignment), and 15 (dedicated Bus Managed Lanes on existing alignment). None of these alternatives
would address existing traffic or long-term traffic growth on I-495 and I-270. Refer to DEIS, Chapter 2 and
DEIS, Appendix B.

With respect to either heavy or light rail alternatives, the 2002 Capital Beltway/Purple Line Study (2002
Study) analyzed circumferential rail corridors (approximately 42 miles) along the Capital Beltway Corridor.
This analysis concluded: “Congestion on the Beltway itself as well as demand on the other transportation
facilities is so great that no single highway or transit improvement will provide significant relief to the
long-term demand” (2002 Study, page S-17). It was also recommended that studies of the highway and
transit alternatives be conducted separately because transit operates more efficiently if it serves areas
where people live and work. Refer to DEIS, Appendix B. This analysis also stressed the basic fact that
people do not live and work “on the Beltway” and that transit options generally service users by directly
connecting activity (housing and work) locations.

Importantly, major standalone transit projects in the study area have been approved and are in the
process of being constructed. For example, the US Federal Transit Administration approved the Record of
Decision (ROD) for the Purple Line project in 2014. The project, a 16-mile, two-track light rail system,
accommodates significant demand for transit within this priority corridor and offers connections between
two ends of the WMATA Red Line and to key destinations such as the downtown Silver Spring Transit
Center and the University of Maryland, inside the Capital Beltway. The Purple Line FEIS and Purple Line
Travel Forecasts Results Report also evaluated VMT in the region. While the Purple Line will provide
additional travel options connecting activity centers, in 2040, under the Purple Line, 0.07 percent less
vehicle miles would be traveled in the region each day versus the 2040 No Build alternative. (2002 Capital
Beltway / Purple Line Study https://oplanesmd.com/environmental/resources/).

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In the 2008 Purple Line Alternatives Analysis/DEIS, a heavy rail option was considered but that alternative
was dropped from detailed review because of several factors that are also present in this project:
prohibitive capital costs and lack of overall cost-effectiveness due to high construction costs, as well as
greater environmental impacts related to the intensity of construction of new heavy rail infrastructure.
Congestion on I-495 and the demand for transportation is so great that transit and roadway improvements
are needed to address the congestion in the region (2002 Capital Beltway / Purple Line Study
https://oplanesmd.com/environmental/resources/).

In addition to rail transit, fixed guideway BRT off-alignment was considered during the preliminary
screening of alternatives. Multiple major BRT projects included in the Fiscally Constrained Long-Range
Plan (CLRP), Visualize 2045, were analyzed in the traffic analysis for the Study and assumed to be in place
in 2045. A 2017 study by the NCRTPB analyzed a series of regional transportation initiatives compared to
the baseline of the CLRP. One of the initiatives studied was a regionwide system of BRT and transitway
networks. These included new BRT facilities in Montgomery and Prince George’s counties, Northern
Virginia, and Washington, D.C. that were in addition to the BRT projects included in the CLRP. The results
of the study showed:

e Aone percent reduction in average travel times for transit, high-occupancy vehicles (HOV) and
single-occupancy vehicle commute trips compared to the 2040 CLRP scenario;

e Atwo percent reduction in daily vehicle hours of delay; and
e Less than one percent daily VMT and daily VMT per capita.

While the standalone transit alternatives were screened from detailed study, MDOT SHA retained multiple
transit elements as part of the Build Alternatives in the DEIS that were ultimately incorporated into the
Preferred Alternative. These transit elements were added to support the Purpose and Need element of
enhancing multimodal connectivity and mobility and in direct response to public and agency comments
received during the scoping and alternatives development process (Refer to Section 9.3.1 of this Chapter).
With respect to the preliminary bus transit alternatives, for example, because buses will be able to use
the new managed lanes, transit trips will be improved by providing a free-flow condition for such service
with no additional property and environmental impacts associated with a fixed guideway BRT off-
alignment alternative. This could help revive express bus service from Montgomery County to Tysons
Corner, Virginia, two significant activity and economic centers. Moreover, this aspect of the proposed
action also satisfies other Purpose and Need elements by increasing travel speed and assuring greater trip
reliability for bus service.

Transportation System Management/ Transportation Demand Management (TSM/TDM)

A standalone TSM/TDM alternative (Alternative 2) was considered during the alternative screening
process. Examples of system management measures included in that analysis were adaptive ramp
metering, part-time shoulder use, and extended acceleration/deceleration lanes to meet the American
Association of State Highway Transportation Officials’ (AASHTO) guidelines. Demand management
strategies focus more on user behavior, including telecommuting promotion, park-and-ride lots, and
ridesharing. As background, TSM/TDM is already being implemented along |-270 as part of the I-270 ICM
project. The I-270 ICM project is designed to address existing issues and short-term needs, unlike the

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Study, which includes addressing long-term traffic growth as part of the Purpose and Need. The TSM/TDM
alternative considered as part of the Study included additional system and demand management
measures applicable to I-495 and |-270, in addition to the ICM project. Some commenters on the SDEIS
concluded that the measures added from the ICM project would be removed under the Preferred
Alternative. However, the improvements completed under the ICM are considered existing conditions and
are assumed to be in place with the Preferred Alternative.

In order to assess the performance of the TSM/TDM alternative, MDOT SHA analyzed traffic modeling
from the I-270 ICM project in the context of the modeling performed on the No Build Alternative for this
Study. Relatively minor short-term benefits from these measures were forecasted for portions of |-270
and |-495, however, those benefits would not be sustained for the long-term. Refer to DEIS, Appendix B.
Even though this alternative would not satisfy the Purpose and Need as a standalone strategy, many
TSM/TDM elements are included in the Preferred Alternative or assumed in the traffic analysis as existing
conditions (i.e., ICM improvements), including:

e Adaptive ramp metering along I-270 that is being installed as part of the |-270 ICM project;

e Needed changes at interchange ramp terminals and intersecting roadways to optimize lane
configurations and traffic signal timing to provide adequate traffic flow along the crossroads; and

e Enhancements to acceleration and deceleration lanes which can improve traffic operations along
the mainline in locations where current design does not meet design guidelines.

Finally, the congestion pricing model to be employed as part of the proposed managed lanes is itself an
effective travel demand management solution.

MD 200 (Intercounty Connector) Diversion Alternative

Following the Spring 2019 Alternatives Public Workshops and agency meetings, several Cooperating and
Participating Agencies requested that MDOT SHA evaluate an alternative that would provide an alternate
route for travelers to use MD 200 (Intercounty Connector [ICC]) instead of the top side of I-495 between
1-270 and I-95 to avoid or reduce impacts to significant, regulated resources, and residential relocations
to that section of |-495. Refer to DEIS, Appendix B.

The MD 200 Diversion Alternative had several key features: (1) no widening or capacity improvements
along !|-495 between the I-270 West Spur and I-95; (2) consideration of TSM/TDM improvements along I-
495 between the |-270 East Spur and I-95; (3) two managed lanes added in each direction on |-495 from
south of George Washington Memorial Parkway to the I-270 West Spur, and in each direction on 1-495
between I-95 and west of MD 5; (4) conversion of the one existing HOV lane in each direction to a HOT
managed lane on I-270 and the addition of one HOT managed lane in each direction on I-270, resulting in
a two-lane managed lanes network on |-270; and (5) two managed lanes added in each direction of I-95
between MD 200 and I-495. Refer to DEIS, Appendix B.

Importantly, this new Screened Alternative was developed and analyzed with input from the agencies to
the same level of detail and using the same approach for the anticipated limits of disturbance (LOD) as all
other Screened Alternatives. Detailed traffic analyses were completed on the MD 200 Diversion
Alternative to assist in evaluating its ability to meet the Study’s Purpose and Need, again, using the same

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methodology that was used for the Screened Alternatives. The methodology included a three-step
process:

e A regional forecasting model was developed for the MD 200 Diversion Alternative using the
MWCOG model, the model used by MDOT SHA and other transportation agencies to evaluate
projects in the Washington, D.C. metropolitan area;

* Outputs from the MWCOG model were used to develop balanced traffic volume projections for
the design year of 2040 for each roadway segment and ramp movement within the Study limits;
and

e Traffic simulation models for the MD 200 Diversion Alternative were developed using VISSIM
software to determine the projected operational performance in several key metrics.

Two key underlying factors played a large role in evaluating whether the MD 200 Diversion Alternative
could meet the Study’s Purpose and Need. First, the portion of I-495 proposed to be excluded from any
improvements is one of the most congested and least reliable segments of highway in Maryland. While
the presumed TSM/TDM measures could slightly improve congestion there, that portion of |-495 would
still experience severe congestion. Second, while MD 200 currently has adequate capacity to
accommodate the potential for diverted traffic, it was anticipated that portions of MD 200 would reach
capacity during peak travel periods by 2040. Therefore, the ability to handle diverted traffic would be
limited in the future.

Traffic analysis was performed using the same key traffic metric applied to all Screened Alternatives
(System-Wide Delay, Corridor Travel Time and Speed, Level of Service (LOS), Travel Time Index (TTI),
Vehicle Throughput, and Effect on Local Roadway Network). After this comprehensive evaluation, MDOT
SHA determined that the MD 200 Diversion Alternative would not address the Study’s Purpose and Need
of accommodating long-term traffic growth, enhancing trip reliability, or improving the movement of
goods and services. In fact, the MD 200 Diversion Alternative was the worst performing of the various
Build Alternatives and provided the least congestion relief benefits. Refer to DEIS, Chapter 2 and DEIS,
Appendix B.

Therefore, even recognizing that the MD 200 Diversion Alternative would have avoided all residential
displacements and all but one business displacement and would have reduced the number of parks and
historic resources potentially impacted by the proposed action, MDOT SHA’s final conclusion, with
concurrence from FHWA, was that this alternative would not adequately meet the established Purpose
and Need. Comments received on the DEIS and SDEIS questioned this conclusion on the basis that the
purpose and need for the ICC Study in 2006 was to reduce congestion on |-495. However, the needs for
the ICC Study were related to increasing mobility and safety, facilitating the movement of goods and
services, serving existing and future development patterns, and advancing homeland security and did not
include addressing congestion on |-495. Although the Preferred Alternative, as described in the SDEIS and
this FEIS, also avoids improvements to the topside of I-495 and provides less improvement to traffic
operations when compared to the DEIS Build Alternatives, it was chosen based, in part, in response to
comments received from the public, partner agencies and stakeholders who indicated a strong preference
for eliminating property and environmental impacts on the top and east sides of I-495. While MDOT SHA
and FHWA recognize that congestion would be present during the afternoon peak period on 1-270

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northbound and the I-495 inner loop in the design year 2045 due to congestion outside of Phase 1 South,
the Preferred Alternative would provide tangible operational benefits to the system including significantly
increasing throughput across the ALB and the southern section of |-270 while reducing congestion. Refer
to SDEIS Chapter 3, Section 3.3 and FEIS Chapter 4, Section 4.3.

Monorail

A study of monorail on I-270 between Shady Grove Metrorail Station and Frederick, Maryland was
requested by the Maryland Board of Public Works (BPW) as a condition of approval of the P3 Traffic Relief
Program. The /-270 Monorail Feasibility Study, conducted by MDOT in late 2020 through early 2021,
assessed the viability of constructing, operating, and maintaining a monorail system between Shady Grove
Metrorail Station and Frederick, Maryland
(https://www.mdot.maryland.gov/tso/pages/Index.aspx?Pageld=122), outside of the study limits.

The /-270 Monorail Feasibility Study concluded that implementation of Monorail between Shady Grove
Metrorail Station and Frederick, Maryland would not conflict with the improvements proposed under the
Study as the limits of the monorail would begin near the northern terminus of the Study and proceed
north, outside of the study limits. The /-270 Monorail Feasibility Study suggested that the build scenario
would result in the decline of daily auto person trips by roughly 13,000, and that vehicle trips will decrease
by approximately 10,000, both a decrease of only 0.1 percent. * The auto vehicle trip reductions were
spread throughout the study area, with a small decrease in traffic volume on major roadways. The /-270
Monorail Feasibility Study acknowledged that the ridership analysis was conducted prior to the COVID-19
pandemic and impacts to existing transit ridership and vehicle volume reductions on I-270 were not fully
examined.

MARC Rail Expansion

Communities along the I-270 corridor are currently served by the WMATA Red Line and MARC Brunswick
Line. The WMATA Red Line alignment follows MD 355 with five stations north of I-495. The Red Line also
crosses |-495 at MD 97 with three stations north of |-495. The MARC Brunswick line includes five stations
north of |-495 within the study corridors and continues north into West Virginia. The MARC Brunswick
Line is generally parallel to MD 355 to the east.

Recently, the State reviewed existing MARC Service on the Brunswick Line as part of the development of
the MARC Cornerstone Plan. This effort sought input from each of the regional transit stakeholder groups,
to define strategic priorities, policies, programs, and initiatives for MARC Service. The stakeholders
provided their observations and suggestions about ways in which existing transit services may benefit
from the P3 Program. Discussion also included new transit service concepts, potential access points, and
constraints. Montgomery County identified the following service concepts: several enhancements to the
MARC Brunswick Line, including bi-directional AM and PM service; more trips to the schedule; and mid-
day trips between Germantown and Washington Union Station. The group reviewed MARC Brunswick
Line capacity improvements contained in the MDOT MTA’s MARC Cornerstone Plan.

* The |-270 Monorail Feasibility Study, https://www.mdot.maryland.gov/OPCP/I-270 MFS Report 2021-2 23.pdf

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However, for purposes of satisfying the Study’s Purpose and Need, implementation of this option is
severely constrained as a result of several practical engineering and fiscal realities. Current MARC service
is experiencing capacity limitations in terms of the number of through tracks, size of platforms, station
infrastructure, and the number of rail cars. The MARC Brunswick Line operates on freight tracks owned
by CSX. CSX will not allow the State to increase commuter rail service without adding a third main line
track. The MDOT MTA’s Cornerstone Plan identified $1.3 billion in capital investments necessary for
increased service on the Brunswick Line. Refer to MDOT MTA MARC Cornerstone Plan:
https://s3.amazonaws.com/mta-website-staging/mta-website-
staging/files/Transit%20Projects/Cornerstone/MCP_MARC.pdf) For these and other reasons, MARC rail
expansion was not carried forward for detailed analysis.

Second Potomac River Crossing

The Study does not include a new or second crossing of the Potomac River. The Preferred Alternative
includes the full replacement of the ALB with a new, wider bridge (not widening of the existing bridge).
Regardless of whether this proposed action is approved, the ALB needs a new bridge deck plus other
repairs or to be replaced in the next decade. The new ALB would be constructed in phases to maintain the
same number of existing lanes at all times. Therefore, the new bridge would be replaced in the same
existing location. The new, wider ALB will include a shared use path to provide bicycle and pedestrian
connection between Virginia and Maryland.

Asecond crossing of the Potomac River was also considered in 2017. The NCRTPB created the Long-Range
Plan Task Force (https://www.mwcog.org/committees/Irptf/) to identify a set of regional projects,
programs, and policies to address issues like long-term congestion and mobility. From a list of nearly 100

ideas, the Task Force developed a set of ten initiatives to analyze for further study and potential future
incorporation into the region’s long-range transportation plans, including an additional Potomac River
bridge.

This analysis found that an additional northern Potomac River crossing would not have as much of a
regional benefit as many of the other initiatives that were analyzed. When the TPB considered these
results and other factors, including public support, implementation feasibility, and costs, the TPB decided
to exclude the second bridge crossing from the 2045 Long Range Plan.

9.3.3 Analysis of Alternatives Retained for Detailed Study
A. Analysis of the No Build Alternative

NEPA’s CEQ regulations, 40 Code of Federal Regulations (CFR) 1500-1508, require every environmental
impact statement to include a No Build Alternative for detailed assessment. The No Build Alternative
serves as a baseline alternative for comparison to all proposed action alternatives. For the Study, the No
Build Alternative does not include any improvements to |-495 and I-270 but does reflect all other multi-
modal transportation initiatives and projects included in the regional CLRP, “Visualize2045,” adopted by
the MWCOG in October 2018. For example, the No Build Alternative assumes major transit projects would
be in place like the North Bethesda Transitway BRT, Veirs Mill Road BRT, MD 355 BRT, Randolph Road
BRT, New Hampshire Ave BRT, MARC increase in trip capacity and frequency, and the Purple Line Light

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Rail.? Refer to DEIS, Chapter 2, Section 2.3. Based on a comprehensive review of regional demographics
and traffic data, the No Build Alternative would not address any of the significant operational issues under
existing conditions and fails to accommodate any of the congestion relief metrics established for
evaluating all Build Alternatives. Refer to DEIS, Chapter 3 and DEIS, Appendix C. For a discussion of the
basis for the Purpose and Need, refer to Section 9.3.1 and for justification for selection of the Preferred
Alternative, refer to Section 9.3.3 C of this Chapter.

B. Justification for Rejecting Reversible Lane Alternatives and Other Transportation
Alternatives

Several comments questioned how MDOT SHA determined that any one of the reversible or contraflow

lanes alternatives, identified as Alternatives 12A, 12B, 13A, 13B and 13C in the DEIS, were screened prior

to inclusion as an Alternative Retained for Detailed Study (ARDS) in the DEIS or were not identified as the

Preferred Alternative.

The alternatives development process was informed by numerous previous studies and planning
documents, and included input from federal, state and local agencies and the public during the NEPA
scoping process, refer to DEIS, Appendix B, Section 4.1 (https://oplanesmd.com/wp-
content/uploads/2020/07/DEIS_AppB Alts_web.pdf\). Public and agency input on the Preliminary Range
of Alternatives was received during the NEPA scoping process, through the alternatives screening process,
and at four Alternatives Public Workshops held July 17, 18, 24 and 25, 2018 in Montgomery and Prince
George’s counties, Maryland.

The Preliminary Range of Alternatives were evaluated by applying the screening criteria established from
the Study’s Purpose and Need, using a general, qualitative assessment (as described in DEIS, Chapter 2,
Section 2.2 and DEIS Appendix B, Section 4.1). The Screened Alternatives retained for further
consideration are described in DEIS, Section 2.5.1 and the alternatives dropped from further
consideration are identified in DEIS, Chapter 2, Section 2.5.2. The remaining Screened Alternatives were
retained as ARDS for comparison purposes in the DEIS per NEPA requirements. The ARDS were concurred
upon by the lead federal agency and most cooperating agencies. Note, M-NCPPC and the National Capital
Planning Commission did not concur on the ARDS.

The use of contraflow or reversible lanes were included among the alternatives that were screened prior
to consideration in the DEIS. Contraflow lanes are access-restricted lanes operating on the opposite side
of a median barrier, in the opposite direction of the flow of traffic. Reversible lanes are facilities in which
the direction of traffic flow can be changed at different times of the day to match peak direction of travel,
typically inbound in the morning and outbound in the afternoon.

The contraflow lane alternatives, Alternatives 12A and 12B, would require conversion of existing general
purpose lanes on I-495 and conversion of existing HOV lane on |-270 and require a movable barrier system
to separate opposing traffic. Shifting the moveable barriers for miles of highway could take many hours
to complete, thereby reducing available roadway capacity during the operational change. Additional
issues with a movable barrier system include: a long duration of time and complexity of deploying the
movable barrier system; communicating movable barrier operations to travelers (in both directions);

> Visualize 2045, pages 36-40,
https://www.mweog.ore/assets/1/28/Visualize 2045 Plan 2018 10 23 No Crops Single.pdf

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location and storage of the movable barrier during un-deployed periods; storage and maintenance of the
movable barrier machines; and operations/configurations at interchanges with median piers and the
numerous crossroads; and any new direct access interchanges with median ramps. Creation of the barrier
system also creates substantial operational and maintenance expenses. The contraflow lane would
end/exit into the existing peak period lane(s). Consequently, these lanes would likely be congested since
no additional peak period capacity would be provided beyond the end of the contraflow lane. As such,
the end/exit would likely create a congested merge point that would affect operations on the contraflow
lane and general purpose lanes upstream.

On 1-495, contraflow lanes are not conducive to travel patterns as traffic data indicates the split in peak
travel is nearly equal in both directions. The creation of contraflow lanes on |I-270 would have created a
difficult merge for single occupancy vehicles to cross and/or merge into the existing HOV lane to enter
and exit the contraflow access points. Refer to DEIS, Chapter 2, Section 2.5.2.

Reversible managed lanes alternatives, Alternatives 13A, 13B and 13C, would be separated from general
purpose lanes by concrete barriers, as shown in the typical section figures for the Build Alternatives, refer
to DEIS, Figures 2-10 and 2-11. Reversible lanes are more effective where there is a significant directional
split in traffic. Similar to contraflow lanes, traffic data revealed that |-495 traffic is fairly evenly split by
direction and peak period. As a result, the direction of traffic that is not benefitting from the reversible
lanes would experience the same congestion as the No Build Alternative, and there would be no
improvement in trip reliability in that direction. Additionally, switching the reversible system and ensuring
that vehicles do not enter in the wrong direction (a potential safety hazard) would require extensive, daily
maintenance due to the length of the improvements. On I-270, the existing HOV lane in both directions
would be converted to reversible managed lanes. While the directional traffic split on I-270 is greater than
1-495, many of the same operational issues would exist including losing capacity during the period when
the lanes are closed to switch directions, safety concerns associated with ensuring vehicles do not enter
in the wrong direction, extensive daily maintenance, and potential confusion from time-of-day restriction.

In addition to the operational and logistical issues identified above, the contraflow and reversible lanes
alternatives would only provide capacity in one direction on I-495 and |-270 and therefore, would not
address existing and long-term traffic growth, would not improve trip reliability, would not accommodate
Homeland Security or emergency events, or improve the movement of goods and services.

C. Justification for Selecting the Preferred Alternative

FHWA and MDOT have selected Alternative 9 — Phase 1 South as the Preferred Alternative. As described
in the SDEIS and this FEIS, the Preferred Alternative includes two new, HOT managed lanes on |-495 in
each direction from the George Washington Memorial Parkway in Virginia to west of MD 187 and
conversion of the one existing HOV lane in each direction on |-270 to a HOT managed lane and adding one
new HOT managed lane in each direction on |-270 from 1-495 to north of I-370 and on the I-270 east and
west spurs. The Preferred Alternative includes no action or no improvements at this time on |-495 east of
the |-270 east spur to MD 5 in Prince George's County. Refer to Figure 1-1 in this FEIS. The additional
capacity and improvements proposed with the Preferred Alternative will best accommodate existing
traffic and long-term traffic growth, enhance trip reliability, provide additional roadway travel choices,
accommodate homeland security, and improve the movement of goods and services in Phase 1 South.

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The Preferred Alternative will provide tangible operational benefits systemwide even though it includes
no action or no improvements for a larger portion of the study area.

The Preferred Alternative was identified after extensive coordination with resource agencies, the public,
and stakeholders to respond directly to feedback received on the DEIS to avoid or minimize residential
and business displacements and impacts to significant environmental resources. Specifically, commenters
and interested stakeholders stressed the pressing need to plan for and address improvements to the ALB
(a major regional traffic bottleneck) as soon as possible. Many stakeholders expressed preference for the
Preferred Alternative to be properly coordinated with existing and currently planned managed lane
projects in Northern Virginia, up to approaches to the ALB. Other related comments focused on achieving
congestion relief in the study area, while at the same time avoiding or minimizing residential and business
property displacements, and public parkland impacts. Still other comments emphasized how the project
should maximize multimodal transportation options in the study area. Many commenters questioned
whether the effects of the pandemic might diminish or delay travel demand and congestion sufficient to
support avoidance or delay of impacts to important resources. Other comments stated concerns over
operational issues near the transition area between the build improvements and area of No Build on I-
495. Some commented that they supported aligning the NEPA approval with the planned project phased
delivery and permitting approach focused on Phase 1 South only.

Updated traffic analysis for the design year of 2045 indicates that the Preferred Alternative will provide
operational benefits compared to the full No Build Alternative in six key metrics (system-wide delay,
corridor travel time and speed, density and LOS, TTI, vehicle throughput, and local network delay). Refer
to FEIS, Appendix A. The Preferred Alternative would significantly increase throughput across the ALB and
on the southern section of |-270 while reducing congestion.

Identifying Alternative 9 — Phase 1 South as the Preferred Alternative was based on additional factors
including:

e Further aligning with the phased delivery and permitting approach.

e Focusing improvements on Phase 1 South, including the ALB, the biggest traffic chokepoint in the
region. Replacement of the bridge is part of a bi-state effort to improve mobility and would
provide a seamless regional system of managed lanes by connecting to Virginia over the ALB.

e Expediting replacement of the ALB with a private funding source.
« Providing options for travel by keeping all existing free general purpose lanes.

e Reducing reliance on single occupancy vehicles by permitting buses, carpool, vanpool, and
personal vehicles with three or more (3+) people to travel faster and more reliably in the new HOT
lanes toll free any time of the day.

e Avoiding all residential and business displacements and avoiding and/or significantly minimizing
impacts to cultural, natural and community resources within the study area.

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Severe congestion on |-495 and I-270 adversely affects the regional and local roadway network, especially
in and around the interchanges and arterial roads within the I-495 and |I-270 Study limits. The congestion
on these corridors also has negative effects on access to and usage of other transportation modes. Besides
enhanced performance on I-495 and I-270 themselves, the Preferred Alternative will provide congestion
relief on these facilities and will also enhance existing and proposed multimodal travel modes including
bus transit by improving connectivity and mobility through enhancing trip reliability and providing
additional travel choices for efficient travel during times of extensive congestion. Opportunities to
enhance transit mobility and connectivity within the Preferred Alternative include direct and indirect
connections via ramps from the HOT lanes to transit stations, free bus transit usage of the HOT lanes.
MDOT SHA has also committed to certain regional transit improvements to enhance existing and planned
transit and support new opportunities for regional transit service including increasing the number of bus
bays at WMATA Shady Grove Metrorail Station and increasing parking at the Westfield Montgomery Mall
Transit Center. The Preferred Alternative will also provide new or upgraded pedestrian and bicycle
improvements throughout Phase 1 South considering current master plans and identified priorities from
regional and local agencies.

While the Preferred Alternative offers an effective approach to addressing existing traffic and long-term
traffic growth in and around the I|-495 and I-270 facilities of Phase 1 South, it should be noted that the
realized improvements are not as substantial as Alternative 9 in the DEIS that covered the full 48 miles.
As part of the ongoing NEPA process and to address concerns raised regarding operations along the I-495
Inner Loop under the Preferred Alternative, the design has been refined and the forecasting assumptions
were revisited for the FEIS, resulting in improved projected operations on 1-495 and I-270 compared to
what was reported in the SDEIS. Refer to FEIS, Chapter 4, Section 4.3 for the updated results. The HOT
managed lanes are now projected to achieve at least 45 mph in the design year of 2045. Projected speeds
along the |-495 Inner Loop general purpose lanes between the George Washington Memorial Parkway
and |-270 West Spur during the 2045 PM peak period are projected to be 15 mph, which is better than
the No Build Alternative, and improved compared to the preliminary results presented in the SDEIS.
Operations outside the Phase 1 South limits are projected to be similar under Build and No Build
conditions, as would be expected. Identification of Alternative 9 — Phase 1 South is unlikely to preclude
the need for potential future improvements on those portions of the study area, east of the I-270 east
spur. The need for more comprehensive transportation improvements along |-495 has long been
identified through the Study and past studies over the last few decades. If the Preferred Alternative is
selected and approved by FHWA in a ROD, consideration of potential improvements to the other parts of
the interstate system in the study area would advance separately. Additional required environmental
studies, analysis and collaboration with the public, stakeholders and agency partners would occur at that
time. Focusing now on Phase 1 South, the area with the highest levels of regional support for immediate
improvements, allows MDOT SHA time to further plan for and conduct future coordination with the public
on congestion relief for remaining portions of |-495 and |-270.

D. Study Alternatives Should Include or Expand on Specific Elements
Rail Transit on the American Legion Bridge

Comments suggested that the replacement of the ALB should be designed to accommodate for future rail
service, drawing comparisons to the Woodrow Wilson Bridge connecting Maryland and Virginia near the
National Harbor development and Alexandria, Virginia.

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Unlike the Woodrow Wilson Bridge, however, the nearest Metro stops are not close to the ALB.
Additionally, there has never been a regional planning study that approved the viability or practicality of
rail on the ALB, partially due to the need for a higher density of households and jobs to support it. Transit
across the ALB is not part of the region’s CLRP (Visualize 2045), Montgomery County or Fairfax County
master plans, or VDOT’s plans for this corridor. Also, there is no existing right-of-way that could be used
for rail transit on either side of the Potomac River. In order to attract sufficient ridership, a rail line along
a new alignment adjacent to the ALB would need to connect to one of the Bethesda area WMATA stations
to connect to the rest of the rail network. Such a new alignment would likely result in substantial
residential and commercial property displacements that have been completely avoided under the
Preferred Alternative and would cause substantially more impacts to nationally significant National Park
Service (NPS) property and environmentally sensitive resources along the Potomac River Gorge than the
Preferred Alternative.

Other practical limitations restrict the reasonableness of rail transit over the ALB. Transit ridership is
driven by density of households and jobs per acre near the stations. The land uses on both sides of the
ALB are not dense enough to generate ridership to support the cost of rail transit development and
ongoing maintenance in that corridor. VDOT has publicly indicated that current land uses on both sides of
the Potomac River lack sufficient density to support rail transit. Local area master plans would have to be
dramatically amended to allow such higher-density uses in those areas. Cost is also a major factor. For
many of the reasons that standalone transit options were not carried forward for detailed study in the
DEIS, there is no reasonable option to pay for a rail transit solution that would connect locations on both
sides of the ALB.

By contrast, regional bus commuter connections have been extensively studied. Allowing toll-free usage
of the managed lanes by transit buses will make this travel option more reliable and attractive. As part of
a bi-state effort, Virginia’s Department of Rail and Public Transit (DRPT) and the MDOT MTA concluded a
study in 2021 that identified a range of current and future multimodal solutions to reduce congestion,
improve trip reliability and regional connections and enhance existing and planned multi-modal
connectivity and mobility near the ALB. These solutions, including new express bus transit service from
Tysons to Bethesda and Tysons to Germantown, focused on moving more people across the ALB in fewer
vehicles. A series of potential investment packages were developed to provide new mobility choices to
serve bi-state travel and included a combination of transit service elements, technology enhancements,
Commuter’ Assistance Programs, and _ parking needs. Refer’ to 2021 _ Report.
(http://www. drpt.virginia.gov/transit/major-initiatives/i-495american-legion-bridge-transit-and-tdm-

study/)

In consideration of the comments received, MDOT SHA commits to designing and constructing the ALB
such that a future capital improvement project will have one or more feasible options to achieve the full
design and implementation of a transit line across the ALB. These options will be enabled by designing the
northbound and southbound structures to not preclude a possible future transit line including the
addition of foundation and substructure elements.

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Bike/Pedestrian Elements Included in Preferred Alternative

Comments received indicated support for, or the need for pedestrian and bicycle facility improvements
as part of the multimodal improvements with the project.

The Preferred Alternative reflects a strong commitment to bicycle and pedestrian connectivity and
mobility in the study area in response to comments received throughout the NEPA process. Refer to FEIS
Chapter 3, Section 3.1.5. Existing pedestrian and bicycle facilities impacted by the Preferred Alternative
would be replaced in-kind or upgraded considering the current master plans for recommended facilities.
In addition, new pedestrian and bicycle facilities identified in those plans would be constructed where
adjacent connections exist. These efforts respond directly to the Purpose and Need goal of enhancing
multi-modal connectivity by removing barriers to non-vehicular mobility and comments received from
local agencies and stakeholders.

In response to input received from the City of Rockville, the Montgomery County Department of
Transportation (MCDOT), and stakeholder organizations, the Preferred Alternative will accommodate
pedestrian/bicycle facilities throughout the study area, including improvements noted in Rockville and
Montgomery County current master plans and are assumed under the Preferred Alternative base design.
These include:

e New sidepath (west side) and new sidewalk (east side) on Persimmon Tree Road over I-495;
e New bike lanes (both directions) and new sidepaths (both sides) on MD 190 over I-495;

« New bike lanes (both directions), new sidewalk (south side), and new sidepath (north side) on MD
191 over |-495;

e Reconstructed sidewalk (south side) and sidepath (north side) on Democracy Boulevard over I-
270 west spur;

e New two-way separated bike lanes (south side), and reconstructed sidewalks (both sides) on
Westlake Terrace over I-270 west spur;

e New Breezeway (south side) and reconstructed sidewalk (north side) on Montrose Road over I-
270;

e Reconstructed sidewalk (south side) and shared use path (north side) on Wootton Parkway over
1-270;

e New bike lanes (both directions) and new sidewalks (both sides) on MD 189 over |-270;

e New bike lanes/bikeable shoulders (both directions), reconstructed shared use path (south side),
and new sidewalk (north side) on MD 28 over I-270;

e New bike lanes (both directions), reconstructed shared use path (Millennium Trail, south side),
and new sidewalk (north side) on MD 189 (Falls Road);

e Construct new bike lanes in both directions of Gude Drive; reconstruct the existing shared use
path (Millennium Trail) on the south side of Gude Drive; and construct a new sidewalk on the
north side of Gude Drive; and

e New Breezeway (south side) and new sidepath (north side) on Shady Grove Road over I-270.

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Additionally, the Preferred Alternative includes pedestrian and bicycle enhancements and new
connections that are beyond the base design approach but are accounted for in the Preferred Alternative
LOD. Refer to FEIS Chapter 3, Section 3.2.2. These include:

e Construct a new pedestrian/bicycle shared use path across the ALB to connect facilities in
Maryland and Virginia;

e Widen the existing variable-width sidepath along the east side of Seven Locks Road under I-495
(Cabin John Trail); and

e Construct a new sidewalk along the west side of Seven Locks Road under I-495 to reestablish the
historic connection between Gibson Grove Church and Morningstar Tabernacle No. 88 Moses Hall
and Cemetery.

Transit Elements Included in Preferred Alternative

The Preferred Alternative includes multiple elements to enhance transit mobility and multimodal
connectivity in furtherance of the established Purpose and Need and in response to public and agency
comments supporting such elements. Refer to FEIS Chapter 3, Section 3.1.4 and Section 3.2.1. These
transit elements will serve to address the multi-modal mobility and connectivity need in the Purpose and
Need and include:

e Allowing toll-free bus transit usage of the HOT managed lanes to provide an increase in speed of
travel, assurance of a reliable trip, and connection to local bus service/systems on arterials that
directly connect to urban and suburban activity centers.

« Accommodating direct and indirect connections from the HOT managed lanes to existing transit
stations and planned Transit Oriented Development at the Shady Grove Metro, Twinbrook Metro,
Rockville Metro, and Westfield Montgomery Mall Transit Center.

MDOT SHA has also committed to certain regional transit improvements to enhance existing and planned
transit and support new opportunities for regional transit service including increasing the number of bus
bays at WMATA’s Shady Grove Metrorail Station and increasing parking at the Westfield Montgomery
Mall Transit Center. Additional transit opportunities have been identified through the approved P3
Agreement. On August 11, 2021, MDOT and the Maryland Transportation Authority (MDTA) received
approval from the Maryland BPW to award the Phase 1 P3 Predevelopment Agreement to the Selected
Proposer. In accordance with the terms and conditions of the Phase 1 P3 Agreement, the Developer has
proposed an estimated $300 million for transit services in Montgomery County over the operating term
of Phase 1 South. Moreover, upon financial close of the Section P3 Agreement for Phase 1 South, MDOT
is committed to fund not less than $60 million from the Development Rights Fee provided by the
Developer for the design and permitting of high-priority transit investments in Montgomery County and
MDOT is committed to deliver the Metropolitan Grove Operations and Maintenance Facility including the
necessary bus fleet. Refer to FEIS Chapter 3, Section 3.2.1 and FEIS, Chapter 7, Sections 7.2 and 7.3.

9.3.4 Resource Impacts Assessment Methodology and Level of Detail

Comments submitted expressed concern over the scope and level of detail offered in the DEIS and SDEIS
regarding potential impacts of the various Build Alternatives, including the Preferred Alternative, to a
variety of natural, cultural and community resources. Certain comments suggested that the impacts
assessment in the documents was too general and that information concerning mitigation and the

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resolution of project elements to address public and agency input was included too late in the NEPA
process. Finally, some commenters thought that the scope and volume of the information presented was
too extensive and made it difficult for the public to understand and access relevant data related to impacts
of concern. The following responses address the full range of resources mentioned in these comments,
explaining briefly the methodologies applied by study technical experts and the preliminary analysis
results reached with respect to each resource. The response also explains how comments received
throughout the NEPA process resulted in substantial modifications to the Preferred Alternative specifically
to address concerns over potential impacts through implementation of avoidance, minimization, and
mitigation strategies for the proposed action.

The Study fulfills the requirement to thoroughly evaluate potential impacts and allowed the agency
decision-makers and the public to understand the various advantages and disadvantages of a range of
reasonable alternatives. As required by the CEQ NEPA regulations, the DEIS summarized the reasonably
foreseeable social, cultural, and natural environmental effects of the ARDS to a comparable level of detail
and the SDEIS summarized the environmental effects of the Preferred Alternative. These analyses directly
contributed to MDOT SHA’s evaluation of the alternatives and to recommendations for a full suite of
potential measures to avoid and minimize impacts, as well as comprehensive mitigation proposals where
impacts could not be avoided.

The DEIS and SDEIS were drafted to enhance readability and accessibility for all members of the public.
These documents summarized an enormous amount of underlying data and information related to the
proposed action, with complete references to supporting technical reports. Stakeholders or concerned
citizens could easily access the 19 technical reports appended to the DEIS and updated reports in the
SDEIS to obtain a higher level of detail and specificity concerning virtually any topic related to the
proposed action. These reports, comprising close to 18,000 pages in the DEIS and approximately 8,200
pages in the SDEIS including supporting documentation, detail the extensive analysis undertaken by
MDOT SHA, and reviewed by FHWA and Cooperating Agencies, prior to publication of the DEIS and SDEIS.
The reports reflect extensive coordination between local, state, regional and federal agencies, as well as
input from the stakeholders and communities since Spring 2018. The methodologies applied to conduct
the analyses reflected in those technical reports were reviewed and approved by the applicable lead
federal and state agencies. Resource and regulatory agencies were also consulted on the methodologies
and were afforded the opportunity to review and comment on the analyses before being conducted and
once the analyses were finalized. As a result, the structure and format of the DEIS and SDEIS are consistent
with federal practice.

With respect to the engineering details concerning the Build Alternatives presented in the DEIS and the
Preferred Alternative in the SDEIS, this information accurately reflected the level of design available to
the agency during different phases of its NEPA review and was appropriate to ascertain environmental
information and potential impacts. FHWA regulations prohibit agencies from advancing to final design for
a proposed action prior to completion of NEPA. Therefore, the DEIS and SDEIS were based on preliminary
levels of design for the likely engineering elements of the proposed Build Alternatives. The Preferred
Alternative presented in the SDEIS was refined based on additional survey information, an assessment of
constructability and permanent and temporary impacts, as well as avoidance and minimization efforts
resulting from interagency coordination. The SDEIS presented updated information based on the
Preferred Alternative (Alternative 9 — Phase 1 South) and additional coordination that occurred in the 10

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months following publication of the DEIS. The FEIS reflects further design refinements and details,
including final mitigation and commitments of the Preferred Alternative, many of which directly
responded to public comments (FEIS, Chapter 7). The public had reasonable and timely access to all this
information, consistent with the usual development of project design during a NEPA review. The DEIS and
SDEIS were fully accessible and available to the public for a 123-day and 60-day comment periods,
respectively.

A. Limits of Disturbance

Certain comments regarding DEIS resource analyses expressed concern that the LOD for the proposed
action was delineated too narrowly and that, therefore, the potential impacts described could be more
intense than characterized in the DEIS, SDEIS and supporting technical documentation. In addition, some
comments opined that the Developer would not adhere to the LOD as defined in the DEIS, SDEIS, and FEIS
when the project advanced to final design, leading to an unrealistic assessment of potential impacts during
the NEPA phase.

Initial comments during preliminary studies raised concern that the LOD would be too extensive. MDOT
SHA employed a conservative approach to defining the LOD for all the DEIS Build Alternatives and
Preferred Alternative. The LOD represents the proposed boundary within which all construction, mainline
widening, managed lane access, intersection improvements, construction access, staging, materials
storage, grading, clearing, erosion and sediment control, landscaping, drainage, stormwater management
(SWM), noise barrier replacement/construction, stream stabilization, and related activities to the
proposed roadway and interchange improvements. Property impacts associated with the LOD were
broken into permanent (long-term) and temporary (short-term) areas. This conservative approach to
defining the LOD captures the full scope of potential impacts. Moreover, the methodology used to assess
impacts to a number of key resources appropriately considered a broader geographic area than the LOD
immediately surrounding the anticipated construction and related activity boundaries. If the project
advances to final design, it is anticipated that the design will closely adhere to the LOD defined in the FEIS,
as the LOD was established to include a reasonable area to construct the Preferred Alternative. For
complete graphic descriptions of the Preferred Alternative LOD across the entire span of the Phase 1 South
limits, refer to the FEIS, Appendix E.

As noted above, the LOD is a conservative estimate of the potential area of disturbance and included a
full spectrum of project elements associated with all of the DEIS Build Alternatives and the Preferred
Alternative:

e =Profile adjustments and roadway shifts due to mainline widening;

e Interchange ramp relocation, reconfiguration, and tie-ins due to mainline widening;

e Reconstruction of 1-495 and |-270 mainline and interchange ramp bridges over water and
roadways;

e Full replacement of the ALB;

e Direct access ramps and exchange ramps for access to the HOT managed lanes;

« On-site drainage and SWM, including swales, ponds, and large facilities along the roadside and
within interchanges;

e Relocation of existing streams, where determined to be feasible;

« Culvert extensions, auxiliary pipes, and outfall stabilization areas;

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e Noise barrier replacement/construction;

e Utility relocations;

e Avoidance and impact minimization of adjacent land uses such as: streams, wetlands, historic
properties, parks, and private properties; and

« Construction access, staging, materials storage, grading, clearing, and erosion and sediment
control.

The reasonableness of the LOD applied for determining resource impacts was further reinforced by
performing a constructability analysis. This ensured that adequate area within the LOD was provided to
construct all project elements, including bridges, retaining walls, noise walls, drainage structures, and
interchange ramps, among others. Refer to FEIS, Appendix E, Environmental Resources Mapping.

Importantly, the methodology to determine project impacts for a variety of key natural, cultural, and
socioeconomic resources considered areas beyond anticipated areas of physical disturbance, whether
temporary or permanent. For example, the assessment of community impacts and environmental justice
(EJ) concerns considered a broad range of jurisdictions across the study area. Refer to FEIS, Chapter 5,
Section 5.21. Similarly, the Area of Potential Effects (APE) for purposes of analysis under Section 106 of
the National Historic Preservation Act (NHPA) extended to a wider boundary and was agreed to by the
Maryland State Historic Preservation Officer (SHPO) in coordination with consulting parties. Refer to FEIS,
Chapter 5, Section 5.7. Additionally, MDOT SHA’s analysis of air quality impacts also reflected, as required,
a regional perspective. Refer to FEIS, Chapter 5, Section 5.8.

Due to extensive coordination and consultation with local, state, and federal resource agencies and
stakeholders throughout the NEPA process, MDOT SHA was able to advance avoidance and minimization
measures for regulated and sensitive resources and property displacements along |-495 and I-270. This
process resulted in an LOD that significantly avoided and minimized impacts associated with the DEIS Build
Alternatives while appropriately addressing a wide range of water resources, parkland, and historic and/or
cultural resources. MDOT SHA accomplished this through a number of approaches, including the
elimination or relocation of managed lane access points, shifting the centerline alignment, reducing lanes,
changing interchange configurations and other design refinements. Refer to DEIS, Appendix B,
Alternatives Technical Report, SDEIS, Chapter 2 and FEIS, Chapter 3. For the environmentally sensitive
area surrounding the ALB, a separate “Strike Team” of national and state design, bridge and
constructability experts was convened to develop and evaluate alternatives for replacement of the ALB
to avoid and minimize overall impacts to the Chesapeake and Ohio Canal National Historical Park, Clara
Barton Parkway, and the George Washington Memorial Parkway. Refer to SDEIS, Chapter 4, Section 4.4.

An important benefit to conducting a P3 process with pre-development work concurrent with the NEPA
process is to increase efficiency by receiving input by the Developer on design and ancillary elements of
the project such as SWM. This collaborative effort ensures that the design and associated LOD are
appropriate and feasible ahead of final design. While additional LOD changes may occur during final
design, including additional avoidance and minimization, the risk of substantial changes in the LOD or
substantial increase in environmental impacts is significantly lowered by the early involvement of the
Developer. Additionally, monetary incentives have been added to the Developer’s Technical Provisions to
encourage further avoidance and minimization of impacts to wetlands, waterways, forest, and parkland.

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Overall, the conservative approach to defining the LOD for impact assessment was conducted with the
goal of first accurately defining the likely construction of all foreseeable elements of the proposed action,
and then continuously encouraging engineering techniques aimed at avoiding and reducing impacts to
the greatest extent practicable.

B. Traffic Modeling and Analysis

Many comments addressed the methodology and interpretation of MDOT SHA’s traffic modeling, and
how the results of those analyses influenced the recommendations concerning selection of a Preferred
Alternative. These comments ranged from fairly broad questions about the process by which future
congestion for all the ARDS was analyzed, to concerns over the relative benefits of the ARDS in light of
data produced from the modeling results. The following response addresses the general topics raised in
the majority of public comments focused on traffic modeling. To see all comments received and
responses, refer to FEIS, Appendix T.

Methodology and Inputs Used for NEPA Analysis of Traffic Impacts

Throughout the Metropolitan Washington, D.C. Region, FHWA, MWCOG and MDOT SHA have established
a consistent approach to project level traffic analysis. That is, the methodology implemented for this Study
is consistent with other similar MDOT projects and was reviewed and approved by FHWA when this NEPA
process was initiated.

The methodology of traffic analysis involved two primary steps: (1) projecting future traffic volumes using
the MWCOG regional forecasting model, and (2) running a traffic simulation model using the VISSIM
program to evaluate the projected operations under each Build Alternative compared to the No Build
Alternative as a baseline. The general methodology and assumptions applied to the analysis are
summarized in Chapter 4 of the FEIS and discussed in greater detail in FEIS, Appendix A. The analysis used
state-of-the-practice models that were validated and calibrated specifically for the Study.

Some comments questioned whether MDOT SHA used the most up-to-date version of the models and
available data available throughout the NEPA process. As typical practice, the best available models were
used, and information was updated during the course of the Study. When the Traffic Relief Plan was first
announced, developers of the MWCOG model worked directly with the MDOT SHA Travel Forecasting and
Analysis Division (TFAD) to update the regional MWCOG model for project-level use as part of the
Study. The result was a series of models and deliverables (technical memos) to TFAD summarizing the
MWCOG methodology and findings. Refer to DEIS, Appendix C, Attachment C. MWCOG and TFAD
produced a series of memoranda detailing the use of updated models released in November 2017 to
represent the possible development of dynamically-priced or managed lanes and to assist with the 2040
No Build model, and how the models were developed for the three main build alternative scenarios.

As set out in these memoranda, the forecasting modeling used by MWCOG “...is one of several steps in
the evaluation of alternatives, and the data generated by the TPB staff will be further refined [by MDOT
SHA] using additional data sources and techniques...” Coordination between MDOT SHA and MWCOG
staff as documented in DEIS, Appendix C demonstrates how MDOT SHA was expected to use the data to
assess alternatives as they were identified and modified during the NEPA process.

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When the modeling process began, Version 2.3.70 and Version 2.3.71 of the MWCOG model included
forecasts to an “out year” of 2040. Therefore, a design year of 2040 was used by MDOT SHA for evaluation
of alternatives in the DEIS. During project development, in the Fall of 2018, a new version of the MWCOG
model (Version 2.3.75) was adopted. This version included forecasts performed at five-year intervals out
to the year 2045. While it was too late to incorporate the new forecasts into the DEIS, following
coordination with FHWA, MDOT SHA agreed to use the updated forecasts and a design year of 2045 in
subsequent NEPA documents. Therefore, the SDEIS forecasts were updated to the 2045 design year using
the updated model for the SDEIS. To be consistent, Version 2.3.75 of the MWCOG model was also used
to develop forecasts for the FEIS and MDOT SHA's Application for Interstate Access Point Approval and
based on design refinements that occurred between the SDEIS and FEIS. Refer to Position Paper from
MDOT SHA to FHWA dated September 18, 2018, which is included as part of Appendix J (Forecast
Comparison Memo) of the Traffic Technical Report in the DEIS, Appendix C.

While MWCOG adopted Version 2.3.78 in 2020, that version did not change the design year from 2045
and therefore, the latest model continues to be consistent with the analysis utilizing Version 2.3.75.

Induced Demand

Many comments focused on the potential for any of the Build Alternatives, providing increased travel
capacity, to encourage additional traffic, thereby diminishing the effectiveness of the proposed
improvements. This concept, called induced demand, is a consideration on all of MDOT SHA’s large
roadway projects. As explained in DEIS, Appendix C: “Induced demand refers to newly generated trips
that would not exist without capacity improvements to the transportation network.”

Under this Study, MDOT’s goal was not to increase demand but to address current and predicted demand.
Current and predicted demand in the study area could be met by adding many additional new lanes and
while MDOT SHA considered adding additional general purpose lanes during the alternatives screening
process, the agency ultimately recommended capacity via managed lanes. This fundamental difference is
crucial to understanding why the traffic analysis (in FEIS, Appendix A) shows only a very modest increase
in traffic through induced demand.

Most importantly, managed lanes do a better job at regulating overall travel demand, including induced
demand, due to dynamic pricing. As explained in the DEIS, dynamic pricing means that as the demand for
use of the managed lanes increases, the rate charged for access to the lanes also increases. This tends to
regulate uses of the managed lanes in order to permit them to operate in a free-flow of traffic and at
general speed of at least 45 mph. Refer to the Tolling Response in Section 9.3.6 of this Chapter.

The traffic analysis shows that there could be some induced demand as a result of this project, but the
impact will be small (less than 1 percent increase in VMT in the region) and those effects are fully
accounted for in the regional traffic models used in the Study developed by MWCOG. Even with these

effects, the proposed managed lanes would reduce regional congestion delays and significantly improve
travel times along both the I-495 and I-270 in Phase 1 South limits and on local roads throughout the study
area.

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This relatively modest increase of induced demand can also be explained by several factors related to
existing conditions in the study area. First, there is very little undeveloped land surrounding the Phase 1
South study area and, therefore, the traffic models account for the negligible anticipated land use
changes. As the traffic analysis details, new housing areas and/or places of employment (usual causes of
additional trip generation) are not expected to be developed as a result of the project. Because the area
in and around Phase 1 South is largely built out or otherwise protected from additional development, the
likelihood of additional new trips is minimized.

Second, as the existing conditions and the anticipated No Build scenarios described in the DEIS
demonstrate, the highway facilities in question are already extremely congested. The anticipated future
growth of traffic demand is already very high, and largely dependent on already anticipated population
and economic growth in the region. Congestion on I-495 also reflects not only local trips, but a substantial
regional demand for travel on that facility as a major connection for I-95. As a result, most of the travel
demand for these roads already exists.

Finally, important elements of the proposed action itself will have the tendency to reduce induced
demand. Specifically, there is a strong potential for the managed lanes to encourage transit usage for
express buses, as well as HOV and car and/or vanpool rides. This potential should assist in managing
induced demand for single-occupancy vehicles. As the DEIS, SDEIS, and FEIS describe, the transit and HOV
elements of the proposed action can serve more person-trips without necessarily increasing the number
of vehicles (induced demand) in the system as a whole. Refer to Section 9.3.2 B for a response on Transit
Alternatives and Sections 9.3.3 on the Preferred Alternative response.

Expected Traffic Benefits of the Proposed Action

Some comments questioned whether the traffic benefits associated with the Preferred Alternative would
be worth the cost and inconvenience associated with building the project. They also noted that the results
continue to show congestion on the top side of I-495 and on I-270 north of I-370.

In short, the traffic and congestion benefits are substantial. The Preferred Alternative is projected to
provide meaningful operational benefits to the system even though it includes no action or no
improvements for a large portion of the study area to avoid and minimize impacts. Although the Preferred
Alternative provides less improvement to traffic operations when compared to the Build Alternatives that
included the full 48-mile study limits evaluated in the DEIS (such as Alternatives 9 and 10), it was chosen
based in part on feedback from the public and stakeholders who indicated a strong preference for
eliminating property and environmental impacts on the top and east side of |-495.

The Preferred Alternative will significantly increase throughput across the ALB and on the southern
section of I-270 while reducing congestion. It would also increase speeds, improve reliability, and reduce
travel times and delays along |-495, |-270, and the surrounding local roadway network compared to the
No Build Alternative, as shown in the following table, which summarizes traffic analyses from the FEIS.

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Table 9-1: Traffic Benefits of Preferred Alternative vs. No Build Alternative-Entire Study Area

METRIC TIME PERIOD IMPROVEMENT

Network-Wide Average Delay AM PEAK 13%
Reduction vs. No Build PM PEAK 38%
Total Local Network Delay °

Reduction vs. No Build DAILY 3.5%
American Legion Bridge AM PEAK 29%
Throughput Increase vs. No Build PM PEAK 30%
1-270 at Montrose Road ANT PEAK 10%
Throughput Increase vs. No Build PM PEAK 15%

The northern section of I-270 from 1-370 to I-70 is part of a separate, independent planning study under
the I-495 and I-270 P3 Program. Improvements are needed in the northern section of I-270 with or without
the improvements being considered under the Study.

Traffic on Local Network and Arterials Adjacent to the Study Corridors

Many comments expressed concern that the increased capacity on |-495 and I-270 and development of
direct access to the managed lanes could have the adverse impact of worsening traffic on local roads,
especially those connecting to the interstate facilities. Specifically with respect to the local roadway
network related to the Build Alternatives, information in the DEIS was based on preliminary design that
did not include direct access at Gude Drive or Wootton Parkway. Since that time, MDOT SHA has
coordinated with various stakeholders, including the City of Rockville, and has updated the design to
include direct access connections to the managed lane system at these two interchanges. The results
presented in the SDEIS and FEIS account for these updates.

The results indicate that the net impact of the Preferred Alternative will be an overall reduction in delay
on the surrounding arterials, including a 4.8 percent reduction in daily delay on the arterials in
Montgomery County, despite some localized increases in arterial traffic near the managed lane access
interchanges. The portions of the local road network with an anticipated increase in volumes were
evaluated in more detail as part of this FEIS, and mitigation was proposed where needed to maintain
acceptable operations and safety per FHWA Interstate Access Point Approval guidelines. In addition,
based on follow-up meetings between MDOT SHA and Rockville, additional improvements were
considered and incorporated where feasible, including modifications to the right-turning movement from
the |-270 off-ramp onto eastbound MD 189, additional turn lanes at Wootton Pkwy at Seven Locks Road,
and additional turn lanes at Gude Drive at Research Boulevard. All these enhancements will help manage
and/or improve the function of the local roadway network.

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MDOT SHA’s Application for Interstate Access Point Approval (FEIS, Appendix B) evaluated 60 different
existing intersections located on adjacent arterials throughout the local roadway network to determine
the projected operations and LOS with and without the Preferred Alternative. The results indicated that
fewer intersections are projected to operate at LOS “F” (failing operations) under Build conditions than
under No Build conditions in both the 2045 AM peak period and the 2045 PM peak period.

As noted in the SDEIS, the Preferred Alternative includes no action or no improvements at this time on I-
495 east of the I-270 spur to MD 5 in Prince George's County. Refer to FEIS, Figure 1-1. The potential
impacts to local roads raised in many comments focused on those areas that will not see improvements
to the major highway facilities across the study area. Any potential improvements to local roads adjacent
to those areas are no longer included in the project. Any future proposal for improvements to the
remaining parts of |-495 within the study limits, outside of Phase 1 South, would advance separately and
would be subject to additional environmental studies, analysis, and collaboration with the public,
stakeholders, and agencies.

C. Parkland and Historic Resources
Section 4(f) Evaluation

Comments raised concerns about impacts to specific park properties and questions regarding the
adequacy of the Section 4(f) evaluation, which focuses on impacts to certain protected resources,
including parklands and historic sites. Some comments suggested MDOT SHA and FHWA did not fulfill the
statutory and regulatory requirements for protection of parkland or historic resources. The following
response summarizes FHWA and MDOT SHA’s comprehensive analyses of the proposed action’s potential
parkland and historic resource impacts, efforts to avoid and minimize those impacts through engineering
design and alternatives modification, and coordination with Officials with Jurisdiction (OW4J) of parkland
and historic sites to determine appropriate mitigation for unavoidable impacts.

Section 4(f) of the U.S. Department of Transportation (USDOT) Act of 1966 as amended (49 United States
Code [U.S.C.] 303(c)) is a Federal law that protects significant publicly-owned public parks, recreation
areas, wildlife and/or waterfowl refuges, or any significant public or private historic sites. Section 4(f)
applies to all transportation projects that require funding or other approvals by the USDOT. As a USDOT
agency, FHWA must comply with Section 4(f) and its implementing regulations at 23 CFR 774. The Draft
Section 4(f) Evaluation for the proposed action was appended to the DEIS (DEIS, Appendix F) and
summarized in Chapter 5 of the DEIS with updated information related to the Preferred Alternative
summarized in Chapter 5 of the SDEIS. The Final Section 4(f) Evaluation can be found in FEIS, Appendix G,
and FEIS Chapter 6.

Selection of the Preferred Alternative was based in part on extensive coordination with and input from
agencies and stakeholders, including the OWJs for Section 4(f) properties. Refer to DEIS, Chapter 5; SDEIS,
Chapter 5; and FEIS, Chapter 6. Agency and stakeholder comments on the DEIS and Draft Section 4(f)
Evaluation specifically requested avoidance of parkland and historic resources within the study area. The
Preferred Alternative is responsive to the comments received and aligns the Study to be consistent with
the phased delivery and permitting approach, which limits the build improvements to Phase 1 South and
avoids improvements on |-495 east of the |-270 east spur. The result is complete avoidance of a substantial
number of Section 4(f) properties and a large reduction of parkland acreage impacts within the Study

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limits (over 100 acres). Design refinements have progressed since the Preferred Alternative was identified,
resulting in additional avoidance and minimization of impacts.

A total of 111 Section 4(f) properties were originally identified within the corridor study boundary,
including public parks and recreation areas and historic sites. The DEIS described that 68 of the 111 Section
A(f) properties would have had a Section 4(f) use (impact). Since the SDEIS, impacts to two additional parks
were avoided including Cabin John Stream Valley Park (Rockville) and Morris Park based on further design
refinements. One additional Section 4(f) property was identified (the Washington Biologists’ Field Club
[WBFC] on Plummers Island) bringing the final total to 20 properties. The Preferred Alternative requires
use of a total of 33.2 acres from 20 Section 4(f) properties and avoids the use of approximately 114 acres
of Section 4(f) properties compared to the Build Alternatives in the DEIS.

Engineering modifications to the Preferred Alternative design described in the FEIS have resulted in large
reductions of impact to several of the most significant parks and historic properties in the study area.
Refer to FEIS Chapter 3, Section 3.1.2 and FEIS Chapter 5, Section 5.4. For example, impacts to the George
Washington Memorial Parkway were reduced by 7.8 acres, with only 0.6 permanent acres of use
remaining. Impacts to the Chesapeake and Ohio Canal National Historical Park were reduced by 5.3 acres,
with that park expected to experience only 1.0 acre of permanent impacts. Additionally, impacts to the
historic Morningstar Tabernacle No. 88 Moses Hall Cemetery have been completely avoided under the
Preferred Alternative.

Of the Section 4(f) properties with some use as a result of the proposed action, 13 are proposed for and
anticipated to receive de minimis impact determinations. Refer to Chapter 6, Section 6.2 and FEIS,
Appendix G. Pursuant to FHWA Section 4(f) regulations (23 CFR 774. 3), an impact to a significant public
park, recreation area, wildlife and waterfowl refuge or historic resources may be determined to be de
minimis if the transportation use of the Section 4(f) property, including incorporation of any measure(s)
to minimize harm (such as any avoidance, minimization, mitigation, or enhancement measures), does not
adversely affect the activities, features, or attributes that qualify the resource for protection under Section
A(f).

Prior to making a Section 4(f) de minimis impact determination, public notice and opportunity for public
review is required. For historic resources, MDOT SHA has notified the Maryland Historical Trust (MHT) and
consulting parties of the intent to make a de minimis impact determination via letters as part of the
Section 106 process. For park resources, the opportunity for public notice and review is occurring as part
of the NEPA public review and comment process, as the intent to make a de minimis impact determination
has been documented in the Draft, Updated Section 4(f) Evaluation and Final Section 4(f) Evaluation. All
public comments on the DEIS, SDEIS, and subsequent opportunity for public review related to the intent
to make de minimis impact determinations were provided to the OWJs. In addition, the MDOT SHA sent
a request for written agreement from each OW) that the impacts to specific parks will not adversely affect
the features, attributes, or activities qualifying those properties for protection under Section 4(f). The
OWJs have concurred with multiple 4(f) de minimis applications, as required by regulation. This
concurrence does not mean the OWJ supports the Preferred Alternative as defined in the FEIS. Section
A(f) compliance and a de minimis impact determination is separate and distinct from other federal
requirements and should not be construed as the OWJ supporting the Preferred Alternative. Refer to
FEIS, Appendices | and S$ for copies of this correspondence.

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The DEIS presented measures that had been identified to ensure all possible planning to minimize harm
and mitigate for adverse impacts and effects. Refer to DEIS, Appendix F, SDEIS, Section 5.4, and FEIS,
Appendix G. Additional minimization and mitigation efforts have been implemented in conjunction with
the Preferred Alternative, as described in the Updated Section 4(f) Evaluation. SDEIS, Chapter 5 and Final
Section 4(f) Evaluation FEIS, Appendix G. More specifically, MDOT SHA has identified and will pursue the
acquisition of replacement parkland in coordination with NPS, M-NCPPC, the City of Rockville, and the
City of Gaithersburg as potential mitigation for parkland impacts. MDOT SHA has also identified other
mitigation opportunities in close coordination with the OWJ, including improvements to park facilities and
amenities, tree planting and invasive species removal, water quality improvements, ecological
restoration, among others. Refer to FEIS, Chapter 7. Because NPS-owned parkland is also historic, the use
would also be consistent with stipulations identified in the Section 106 Programmatic Agreement (PA) and
would be coordinated with the MHT and Section 106 consulting parties. Refer to FEIS, Appendix J for the
PA.

Final mitigation commitments are included in the Final Section 4(f) Evaluation and in the FEIS. Refer to
Chapter 7 and FEIS, Appendix G. The final commitments include all possible planning to minimize harm.

Section 106 Process

Several comments raised questions regarding the impacts to cultural or historic resources and compliance
with Section 106 of the NHPA process and/or the sufficiency of the Cultural Resources Technical Report
appended to the DEIS.

Consideration of the Study’s impacts to cultural and historic properties is being done in compliance with
Section 106 of the NHPA of 1966, as amended (56 U.S.C. 306108), and its implementing regulations (36
CFR Part 800). The location of historic properties is shown in the DEIS, Appendix D, Environmental
Resource Mapping, as updated in the SDEIS, Appendix D, and FEIS, Appendix E. For documents available
to the public, specific archaeological site location information is redacted as required by Section 304 of
the NHPA.

MDOT SHA and FHWA’s Section 106 review for the proposed action has demonstrated thorough
consultation and coordination with stakeholders with an interest in cultural resources. These efforts
included consultation with the SHPOs: MHT and the Virginia Department of Historic Resources (VDHR),
and other agency and community group consulting parties. The Preferred Alternative avoids many of the
significant cultural and historic properties documented in the DEIS, having taken into account the
consultation process and public comments received. The Section 106 consultation and current status are
described in greater detail, below.

Per consultation requirements at 36 CFR 800.4(a)(1), MDOT SHA, on behalf of FHWA, first established the
APE to identify historic properties in consultation with the SHPOs. The APE includes the LOD where direct,
physical effects to historic properties could occur and an additional 250-foot buffer on either side of the
LOD to account for potential audible, visual, or atmospheric effects that are not considered physical
impacts. Since the development of the APE as presented in the DEIS, MDOT SHA coordinated with the
MHT, VDHR, and consulting parties, and has updated the APE on an ongoing basis to account for design
refinements and new information, including the reduced Phase 1 South LOD. MHT concurred with the
most recent APE revisions on May 2, 2022.

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Due to the complexity and wide scope of the Study, the Section 106 process has concluded through a PA,
as described at 36 CFR Part 800.14[b]. (Refer to FEIS, Appendix J.) The PA provides protocols for additional
consultation, historic properties identification, effects assessment, and adverse effects resolution as
design advances. The PA includes mitigation for properties that would experience an adverse effect under
the proposed action, and where design cannot be adjusted to avoid adverse effects. Typical Section 106
mitigation for architectural resources could include, but is not limited to, elements such as: context-
sensitive design, creation of interpretive materials, documentation, or property-specific initiatives. MDOT
SHA cultural resource specialists, will oversee implementation of the PA as the project continues into final
design and construction.

Pursuant to the Section 106 regulations, FHWA notified the Advisory Council on Historic Preservation
(ACHP) of this anticipated PA in March 2018, and ACHP confirmed their participation in consultation for
this undertaking in May 2018. On March 31, 2022, MDOT SHA provided additional consultation materials
including an additional revision to the APE for the Preferred Alternative for MHT review and concurrence
and a third draft of the PA to MHT, VDHR, and consulting parties for review and comment. MDOT SHA
also requested MHT’s agreement that effects to Morningstar Cemetery would be deferred through the
PA until further investigations of the Preferred Alternative LOD are completed. MDOT SHA received
consulting parties’ comments on the PA on April 14, 2022. MDOT SHA received MHT concurrence on the
revised APE and agreement with the deferral the determination of effects to Morningstar Cemetery to
the PA on May 2, 2022. MDOT SHA submitted a final PA for signature on May 17, 2022. The PA is included
in the FEIS, Appendix J.

Historic Architectural Resources

MDOT SHA has determined that there are 29 National Register of Historic Places (NRHP)-eligible or listed
historic architectural properties within the revised APE of the Preferred Alternative, 25 that would not be
adversely affected and four that would be adversely affected. For the 25 properties that would not be
adversely affected, there would be either no appreciable alteration to these properties at all, or they
would experience a slight alteration to the characteristics that qualify them for inclusion in the NRHP, with
no diminishment of these characteristics. The four historic architectural properties (including NRHP-
eligible or listed parks and parkways) within the revised APE that fall within the Preferred Alternative LOD
and would experience an adverse effect, include: George Washington Memorial Parkway/Clara Barton
Parkway; Chesapeake and Ohio Canal National Historical Park; WBFC on Plummers Island; and Gibson
Grove A.M.E. Zion Church. No properties are proposed for complete demolition or destruction but
contributing features of some properties would experience physical impacts of varying degrees. Refer to
FEIS, Chapter 5, Section 5.7.

After publication of the DEIS, considerable avoidance and minimization efforts were undertaken to
address impacted Section 106 properties around the ALB, which are resources owned and operated by
the NPS. MDOT SHA and FHWA met with the NPS on December 8, 2020, to discuss the LOD in the vicinity
of the ALB that was presented for the Build Alternatives in the DEIS. The NPS requested that MDOT SHA
re-assess the LOD near the ALB to limit impacts to NPS land and its natural and cultural resources. MDOT
SHA convened an ‘ALB Strike Team’ composed of national and local experts on bridge design,
constructability, natural resources, and cultural resources. The ALB Strike Team conducted an intensive
investigation in January 2021 to explore alternative design solutions, project phasing solutions, site access

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solutions, and the potential use of specialty construction techniques to minimize the LOD. The ALB Strike
Team presented its results to the NPS on February 8, 2021. These efforts were described in the SDEIS,
Chapter 2, Section 2.3.4.C and FEIS, Chapter 5, Section 5.4.3.

After field analysis, a review of known engineering information, and preliminary construction
considerations, MDOT SHA and the ALB Strike Team determined that access to the site at river level could
be consolidated to the northwest quadrant of the Potomac River along Clara Barton Parkway, eliminating
the construction access from the other three quadrants around the bridge and significantly reducing
impacts to NPS land. This approach would be achieved by constructing a temporary construction access
road from the Clara Barton Parkway in the northwest quadrant within the Chesapeake and Ohio Canal
National Historical Park that would include installing a temporary bridge over the Chesapeake and Ohio
Canal and a temporary access road paralleling the Chesapeake and Ohio Canal towpath. The LOD needed
from the George Washington Memorial Parkway was also reduced and is now confined to the following
areas:

@ Small strip of land along the |-495 inner loop lanes to accommodate a retaining wall and shared
use path;

¢ Asmall areain the southeast quadrant of the ALB Bridge for pier and superstructure construction
activities;

¢ Small strip of land just north of the westbound George Washington Memorial Parkway lanes for
placement of signage in advance of the |-495 interchange; and

e Approximately nine isolated areas along the George Washington Memorial Parkway for removal
of existing signs and the installation of new signing.

Refer to FEIS, Appendix E, Environmental Resource Mapping. Impacts to the George Washington
Memorial Parkway, Clara Barton Parkway and Chesapeake and Ohio Canal National Historical Park as a
result of the Preferred Alternative decreased by 13.2 acres, collectively from the DEIS impacts.

In September 2021, MDOT SHA provided an eligibility determination for the WBFC on Plummers Island to
MHT and consulting parties. Refer to SDEIS, Table 4-18. The historic property boundary for the WBFC
property is equal to the boundary of Plummers Island and is entirely within the boundaries of the
Chesapeake and Ohio Canal National Historical Park, but the WBFC has individual, independent
significance. Despite extensive minimization efforts, impacts to Plummers Island could not be completely
avoided due to the construction and structural requirements for the bridge pier locations. The LOD on
Plummers Island immediately adjacent to the ALB will result in approximately 0.28 acres of impacts to the
Island, of which less than 0.1 acres would be permanent impact and 0.27 acres would be temporary
impact. Impacts to Plummers Island would be required for the ALB substructure, including permanent use
for three, discrete, approximately 10-foot-diameter pier foundations and temporary, construction
activities. Temporary construction activities may include efforts such as excavation, access for demolition
of existing bridge foundation and piers, and slope protection. Access to the existing and proposed piers is
required for these activities. Although the majority of the historic features of the WBFC are outside the
LOD, the proposed construction activities at the western edge of Plummers Island will alter the natural
landscape of the island, a character-defining feature of the WBFC, resulting in diminishment of the
property’s integrity of setting.

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Since the publication of the DEIS, additional and successful avoidance and minimization efforts also
involved the Morningstar Tabernacle No. 88 Moses Hall and Cemetery. Through additional investigation
and survey including ground-penetrating radar (GPR), MDOT SHA identified potential unmarked graves
within state-owned right-of-way adjacent to |!-495. The Preferred Alternative incorporates design
refinements that minimized the overall width of the improvements to completely avoid the cemetery
property and the area of state-owned right-of-way that has the potential for unmarked graves. See
additional discussion below regarding this important resource.

Lastly, the Preferred Alternative described in the SDEIS completely avoids many significant historic
properties documented in the DEIS, including, but not limited to: Baltimore-Washington Parkway;
Greenbelt Park; Glenarden Historic District; Indian Spring Club Estates and Indian Spring Country Club;
National Park Seminary/Forest Glen/Walter Reed A.C.C. Annex; Rock Creek Stream Valley Park; and Sligo
Creek Parkway. On September 8, 2021, MDOT SHA requested concurrence that the historic properties
that are now outside of the APE would experience no adverse effect, and MHT concurred with this finding
on October 8, 2021.

Historic Cemeteries

Two historic cemeteries in Maryland have been identified within the APE, Morningstar Tabernacle No. 88
Moses Hall and Cemetery and Montgomery County Poor Farm Cemetery. The Morningstar Tabernacle No.
88 Moses Hall and Cemetery (M: 35-212) is located on the west side of Seven Locks Road, south of |-495,
and was closely associated with the Gibson Grove A.M.E. Zion Church community. As mentioned above,
the parcels containing the known location of NRHP-eligible Morningstar Tabernacle No. 88 Moses Hall
and Cemetery would be completely avoided based on design refinements incorporated into the Preferred
Alternative.

On May 27, 2021, MDOT SHA submitted a technical report (FEIS, Appendix I, Volume 9) documenting the
non-invasive investigations at Morningstar Tabernacle No. 88 Moses Hall and Cemetery to aid in the
development of avoidance, minimization, and treatment approaches in the PA. Additionally, MDOT SHA
conducted a GPR survey at Morningstar Tabernacle No. 88 Moses Hall and Cemetery (M: 35-212),
including the adjoining state-owned right-of-way, and provided the results to MHT and consulting parties
on September 8, 2021. As mentioned, MDOT SHA adjusted the Preferred Alternative LOD near the
cemetery to avoid the areas where GPR indicated a potential for grave features and included additional
buffer around this area within state-owned right-of-way to avoid potential impacts. Based on the current
historic boundary, the Preferred Alternative will avoid direct impacts to the Morningstar Tabernacle No.
88 Moses Hall and Cemetery. Additionally, no atmospheric, audible, or visual effects to the property have
been identified from the Preferred Alternative. No diminishment of location, design, setting, materials,
workmanship, feeling or association has been found in these areas. The project will be governed by a PA,
including a treatment plan that specifies the methods, limits and consultation procedures for further
investigation of areas with the potential for additional burials outside of the current historic boundary, no
specific determination of effects to the Morningstar Tabernacle No. 88 Moses Hall and Cemetery will be
made at this time, and will be made following completion of the additional investigations specified in the
PA and treatment plan. (Refer to FEIS, Appendix J).

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The Montgomery County Poor Farm Cemetery (18MO266) is located along I-270 and was associated with
the Montgomery County Almshouse. Archaeological remains of the Poor Farm Cemetery were identified
in 1984, and salvage archeology was later conducted in 1987 when a small number of remains were
identified and reinterred. An unknown but large number of interments were relocated from the Poor Farm
Cemetery during construction of I-270, and an unknown number of unidentified remains may remain
within the LOD. Because the boundaries of the Poor Farm Cemetery are poorly understood and no marked
graves remain, MDOT SHA will fully investigate and treat the LOD with exact methods to be determined
through consultation under the PA. Methods will likely include full removal of topsoil in areas identified
for impact to identify and relocate burials which cannot be avoided. Since the DEIS and SDEIS, the LOD in
the southeast quadrant of I-270 and Wootton Parkway has been significantly reduced to minimize the
potential of impacting archeological remains.

Due to the complexity and wide scope of the Study, the Section 106 process has concluded through the
finalization of a PA, as described at 36 CFR Part 800.14[b]. (Refer to FEIS, Appendix J.) The PA provides
protocols for additional consultation, historic properties identification, effects assessment, and adverse
effects resolution as design advances. MDOT SHA will oversee implementation of the PA as the project

continues following the ROD.
Archaeological Resources

The effects assessment anticipates the Preferred Alternative would have an adverse effect on all six NRHP-
eligible archaeological resources located within the LOD. Archaeological resources outside the LOD would
not be affected and no additional investigations to determine eligibility would be conducted for those
sites. MDOT SHA has identified six archeological properties that are adversely affected: Dead Run Ridges
Archeological District, three individual sites that contribute to the Dead Run Ridges Archeological District
in Virginia and two archaeological sites in Maryland. Refer to FEIS, Chapter 5, Section 5.7.

For the known NRHP-eligible archaeological resources located within the LOD of the proposed action, the
Section 106 consultation process will continue to assess anticipated effects and evaluate options to avoid,

minimize, or mitigate such effects.

MDOT SHA recorded the agreed-upon terms and conditions in the PA to resolve adverse effects to the
following affected archaeological resources: 18MO749, 18MO751, and Dead Run Ridges Archaeological
District (which includes individually listed and contributing sites 44FX0374, 44FX0379, and 44FX0389).
These commitments include a flexible treatment plan to be incorporated by reference into the PA. Section
106 mitigation for unavoidable adverse effects to archaeological resources will include: recovery of

archaeological data through excavation, reporting, and public interpretation of archaeological results.
Refer to FEIS, Appendix J.

D. Equity/Environmental Justice

Comments received on the DEIS and SDEIS suggested that the analysis of impacts to EJ populations
(minority and/or low-income populations) was insufficient in that a final conclusion was not made and
that impacts and mitigation were not available. Other comments suggested that outreach to EJ

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populations was lacking or was not adequately documented. Finally, some comments received focused
on specific impacts to EJ communities such as air quality and tolling.

Outreach to and Engagement with Environmental Justice Communities

The DEIS, SDEIS, and FEIS summarize the comprehensive community outreach and engagement strategies
and in-depth analyses developed by MDOT SHA to ensure equal access to relevant study information and
to identify and address potential impacts to minority and low-income communities pursuant to federal
requirements. These strategies reflected federal policy and guidance regarding EJ pursuant to Executive
Order 12898, USDOT Order 5610.2(c), FHWA Order 6640.23A, and FHWA Guidance on EJ and NEPA (2011).

The public participation elements of the NEPA process provide an opportunity to promote equity and EJ
concerns by ensuring minority and low-income communities (EJ populations) have access to and receive
information concerning the proposed action and the potential impacts on those communities. However,
even more concentrated outreach efforts can effectively identify community concerns and inform agency
decision-makers regarding project elements and potential mitigation specifically geared to protected
communities.

In addition to the overall efforts to encourage public participation in the Study (refer to the Public
Involvement response Section 9.3.7 of this chapter), MDOT SHA implemented a comprehensive strategy
to ensure complete access to information to the broadest scope of identified EJ populations in the study
area. Refer to DEIS, Chapter 4, Section 4.21.3; DEIS Appendix E, Community Effects Assessment and
Environmental Justice Analysis Technical Report; SDEIS, Chapter 4 Section 4.21.2 (D); FEIS Chapter 5,
Section 5.21; and FEIS, Appendix F.

Among other efforts employed to promote outreach to EJ populations, listed below are key outreach
methods conducted:

e Mailed flyers in English, Spanish, Amharic, and French® flyers to approximately 200 affordable
housing complexes, schools, and places of worship’ in the study area.
e Uploaded to the project website the DEIS and SDEIS Executive Summaries translated into Spanish,
Amharic, French, Chinese, and Korean.
e Provided hard copies of the translated DEIS and SDEIS Executive Summaries at the DEIS viewing
locations.
* Spanish language advertisements in E£/ Tiempo Latino, Washington Hispanic, and on
eltiempo.com.
e Additional County outreach:
o Montgomery County News press release;
a Inclusion in Montgomery County Executive’s weekly newsletter;
o Inclusion in MCDOT’s bi-weekly newsletter and social media posts;
o Distribution of flyer via M-NCPPC Prince George’s County Planning email databases;

® Spanish, French, and Amharic are the top primary languages of English for Speakers of Other Languages learners in
both counties.

7 Includes EJ area schools with above-average participation in the Free and Reduced-price Meals Program; places of
worship in EJ areas; and all affordable-housing complexes within the study area.

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= Planning Department listserv with approximately 19,200 email addresses;
= Community Association listserv with approximately 700 email addresses;
oO Inclusion in Prince George’s County social media posts; and
o Coordination with Prince George’s County Faith-Based Advisory Board to distribute
information to their ministry listserv with approximately 70 email addresses.
e Additional translation of flyer to Simplified Chinese, Korean, Malayalam, Punjabi, Tagalog, and
Yoruba, uploaded to the project website, and distribution of hard copies to groceries largely
serving immigrant communities in both Montgomery and Prince George’s Counties.

Refer to SDEIS, Section 4.21.2, and FEIS, Chapter 5, Section 5.21.

Since publication of the DEIS, an EJ Working Group was formed in response to agency input. Agency
members of the EJ Working Group include: MDOT SHA, FHWA, USEPA, Maryland Department of Planning,
M-NCPPC, MCDOT, and Prince George’s Department of Public Works and Transportation. The goals of the
EJ Working Group included identifying additional engagement opportunities to identify community
concerns and to identify potential community betterments that could be incorporated into the project.
Three meetings of the EJ Working Group were held in 2021 and have resulted in development and
initiation of a robust EJ engagement initiative in the Fall of 2021 as summarized below.

MDOT SHA initiated an additional engagement initiative in Fall 2021 with EJ populations. This engagement
effort provided more opportunities for meaningful engagement with underserved communities directly
or indirectly affected by the proposed action. The intended result of this engagement was to elicit
feedback on community concerns and identify strategies that could minimize impacts and community
enhancements that could be implemented as part of the project. In consideration of the ongoing COVID-
19 pandemic, the engagement effort focused on receiving input through development of an online survey.
MDOT SHA was able to actively engage in person with over 500 people to discuss and answer questions
about the project, promote the survey and receive input on community concerns and recommendations
for addressing those concerns through a series of community “pop-up” events. These events were held at
grocery stores and shopping centers to spread awareness of the survey, to distribute postcards with links
to the survey, and to invite on-site survey participation via iPads. Spanish, Korean, Chinese, Amharic, or
French language translators were available at each event depending on the community. Additionally,
MDOT SHA developed and advertised this survey through a variety of means, including:

e Using provided and developed outreach lists to identify and coordinate communications with
community contacts for the dissemination of survey information;

* Contacting regional and local stakeholder advisory groups to seek additional information on
groups and outreach methods;

e Sending email blasts to 230 community groups, associations, civic groups, and advocacy groups,
asking them to share the link to the survey with their community members;

e Distributing postcards containing the QR code with links to the survey in each of the six languages;

e Distributing yard signs, posters, and/or postcards to churches, low-income multi-family housing,
ethnic grocery stores and markets, and health clinics serving EJ communities, inviting people to
participate in the survey; and

« Targeted outreach to places of worship.

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Refer to FEIS, Chapter 5, Section 5.21 and Appendix F for additional details on outreach and engagement.
Environmental Justice Analysis

MDOT SHA’s initial analysis of potential EJ impacts, focused on the entire study area, reflecting a broad
geographic area surrounding the 48-mile study limits for the Build Alternatives assessed in the DEIS.
MDOT SHA followed accepted practice as reflected in CEQ, USDOT and FHWA guidance to identify
minority race and ethnicity populations, as well as low-income populations (EJ populations), in and around
the study corridors. Refer to DEIS, Chapter 4, Section 4.21 and DEIS, Appendix E. Basic demographic data
was supplemented with a review of information concerning the presence of low-income subsidized
housing, the distribution of Food Stamps (SNAP benefits), the proportion of students receiving free and
reduced-priced lunch programs, among other measures.

Once the relevant EJ populations were identified, MDOT SHA conducted a complete review of all relevant
demographic data in order to determine existing environmental and relevant community conditions of
the identified EJ populations. Refer to DEIS, Chapter 4, Section 4.21.3. Each Build Alternative in the DEIS
was then assessed for potential beneficial or adverse effects, with a particular focus on property impacts,
including potential displacements and impacts to community facilities in EJ populations. Pursuant to
FHWA Order 6640.23A, additional consideration was given to a broad range of environmental and natural
resources issues, ranging from air and water quality, noise impacts, hazardous materials, visual intrusions,
as well as socio-economic factors such as employment, mobility access, and overall quality of life. Refer
to DEIS Section 4.21.5 and DEIS Appendix E, Section 4.5.

The SDEIS focused on the Preferred Alternative for Phase 1 South limits, which substantially reduced the
number and location of potentially impacted EJ populations analyzed in the DEIS. Refer SDEIS, Chapter 4,
Figure 4-3. In addition, based on comments received on the DEIS from Cooperating Agencies, MDOT SHA
further enhanced its EJ analysis for the Preferred Alternative by using analytical tools available on-line
through the USEPA, EJSCREEN, and through the state of Maryland, EJSCREEN. Refer to SDEIS, Appendix
K. In general, these tools assist agencies in the analysis of potential EJ impacts by identifying primary risk
factors and indicators of exposure to known pollutants, hazardous substances, and proximity to health
hazards that historically have had the tendency to disproportionately impact EJ populations. Application
of these tools confirmed that methodology and identification of potential EJ populations was consistent
with similar assessments completed by outside expert institutions.

The FEIS summarizes the Final EJ Analysis which concludes that no disproportionately high and adverse
effects on minority or low-income populations based on the Preferred Alternative would occur and
reflects the results of the final noise, air, traffic and other technical analyses. Refer to FEIS, Chapter 5,
Section 5.21. With the decision to take no action or to limit the range of the Preferred Alternative, many
of the study areas’ EJ populations have been avoided.

Comments on Specific Impacts to EJ Populations
Many comments addressing potential EJ impacts cited public health concerns from air quality impacts.

MDOT SHA and FHWA recognize that EJ populations who live in areas with high EPA and MD EJSCREEN EJ
Index scores (FEIS Chapter 5, Section 21 and Appendix F, Section 5.4.4A) may experience air quality

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impacts from construction activities and highway operations more acutely than populations with lower EJ
Index scores because those populations have higher sensitivity and exposure to pollutants. MDOT SHA
has committed to implementing emission control measures aimed at minimizing impacts to air quality
throughout construction. These include implementing a diesel emissions program to minimize air
pollution, including Mobile Source Air Toxics (MSATs), implementing a greenhouse gas (GHG) reduction
program, instituting an anti-idling policy to avoid unnecessary idling of construction equipment to reduce
engine emissions and provide benefit to those that live and work in or adjacent to the anticipated
construction area, and implementing a truck staging area plan for all construction vehicles waiting to load
or unload material to locations where emissions will have the least impact on sensitive areas and the
public. Additionally, measures to reduce fugitive dust during construction will be implemented. Refer to
FEIS, Chapter 5, Section 5.8 and Section 5.23.

Many comments raising concern about potential EJ impacts also raised concern related to economic and
access issues focused on the introduction of tolled managed lanes and the affordability of those proposed
new facilities for all highway users. As described in the DEIS, the impacts of congestion pricing on EJ
populations vary widely by context and type of project (i.e., full facility tolling or partial facility tolling).
Refer to DEIS, Section 4.21.5.k. For all Build Alternatives described in the DEIS including the Preferred
Alternative, new travel choices would become available for all highway users through the addition of
tolled roadway capacity while maintaining the existing, free general purpose lanes on I-495 and I-270. This
includes providing opportunities for new or expanded bus service on the managed lanes, free of charge,
incentivizing car/vanpools where three or more users can travel on the managed lanes toll free, and by
providing additional pedestrian/bicycle and transit improvements to enhance mobility and connectivity
throughout Phase 1 South as part of the Preferred Alternative. Refer to the Tolling response, Section 9.3.6
of this chapter.

Moreover, the traffic analysis disclosed in the DEIS and SDEIS and at community meetings and public
workshops indicated that travel times would improve, and congestion would decrease along general
purpose lanes under each of the Build Alternatives and the Preferred Alternative. This is because dynamic
pricing on the tolled managed lanes enables those facilities to maintain a 45-MPH speed at all times,
thereby also reducing congestion in the general purpose lanes. This results in benefits for all users of the
interstate facilities analyzed in the study limits, whether they pay a toll or not.

While travel speed and trip reliability benefits offered by the managed lanes could be a less feasible
economic choice for EJ populations, studies® based on actual user data show users of all incomes benefit
from reduced travel times, including managed lane users and those who continue to use free general
purpose lanes. In short, managed lane usage is not closely correlated to income. Nationwide research?
shows a majority of travelers choose to use managed lanes occasionally for critical or important trips, such
as reaching an appointment or a school event. Relevant recent experience with similar facilities in Virginia
on |-495 and I-95 further supports this conclusion. As reported in The Washington Post in 2018: “...most

® https://www.wsdot.wa.gov/publications/fulltext/design/ConsultantSrvs/I-405ExpressTollLanes.pdf

° Empirical Study of the Variation of Value of Travel Time and Reliability, https://trid.trb.org/view/1437986

And Investigating the Value of Time and Value of Reliability for Managed Lanes,
https://fdotwww.blob.core.windows.net/sitefinity/docs/default-source/research/reports/fdot-bdv29-977-12-
rpt.pdf?sfvrsn=f4405e25_ 2

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495 and 95 express lane users are not affluent...”. According to another Post report, the average toll rates
for Virginia’s managed lanes on I-495 and I-95 are $5.40 and $8.45 per trip, respectively. Experience in
Virginia on |-495 shows that 82 percent of customers spend less than $20 a month and 85 percent of trips
were less than $12. On the Virginia I-95 Express Lanes, 74 percent of customers spend less than $20 a
month.

Mobility and access for EJ populations are also increased by the Preferred Alternative as a result of new
and/or improved bicycle and pedestrian access and toll-free travel for transit vehicles and car/vanpools
using the managed lanes. With respect to bus transit usage, it is anticipated that increasing the availability
of higher speed and more reliable options connecting major transit locations and economic centers will
have a positive impact on transit usage in the study area by encouraging new transit service or modifying
routes. Similarly, because HOVs with three or more passengers will also travel toll-free on the new
managed lanes, the use and availability of car and vanpools should be enhanced. These affordable
transportation options can particularly benefit potential users who may not have reasonable access to
personal vehicles.

Overall, due to the improvements on existing interstate systems associated with the Preferred Alternative,
plus the scattered distribution of EJ populations among non-EJ populations along the Phase 1 South limits,
impacts would occur proportionately throughout the study limits. Quantifiable impacts, including impacts
to property, community facilities and services, natural resources, noise, and hazardous waste, would be
borne primarily by non-EJ populations. Impacts to demographics, traffic, air quality and its effect on public
health, safety, visual and aesthetic resources, economy and employment, access and mobility, community
cohesion/isolation and quality of life, and impacts resulting from construction would occur consistently
along the Phase 1 South limits and more frequently in non-EJ populations based on demographics and
population distribution. The types of impacts caused by the Preferred Alternative would not differ
between EJ populations and non-EJ populations. The Preferred Alternative includes construction of
project elements that are distributed throughout the Phase 1 South limits such as highway widening,
additional managed lanes access, and construction of noise barriers, among others. As such, the types of
impacts caused by the Preferred Alternative would not be greater in magnitude in EJ populations versus
non-EJ populations.

Given the reasoning documented in detail in the EJ Analysis (FEIS, Appendix F and FEIS, Chapter 5, Section
21) and summarized above and in accordance with Executive Order 12898, USDOT Order 5610.2(c), FHWA
Order 6640.23A, and an FHWA Guidance on EJ and NEPA (2011), FHWA and MDOT SHA have determined
that a disproportionately high and adverse impact would not occur to the EJ Analysis Area populations
under the Preferred Alternative.

However, to be responsive to community concerns raised during the outreach and engagement efforts,
which identified priorities for improved sidewalks and bicycle facilities, better lighting, and traffic calming
measures, MDOT SHA commits to working with the City of Rockville, the City of Gaithersburg, and
Montgomery County to:

e Identify locations where safer pedestrian crossings on major state roadways are needed.

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e Identify locations where additional pedestrian improvements including adding or upgrading
sidewalk, restriping for bicycle lanes, adding or upgrading Americans with Disabilities Act (ADA)-
compliant ramps are needed.

e Identify locations along state roads with existing pedestrian facilities where more or better
lighting is needed.
In addition, as part of the P3 Agreement, the Developer and/or MDOT SHA has committed to the following
transit-related items:

e As part of its proposal, the Developer has proposed an estimated $300 million for transit services
in Montgomery County over the operating term of Phase 1 South.

« Upon financial close of the Section P3 Agreement for Phase 1 South, MDOT is committed to fund
not less than $60 million from the Development Rights Fee provided by the Developer for the
design and permitting of high priority transit investments in Montgomery County and MDOT is
committed to deliver the Metropolitan Grove Operations and Maintenance Facility including the
necessary bus fleet.

e Working with Montgomery, Frederick and Prince George’s counties, a subsidy to cover the cost
of transit fares for eligible low-income riders will be part of the Developer’s Transit Funding
Commitment.

e The Developer, as part of its commitment to support Vision Zero”, will define a neighborhood
walk and cycle connectivity zone to enhance multi-model connectivity.

e The Developer will facilitate the development of a facility improvement program for the
installation or replacement of sidewalks, crossings, or signal modifications and formalizing trail
development that has pedestrian demand, then rank projects according to safety significance
(considering predictive safety analyses completed by M-NCPPC), readiness, and landowner
consensus, as part of its commitment to support Vision Zero.

Also, to support community, environmental, and sustainability goals, the Developer will generate a
Sustainability Plan for the project and will make good faith efforts to achieve, at minimum, a Gold Award
rating as recognized by the Envision™ Sustainable Infrastructure Rating System of the Institute for
Sustainable Infrastructure and target a Platinum Award in collaboration with the Section Developer. The
Sustainability Plan will include actions related to the quality of life surrounding the infrastructure asset,
stakeholder and community engagement, natural resource management, ecosystems and biodiversity
health, climate resilience and carbon emissions.

Refer to DEIS, Chapter 4, Section 4.21.5, SDEIS Chapter 4, Section 4.21.4, and FEIS Chapter 5, 5.21.4 for
a summary of the Draft and Final EJ Analysis and DEIS, Appendix E and FEIS, Appendix F for the technical
reports.

E. Water Resources

Numerous comments raised concerns over potential impacts to water quality in the study area, with a
particular focus on how the DEIS Build Alternatives and Preferred Alternative would account for SWM to
offset new impervious surfaces related to the new managed lanes. Comments about water quality also

19 Vision Zero is an initiative to eliminate all traffic fatalities and severe injuries.
https://www.montgomerycountymd.gov/visionzero/index.html

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expressed concern regarding impacts to protected wetlands subject to permitting under Section 404 of
the Clean Water Act, Maryland Water Quality Certification, and potential impacts to federally designated
floodplains in the study area. All these water resources concerns are subject to extensive federal and state
regulation and permitting requirements. MDOT SHA has engaged in extensive coordination with all
Cooperating Agencies with jurisdiction over project permitting related to water resources and water
quality, including the U.S. Army Corps of Engineers (USACE) and the Maryland Department of the
Environment (MDE). Those efforts are ongoing and will continue through project final design. In addition
to information provided to the public and interested stakeholders in the context of the NEPA review, those
agencies also conducted extensive public outreach in the context of permit application review.

General Impacts Concerns

Impacts to surface waters, water quality, and watershed characteristics will be unavoidable under the
Preferred Alternative due to direct and indirect impacts to streams and increases in impervious surface in
their watersheds. These impacts may include soil erosion, removal of trees, and stormwater discharges.
Refer to FEIS, Appendix M. Throughout the Study, MDOT SHA conducted comprehensive efforts in
consultation with regulatory agencies to avoid and minimize such impacts. These efforts reflected a wide
variety of planning and engineering modifications to the proposed action, including alignment shifts to
avoid water resources, alteration of roadside ditch design, addition of retaining walls to minimize the
roadway footprint, revision of ramp design, revision of construction access areas, relocation of managed
lanes access to avoid water resources, shifting the location of noise barriers, and revision of preliminary
SWM locations to avoid streams. A separate ALB Strike Team was created to investigate alternative bridge
designs and construction techniques that could be employed to reduce, minimize, and avoid impacts to
water resources in and around the ALB, including the Potomac River.

Wetlands and Waterways

Extensive mitigation measures would be undertaken for impacts to wetlands and surface waters. Any
unavoidable impacts to wetlands and surface waters would be mitigated as required under state and
federal wetlands and waterways permits. Agency coordination to minimize impacts to state-designated
Scenic Rivers will continue in final design.

The project requires a Clean Water Act Section 401 Water Quality Certification from Maryland and Virginia
indicating that anticipated discharges from the Study will comply with state water quality standards.
MDOT SHA has coordinated closely with MDE, the Virginia Department of Environmental Quality (VDEQ),
and the USACE to ensure that all state water quality standards are met for the Study. Permits will be
sought from the USACE, MDE, and VDEQ for unavoidable impacts to wetlands and waterways concurrent
with publication of the FEIS. Maryland and Virginia Water Quality Certifications will be requested at the
same time. Minimization efforts for potential water quality impacts that could result from road crossings
may include the proper maintenance of flood-prone flows through proposed structures using flood relief
culverts to avoid increased scour and sedimentation. Most of the stream systems within the corridor study
boundary currently have floodplain access; this should be retained as much as possible to preserve
benefits such as velocity dissipation, storage, and sedimentation/stabilization. Other efforts would
consider retaining or adding riparian buffers, as well as maintaining or improving aquatic life passage.

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Stormwater Management (SWM)

Comments received assumed that the need for SWM was not addressed during the Study or that the SWM
analysis was too preliminary and not adequate to address the future needs.

MDOT SHA will fully meet all requirements to address SWM as regulated under Maryland’s SWM Act of
2007. Maryland SWM requirements aim to maintain post-development runoff as near as possible to pre-
development runoff characteristics. The Preferred Alternative will require both Erosion and Sediment
Control and SWM permits and will have to meet a high standard of providing protection to receiving
waters both during and after construction. During construction Best Management Practices (BMPs) will
be implemented, such as, super silt fence, clear water diversion and sediment traps. In 2012, MDE revised
erosion and sediment control regulations in adherence with the 2011 Maryland Standards and
Specifications for Soil Erosion and Sediment Control (MDE, 2014). These revisions include the
establishment of a grading unit criteria, along with stricter stabilization requirements to adequately
protect water quality.

Consideration of providing effective SWM for all Build Alternatives, including the Preferred Alternative,
has been considered throughout the planning process. A preliminary SWM analysis was described in the
DEIS, SDEIS, and now in this FEIS. Refer to DEIS, Section 2.2.7, SDEIS, Section 2.3.2, and FEIS, Section
3.1.6. SWM for this project would be developed in compliance with all applicable MDE regulations and
guidance and designed in accordance with MDE’s 2000 Maryland Stormwater Design Manual (MDE, 2009)
and MDE’s SWM Act of 2007. Environmental mapping displays the impervious area associated with the
Preferred Alternative and shows the proposed large SWM facilities along the alignment. Refer to FEIS,
Appendix E. Through continued coordination with federal and state agencies, including M-NCPPC, USACE,
and MDE, MDOT SHA has continued to refine the location of proposed SWM facility locations.

The project planning process helped identify right-of-way needs for the most effective SWM solutions.
That planning reflected avoidance of additional natural resource impacts from SWM to the maximum
extent practicable. In general, on-site SWM locations were maximized while also minimizing impacts to
natural resources, private property, and properties subject to other land use protections, such as Section
4(f) publicly owned parkland. On-site SWM for the FEIS was evaluated based on a more detailed volume
based approach to fit within the Preferred Alternative LOD developed during the SDEIS and refined during
the FEIS. Refer to FEIS, Chapter 3, Section 3.1.6. Provided SWM facilities include wet ponds, extended
detention ponds, underground quantity facilities, submerged gravel wetlands, grass swales, bio-swales,
micro-bioretentions, bioretentions, underground sand filter, etc. Based on the SWM Concept developed
for the FEIS, 11 out of 167 Point of Investigations” (POI) would require variances for water quantity
increases and 3 out of 167 POls would qualify for a waiver due to direct discharge to the Potomac River.

With respect to water quality requirements, the Study evaluated potential water quality loss due to
impacts to existing SWM facilities. In addition to replacing water quality loss due to impacts to existing
SWM facilities, the project intends to meet water quality standards to treat all new impervious area and
a minimum of 50 percent of reconstructed existing impervious area through onsite measures, wherever
practicable; where not practicable, these requirements would be met offsite in accordance with MDE
regulations. The SWM analysis completed for the FEIS indicates that over 95 percent of the water quality

4 Point of Investigation means location where concentrated runoff from a drainage area flows from the project site.

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requirements can be met onsite. However, due to the existing site constraints and the amount of
impervious area requiring treatment for the Preferred Alternative, the remaining five percent of water
quality could not be met onsite for the Preferred Alternative. Consequently, compensatory SWM
treatment may be required to offset the environmental site design deficit. Other measures may also be
considered in particularly sensitive watersheds after further coordination with resource agencies, such as
redundant erosion and sediment control measures and/or providing on-site environmental monitors
during construction to provide extra assurance that these measures are fully implemented and
functioning as designed.

The preliminary Compensatory (offsite) SWM Mitigation Plan provides up to 27 acres for Phase 1 South,
which exceeds the compensatory mitigation requirements, which are estimated to be 2.4 acres based on
the FEIS SWM analysis. Based on that overall total, the Developer will be able to determine site feasibility
and final design. Refer to FEIS, Appendix D. Detailed SWM design, to be performed during final design,
and/or use of innovative technologies may reduce the compensatory SWM requirements. In addition,
sensitive waters, such as, Tier | watersheds and Use III and IV watersheds have additional requirements
and restrictions on the type of SWM that can be used to provide extra protection. Final design of both the
onsite and offsite SWM sites will be performed at later design stage.

F. Air Quality

Commenters stated that no air quality analysis was completed or that it was inadequate and not
completed to standards.

The Clean Air Act and Amendments (CAA) is the overarching statute regulating air quality in the US. The
CAA requires the USEPA to set standards for air pollutants, approve state plans, and enforce deadlines for
reducing air pollution, anong many other responsibilities. USEPA’s transportation conformity rule (40 CFR
Part 93) provides the criteria and procedures for implementing the transportation conformity provisions
of the CAA. NEPA guidelines issued by the USDOT outline federal requirements for air quality analyses for
transportation projects. Where applicable, other requirements derive from the federal transportation
conformity rule (40 CFR Parts 50 and 93). FHWA’s 1987 Technical Advisory 6640.8A, Guidance for
Preparing and Processing Environmental and Section 4(f) Documents, provides general guidance for
project-level air quality analyses.?? That guidance focuses on carbon monoxide (CO). FHWA provides
separate guidance on MSATs.*? The air quality analysis for the Study was performed in consultation with
FHWA using approved models, methodologies, and guidance to analyze required pollutants for the Build
Alternatives in the DEIS and the Preferred Alternative in the FEIS. Refer to DEIS, Appendix | and FEIS,
Appendix K.

As required by the CAA, the USEPA sets the National Ambient Air Quality Standards (NAAQS) for airborne
pollutants that have adverse impacts on human health and the environment, referred to as criteria
pollutants. The criteria pollutants are CO, sulfur dioxide (SOQ), ozone (Os), particulate matter (PM2s5 and
PMio}, nitrogen dioxide (NO2), and lead (Pb). In addition to the criteria pollutants for which there are
NAAQS, EPA also regulates MSATs. The nine priority MSATs are: benzene, 1,3-butadiene, formaldehyde,
acrolein, acetaldehyde, diesel particulate matter, ethylbenzene, naphthalene, and polycyclic organic

12 https://www.environment.fhwa.dot.gov/projdev/impTA6640.asp
3 FHWA, “INFORMATION: Updated Interim Guidance on Mobile Source Air Toxic Analysis in NEPA Documents”, October 18, 2016.
Refer to: http://www. fhwa.dot.gov/environment/air_quality/air_toxics/

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matter. GHGs are another pollutant monitored by EPA. The primary GHGs in the Earth’s atmosphere are
Carbon Dioxide (CO), Methane (CH.), Nitrous Oxide (N20), and Fluorinated Gases.

The Study is located in an attainment area, as defined by USEPA, for CO, and particulate matter (PMio and
PM25s) therefore, transportation conformity requirements pertaining to these criteria pollutants do not
apply to this project and no further emissions analysis were evaluated. A CO analysis of emissions from
affected intersections and interchanges was conducted for informational purposes since CO is a proxy for
transportation emissions, as discussed in the 1987 Technical Advisory. The results of that analysis
demonstrate that the worst-case interchanges and intersections for each Build Alternative in the DEIS and
the No Build Alternative, using very conservative assumptions, would not cause or contribute to a
violation of the CO NAAQS within the study area. An updated traffic analysis to determine the worst-case
intersections and interchanges (using maximum peak hour volume and maximum peak hour delay)
associated with the Preferred Alternative throughout the corridors was performed. While some
interchanges and intersections identified as worst case in the updated traffic analysis differed from those
included in the DEIS, the results of the analysis showed that overall the maximum peak hour volumes and
maximum peak hour delays were less than the top three intersections and interchanges used in the DEIS
analysis. For this reason, the DEIS analysis can still be assumed to have projected worst-case emissions
and that the project would not cause or contribute to a violation of the CO NAAQS.

The Preferred Alternative is located in Montgomery County, Maryland and a small area in Fairfax County,
Virginia. The USEPA Green Book" lists these counties as attainment for all NAAQS with the exception of
the 2015 8-hour O3 standard, for which the counties are nonattainment. The USEPA recently
redesignated the area to maintenance/attainment for the 2008 8-hour O3 standard. *® The 2015 03 NAAQS
(0.070 parts per million [ppm]) are more stringent than the 2008 NAAQS (0.075ppm). Maryland, Virginia
and the District of Columbia submitted maintenance plans to USEPA that demonstrated maintenance of
the 2008 O3; NAAQS through 2030 and therefore, their request to be redesignated to
maintenance/attainment of those NAAQS was granted by USEPA in April 2019. The measured ambient air
concentrations closest to the study area were all well below the corresponding NAAQS, except for the
exceedance of the 2015 8-hour O3 standard recorded at all the monitor locations. Ozone is analyzed at a
regional level and the Study is currently included in the NCRTPB Fiscal Year 2019 — 2024 Transportation
Improvement Program (TIP) [TIP ID 6432 and Agency ID AW0731 (planning activities and preliminary
engineering)] and the NCRTPB Visualize 2045 Long Range Plan (CEID 1182, CEID 3281, and Appendix B
page 56). The Study is also included in the Air Quality Conformity Analysis Determination that
accompanies the Visualize 2045 Plan. That analysis showed that the transportation program, which
includes the Study, would not cause or contribute to a violation of the O03 NAAQS.

The air quality analysis also assessed MSATs. Quantitative MSAT analysis was conducted as the expected
VMT is greater than 150,000 AADT in the design year. Results of the air quality analysis in the DEIS showed
MSAT emissions are expected to remain the same or slightly decrease for all Build Alternatives when

14 https://www.epa.gov/green-book
45 These counties were redesignated to attainment of the 2008 ozone NAAQS, effective May 15, 2019 (See:
hitps://www.federalregister.gov/documents/2019/04/15/2019-06128/air-plan-approval-district-of-columbia-maryland-and-
virginia-maryland-and-virginia-redesignation).
16 https://www.federalregister.gov/documents/2019/04/15/2019-06128/air-plan-approval-district-of-columbia-maryland-and-
virginia-maryland-and-virginia-redesignation

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compared to the No Build Alternative for 2040. Refer to DEIS, Appendix I. In addition, all MSAT pollutant
emissions are expected to significantly decline in the Opening (2025) and Design (2040) years when
compared to base conditions (2016). These reductions occurred despite projected increase in VMT from
2016 to the 2025 and 2040 build scenarios in the DEIS. The MSAT analysis was updated for the Preferred
Alternative as part of the FEIS. All MSAT pollutant emissions are expected to increase slightly for the
Preferred Alternative when compared to the No Build condition in 2025 and 2045. However, all MSAT
pollutant emissions are expected to significantly decline in the Opening (average 72.9% decrease) and
Design (average 89.29%) years when compared to existing conditions.

G. Climate Change and Greenhouse Gas (GHG)

Comments received expressed concern that the project would have a significant impact on GHG emissions
and climate change and that the project would impede Maryland’s ability to reach its goal of a 40%
reduction in emissions by 2030. To date, no national standards or NAAQS for ambient GHG emissions have
been established by the USEPA under the CAA and there is no approved regulatory requirement that has
been established to analyze these emissions at a project level for transportation projects. Consistent with
the 2016 CEQ Final GHG NEPA guidance,’ a quantitative GHG assessment was conducted. Refer to FEIS,
Chapter 5, Section 5.8.

GHG emissions are different from criteria air pollutants since their effects are in the global atmosphere
rather than localized. GHG emissions from vehicles using roadways are a function of distance traveled
(expressed as VMT), vehicle speed, and road grade.

GHG emissions for the Existing (2016), Opening (2025) and Design (2045) year for the Preferred
Alternative and No Build Alternative were estimated consistent with the MSAT methodology as discussed
below and include carbon dioxide equivalent (CO2e) and its constituent pollutants as included in the latest
MOVES version 3.0.1, or MOVES3. The latest version of MOVES specific to GHG includes the following
regulatory updates:

e GHG Emissions and Fuel Efficiency Standards for Medium- and Heavy-Duty Engines and
Vehicles—Phase 2; and

e Safer Affordable Fuel Efficient (SAFE) Vehicles Rule

Since there is no approved methodology for conducting a project-level quantitative GHG emissions
analysis, there are numerous parameters that could be applied to conduct such a review. Consistent with
FHWA guidance on developing an affected network to analyze project-related pollutants, such as MSATs,
MDOT SHA analyzed GHG emissions using the same affected network as the MSAT analysis. This definition
of the affected network, however, is likely extremely conservative, as GHG emissions are most commonly
considered on a regional or even broader level.

17 https://www.federalregister.gov/documents/2016/08/05/2016-18620/final-guidance-for-federal-departments-
and-agencies-on-consideration-of-greenhouse-gas-emissions-and

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The analysis shows GHG emissions under the Preferred Alternative are expected to decline in the Opening
(2025) and Design (2045) years for all GHG pollutants when compared to existing conditions. Specifically,
for CO2e, there is projected to be a 94,664 tons per year decrease (13% reduction) in the Opening year
and a 67,272 tons per year decrease (9% reduction) in the Design year. These reductions occur despite
projected increase in VMT on the affected network between the 2016 and 2025 and 2045 Build scenarios.
Refer to FEIS, Appendix K, Section 3.4.1 for additional detail on the GHG results.

Under the No Build condition, VMT on the affected network would gradually increase for the years
between 2016 and 2045 as employment and population in the area increases. Under the Preferred
Alternative, VMT would experience an increase due to the same factors affecting the No Build condition
but would also increase because the operational improvements on I-495 and |-270 as a result of the
Preferred Alternative would pull traffic off of local roadways and onto the interstates. Since the affected
network is comprised primarily of the interstates and small sections of adjoining roadways, the VMT under
the Preferred Alternative experiences a larger increase on the affected network when compared to the
regional traffic model used for the overall project. This is because while the increase in VMT on the
interstates is accounted for, the model does not account for the decrease in VMT on local roadways.
Therefore, the approach to analyze GHG emissions applying the substantially narrower affected network
used for the MSAT analysis may not accurately reflect regional GHG emissions resulting from the Preferred
Alternative. In addition to an analysis of operational GHG emissions, an analysis of construction emissions
associated with the Preferred Alternative using the FHWA Infrastructure Carbon Estimator (ICE) is
included in the FEIS. Refer to FEIS, Chapter 5, Section 5.23.3 and FEIS, Appendix K.

MDOT acknowledges concerns about climate change and Maryland is committed to reducing GHG
emissions and to prepare our State for the impacts of climate change. The Maryland Commission on
Climate Change (MCCC) and its Mitigation Working Group (MWG) have demonstrated that commitment
by working collaboratively with experts and stakeholders across State and local agencies, environmental,
non-profit and academic institutions. The resulting body of work quantifies baseline GHG emissions by
sector to understand the impacts that specific plans, policies, and programs will have on future emissions
economy-wide. Statewide analyses indicate that the Study will not impede Maryland’s ability to meet its
GHG emission reduction goals. In fact, the Greenhouse Gas Reduction Act Plan documents Maryland’s
existing and future emissions reductions under several scenarios, all of which include this project. The
document illustrates that Maryland will not only meet the 40 percent by 2030 goal, but that we are
dedicated to working together to exceed that goal and to strive for a 50 percent reduction by 2030.

MDOT continues to be an active partner in the MCCC and Maryland’s GHG reduction efforts. MDOT is
leading the way on transportation sector scenario and emissions analyses and has worked with
stakeholders, communities, and partners on the MWG to better understand the impacts of the changes
within the transportation sector, ranging from technology improvements, such as the deployment of
automated, connected, and electric vehicles to the importance of improving mobility and expanding
telework.

As MDOT is committed to reducing GHG emissions, measures aimed at reducing emission both in the
short-term, during construction, and the long-term, during operations, have been committed to or are
incorporated into the Preferred Alternative. Refer to FEIS, Chapter 5, Section 5.8.4 and Chapter 7, Section
7.2.

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H. Noise

Comments received noted concerns about the adequacy of the noise analysis approach and questioned
the application of the noise policy guidelines. Other comments raised concerns over the anticipated
increase in noise levels and whether abatement was appropriately considered.

MDOT SHA’s noise impacts analysis was conducted in compliance with MDOT’s Highway Noise Abatement
Planning and Engineering Guidelines (2020), which are in turn, based on FHWA regulations at 23 CFR Part
772, Procedures for Abatement of Highway Traffic Noise and Construction Noise. As described in the DEIS,
updated in the SDEIS, and finalized in the FEIS, the noise analysis presents the predicted loudest hour
build traffic levels in order to determine if those noise levels create a traffic noise impact, and if so, to
determine whether abatement is feasible and reasonable for the Preferred Alternative. Refer to DEIS and
SDEIS Chapters 4.9; DEIS Appendix J, SDEIS Appendix E, and FEIS, Appendix L.

Noise modeling was performed using FHWA’s Traffic Noise Model (TNM), v.2.5. Because the study area
covers Maryland and Virginia, noise analysis guidance for each of those states was followed, as
appropriate for portions of the study area in those jurisdictions. The validation process for application of
the federal TNM confirms the model’s ability to reproduce measures noise levels. MDOT SHA properly
validated its modeling effort to determine its accuracy by comparing monitored and existing noise levels
in the study area. Refer to SDEIS, Chapter 4, Section 4.9.1.

To determine impacts, a set of noise-sensitive areas (NSA) are identified based on the type of activities or
land uses present at those NSAs. The majority of NSAs relevant to the DEIS Build Alternatives and the
Preferred Alternative fall within either Activity Category B (exclusively residences) or Activity Category C
(non-residential outdoor recreational uses or schools or places of worship). The federal regulations and
state guidance referenced above requires that noise abatement (mitigation) be investigated for all NSAs
when build traffic noise levels approach or exceed standards for that land use category OR where there
are substantial increases (10 decibels) from the existing to build conditions. For this project, no NSAs will
experience such a substantial increase as a result of the Preferred Alternative.

The results of the updated analysis on the Preferred Alternative in the FEIS showed 59 NSAs in the study
area (representing a reduction of 69 NSAs from the DEIS and a reduction from 64 in the SDEIS). MDOT
SHA then analyzed whether each NSA would experience noise impacts and if each location already had an
existing noise barrier as documented in the FEIS. As detailed in the FEIS, Chapter 5, Section 5.9 and FEIS,
Appendix L, 48 of the 59 NSAs are predicted to result in noise impacts; of those 48, eight (8) do not meet
established criteria for noise abatement.

Having established the modeling results, the federal regulations next require the agency to assess whether
abatement is “feasible and reasonable” based on a series of practical engineering and performance
measures. For the Study, MDOT SHA analyzed several noise barrier scenarios, including keeping existing
barriers in place, extending existing barriers, replacement of existing barriers that could be displaced by
construction activities and installation of new barriers in locations without existing barriers. Based on
preliminary design assumptions, MDOT SHA made recommendations for the installation or replacement
of noise barriers. Those recommendations will be finalized based on detailed engineering performed
during final design. That process will solicit the views and opinions of impacted property owners and
residents.

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MDOT SHA’s analysis of noise impacts was done in compliance with existing federal regulations and
applicable state guidance. Final determinations on the size and location of noise abatement will also be
made in accordance with those standards and the prescribed feasibility and reasonableness criteria
contained therein.

I. Construction Impacts

The proposed action will be built in a heavily developed area constrained by existing residential and
commercial development and by environmental resources. Some commenters were concerned that the
LOD does not account for potential effects of construction. The impacts assessment accounts for the
potential land needed for construction, including areas for staging, materials storage, and access needs at
specific locations. These areas needed for construction accounted for in the LOD were initially identified
in the DEIS (DEIS, Appendix D) and further reduced as shown in both the SDEIS and FEIS. (Refer to SDEIS,
Appendix D and FEIS, Appendix E). The SDEIS and FEIS present quantified property impacts of the
Preferred Alternative and are categorized by permanent (or long-term) effects and temporary (or short-
term) effects. Refer to SDEIS, Chapter 4, Section 4.5 and FEIS, Chapter 5, Section 5.5.

It is anticipated that construction will last approximately five to six years. Details related to precisely when
and where construction related activities will occur will be determined in final design, however, the
project will likely require night work to occur when activities could not be completed safely during the day
due to heavy traffic congestion. Advanced notice of construction related activities would be provided and
all reasonable efforts to minimize impacts to residential communities would be undertaken. Impacts
associated with construction that will be further evaluated for the Selected Alternative in final design
include traffic congestion associated with maintenance of traffic during construction, utility disruptions,
construction vibration, erosion and sediment and control, and construction related noise.

The management of construction impacts is addressed in an agreement between MDOT SHA and the
Developer. Pursuant to that agreement, coordination with the neighboring communities will continue
through final design and construction. The agreement includes requirements to minimize impacts to
surrounding communities and the traveling public, while completing construction as soon as possible.
Work hours and duration of construction will be identified to minimize impacts to traffic in an effort to
reduce construction related congestion and in consideration of noise and vibration impacts to adjacent
communities. Construction methods and materials will comply with contract specifications state and
federal regulation, and environmental permits and mitigation requirements. Careful attention will be
given to assure that material placement will occur when weather conforms to industry standards and
regulation. In addition to required governmental inspections, the Developer is required by contract to
provide independent environmental, quality, and safety oversight of its contractor’s performance. Refer
to Final Phase 1 P3 Agreement, https://oplanesmd.com/p3-information/phase-1-agreement/. Once the
Developer has selected a Design-Build Contractor(s), the schedule and duration for Phase 1 South
construction will be made available to the public.

Other comments regarding construction impacts focused on: noise, air pollutant emissions, and exposure
to hazardous materials. Regarding construction noise, the DEIS and SDEIS acknowledge that short-term
highway construction can produce noise impacts in areas around the construction site. This type of project
will likely employ the following equipment, which could be a source of construction noise: bulldozers and
earthmovers; front-end loaders; dumps and other diesel trucks; and compressors. Generally, sensitive

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land uses near construction zones may experience noise levels between 78 dB(A) and 83 dB(A). Refer to
SDEIS, Section 4.23 and FEIS, Section 5.23. Maintenance and adjustments to equipment, temporary noise
barriers, construction of permanent noise barriers, where possible, variation of construction activity
areas, public involvement, and financial incentives to contractors are all mitigation approaches that can
decrease temporary noise impacts. Final mitigation as agreed upon with these agencies will be
documented in the FEIS and ROD. Wherever possible, the Developer will be required via contract
specifications to construct any proposed noise barrier prior to demolishing the existing sound barrier in
order to reduce noise and screen neighborhoods from construction activities. Where a proposed noise
barrier cannot be constructed prior to demolishing an existing noise barrier, the Developer will be
required via contract specifications to begin construction of the new noise barrier within 60 days of
beginning the existing sound barrier demolition; the Developer would also be required via contract
specifications to continue construction operations of the proposed noise barrier until it is completed. Final
determination of noise barrier feasibility, reasonableness, dimensions, and locations will be made during
the Final Design Noise Analysis, which is discussed further in DEIS Appendix J, Noise Analysis Technical
Report, SDEIS Appendix E, Noise Technical Report Addendum, and FEIS Appendix L, Final Noise Technical
Report.

Because the project’s construction duration is not anticipated to exceed six years in any single location,
most air emissions associated with construction are considered temporary in nature. The primary air
quality concerns during construction would be a potential short-term localized increase in the
concentration of fugitive dust (including airborne PM2s5 and PMio), as well as mobile source emissions,
including pollutants such as CO. To manage fugitive dust emissions during construction, the contractor
may use some or all of the following dust control measures, to minimize and mitigate, to the greatest
extent practicable, impacts to air quality:

e Minimize land disturbance;

@ Cover trucks when hauling soil, stone, and debris (MDE Law);

e Use water trucks to minimize dust;

e Use dust suppressants if environmentally acceptable;

* Stabilize or cover stockpiles;

e Construct stabilized construction entrances per construction standard specifications;
« Regularly sweep all paved areas including public roads;

e Stabilize onsite haul roads using stone; and/or

e Temporarily stabilize disturbed areas per MDE erosion and sediment standards.

Since CO emissions from motor vehicles generally increase with decreasing vehicle speed, disruption of
traffic during construction (such as temporary reduction of roadway capacity and increased queue
lengths) could result in short-term elevated concentrations of CO. To minimize the amount of emissions
generated, efforts would be made during construction to limit traffic disruptions, especially during peak
travel hours including keeping the same number of existing lanes open during construction.

Construction activities would also generate GHG emissions. Preparation of the roadway corridor (e.g.,
earth-moving activities) involves a considerable amount of energy consumption and resulting GHG

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emissions; manufacture of the materials used in construction and fuel used by construction equipment
also contribute to GHG emissions; and on-road vehicle delay during construction would also increase fuel
use, resulting in GHG emissions. In addition to an analysis of operational emissions of GHG, an analysis of
construction GHG emissions associated with the Preferred Alternative using the FHWA ICE is included in
the FEIS. Refer to FEIS, Chapter 5, Sections 5.8 and 5.23.3 and FEIS, Appendix K. FHWA’s ICE analysis is a
planning level analysis that uses high-level estimates of construction activity in terms of lane miles or track
miles before refined estimates are available. It is appropriate to analyze decisions that are made in the
long-range planning or project development processes, before details about specific facility dimensions,
materials, and construction practices are known. Since the estimation of emissions is derived from
engineering factors such as new lane miles added and number of bridges being constructed or
reconstructed, estimated emissions for construction of each of the Build Alternatives would likely be very
similar so conducting an ICE analysis on each alternative would not have provided meaningful information
to differentiate between alternatives. The results of the ICE analysis for the Preferred Alternative show
that the construction and maintenance of the project would produce annualized CO2 equivalent emissions
of approximately 1.1 million metric tons per year (MTCQ;2e). Total construction and maintenance related
emissions over the 30-year lifespan of the project are estimated at 34,477,856 MTCO2e. The majority of
these emissions are associated with vehicles using the roadway during normal operations and delays
associated with the construction of the project. Refer to FEIS, Chapter 5, Section 5.8.4.

Finally, land use impacts association with project construction would require the disturbance of soil and
vegetation which could expose hazardous materials. Prior to acquisition of right-of-way and construction,
Preliminary Site Investigations would be conducted on properties within and in the vicinity of the
Preferred Alternative LOD that have a high potential for exposing contaminated materials during
construction activities. Refer to SDEIS, Chapter 4, Section 4.10. Proposed investigation for the high
concern sites would adequately characterize surficial and subsurface soils, as well as groundwater, if
anticipated to be encountered. Example locations would consider locations of previous releases,
former/current/abandoned storage tanks, and inferred groundwater flow, as well as proposed
soil/groundwater disturbance during construction. The Developer would be required to use BMPs to
minimize the release of any hazardous materials during construction.

J. Wildlife and Wildlife Habitat

Some comments focused on the analysis of the proposed action’s potential effects on wildlife and aquatic
resources, in general, as well as the potential impact on state or federal protected rare, threatened or
endangered (RTE) aquatic and terrestrial species. MDOT SHA coordinated its analysis of these potential
impacts throughout the NEPA process with the United States Fish and Wildlife Service (USFWS), the
National Marine Fisheries Service (NMFS), the Maryland Department of Natural Resources (MDNR), and
the Virginia Department of Conservation and Recreation (VDCR). As summarized below, while some
impact to wildlife resources is anticipated, the pertinent state and federal agencies have determined that
the project would have no effect on protected species. Moreover, the project will implement extensive
mitigation measures during construction to further minimize impacts to these resources.

The Preferred Alternative would result in the physical removal and disturbance of vegetated areas,
including forested canopy or tree canopy areas, within the LOD due to clearing and grading of land needed
for construction of highway travel lanes; highway interchanges and ramps; noise barriers; and
construction of required SWM, among other construction-related activities. Additional, indirect impacts

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to vegetated areas could result from increased roadway runoff, sedimentation, and the introduction of
non-native plant species within disturbed areas. These indirect impacts could lead to terrestrial habitat
degradation within the Preferred Alternative LOD, and ultimately a decrease in plant and animal species
that inhabit these areas. Refer to DEIS and SDEIS Chapter 4, Section 4.16.3, DEIS, Appendix L, SDEIS,
Appendix H, FEIS Chapter 5, Section 5.19, and FEIS, Appendix M for greater detail.

This reduction in available vegetated habitat will result in unavoidable impacts to terrestrial wildlife,
however, these wildlife impacts are anticipated to be minimal since the Preferred Alternative would
improve an existing roadway corridor primarily populated by edge and disturbance acclimated species.
Likewise, impacts to potential Forest Interior Dwelling Bird Species (FIDS) habitat would result from the
widening of the existing highway, resulting in a reduction to the forest interiors required by FIDS. Because
most of these impacts would not result in new edge habitat, which occurs from bisecting the FIDS habitat,
similar to the conclusion regarding terrestrial effects, the overall impacts to FIDS species and habitat are
also expected to be minimal.

MDOT SHA has applied avoidance and minimization efforts through design refinements resulting in a
narrowing of the LOD and reduced impacts to terrestrial and forest habitat. Refer to DEIS, Chapter 4; DEIS,
Appendix B; DEIS, Appendix L; DEIS, Appendix M; SDEIS Chapters 2 and Chapters 4; FEIS Chapter 3; FEIS,
Appendix M; and FEIS, Appendix N. Unavoidable impacts to forest habitat from the Preferred Alternative
will be regulated by MDNR. MDOT SHA must comply with the Maryland Reforestation Law which details
a hierarchical process for mitigating unavoidable tree and forest impacts. MDOT SHA conducted a forest
mitigation site search (revised in July 2021) to identify off-site mitigation opportunities on public lands
after all opportunities to identify on-site planting locations had been exhausted. Specific mitigation for
forest impacts in Forest Conservation Easement area, local parks and NPS land has been developed in
close coordination with the appropriate local, state or federal agencies.

Potential impacts to aquatic biota in the study area result from direct and indirect impacts to perennial
and intermittent stream channels. Refer to SDEIS, Chapter 4, Section 4.12 and FEIS Chapter 5, Section
5.18. Impacts to aquatic biota could range from mortality of aquatic organisms during construction of
culvert extensions and loss of natural habitat from the placement of culvert pipes and other in-stream
structures to more gradual changes in stream conditions. Impacts to aquatic biota, including species of
freshwater mussels, are possible from the replacement of bridges and their in-water piers.

In particular, replacement of the ALB crossing the Potomac River will require extensive in-stream work,
and all required precautions will be taken to avoid and minimize impacts to the stream and its aquatic
biota. MDOT SHA has agreed to conduct a mussel survey in the Potomac River surrounding the ALB prior
to construction. Refer to DEIS and SDEIS Chapter 4, Section 4.18.3, and FEIS Chapter 5, Section 5.18.
Construction approaches that minimize the temporal extent of in-water activities in the Potomac River
surrounding the ALB will be considered to the extent practicable. Causeways and trestles proposed
adjacent to the existing ALB will be designed to avoid impacting fish passage by maintaining river velocities
below approximately 3 feet per second at commonly observed discharges during spawning periods for
anadromous fish. Trestles or other non-fill accessways will be used in areas of deeper water (e.g.,
extending from the southern bank) to the extent practicable to minimize fill and associated flow
restrictions. Refer to SDEIS, Chapter 4 Section 4.18.4 and FEIS Chapter 5, Section 5.18.4.

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Pursuant to federal requirements, MDOT SHA paid close attention to federally protected threatened and
endangered species. MDOT SHA conducted bridge and acoustic surveys within study area for the
threatened Northern Long-Eared Bat (NLEB) and endangered Indiana Bat in coordination with the MDNR
and USFWS. Following the submittal of reports on these efforts to state and federal regulatory officials
for review, these agencies concluded the consultation process under Section 7 of the Endangered Species
Act. Refer to SDEIS, Appendix H. The USFWS has determined that the proposed action will have “no
effect” on the Indiana Bat based on the absence of documented species during bridge emergence and
acoustic surveys. In addition, the proposed action is covered by the USFWS January 5, 2016 Programmatic
Biological Opinion on Final 4(d) Rule for the NLEB and Activities Excepted from Take Prohibitions because
the study area where forest clearing will occur does not have known maternity roost trees or hibernacula.
Therefore, the action has been determined “not likely to adversely affect” the NLEB.

MDOT SHA and FHWA have worked closely with USFWS and MDNR to ensure maximum protection of
identified bat species. Specifically, MDOT SHA voluntarily committed to a time of year restriction for tree
clearing from May 1 through July 31 of any year within a 3-mile buffer around each of the three positive
NLEB detection locations within the study area to go above and beyond what is required to protect this
bat species. Refer to SDEIS, Chapter 4 Section 4.19 and FEIS Chapter 5, Section 5.19.

MDOT SHA considered potential impacts to Virginia state-endangered tricolored bat (Perimyotis
subflavus) and little brown bat (Myotis lucifugus) in the Virginia portion of the Preferred Alternative. The
acoustic survey on the Virginia side of the Potomac River identified four instances of the tricolored bat
and no presence of the little brown bat. The Preferred Alternative would potentially affect the tri-colored
bat in Virginia. The majority of the Preferred Alternative LOD area in Virginia is composed of
suitable/somewhat suitable bat habitat, with 32.6 acres of potential tri-colored bat habitat in the Virginia
portion of the Preferred Alternative. There is a high likelihood of roost trees occurring in this area and
tree removal during roosting season could negatively impact the tri-colored bat population in Virginia. To
protect this species, MDOT SHA has agreed to a time of year restriction for tree removal proposed by
Virginia Department of Wildlife Resources (VDWR) for the entire Preferred Alternative LOD in Virginia
from April 1 — October 31.

MDOT SHA has conducted evaluations of streams in the Virginia portion of the Phase 1 South portion of
the corridor study boundary for the presence of wood turtle (Glyptemys insculpta). The wood turtle is a
state-threatened species in Virginia, and is known to occur in Turkey Run, a waterbody located east of the
Phase 1 South portion of the corridor study boundary. The evaluation was to include an assessment of
potential upland and aquatic habitats, the results of which were reported to the VDWR. To assess the
potential presence of wood turtles within the Virginia portion of the Phase 1 South portion of the corridor
study boundary, qualified biologists conducted field surveys of all delineated streams in February 2021
and in mid-March. Results of the wood turtle surveys are summarized in the Wood Turtle Habitat
Assessment and Survey Report — Virginia I-495 & |-270 Managed Lanes Study, SDEIS Appendix H. Portions
of eight streams, including the Virginia shoreline of the Potomac River, were assessed within the Virginia
Phase 1 South portion of the corridor study boundary (Refer to Figure 2-1 in Appendix B of the wood
turtle report included in SDEIS, Appendix H). No wood turtles were found during the field surveys. Four
of the streams were either intermittent or ephemeral and, thus, were not suitable overwintering habitat
for wood turtles. Bald eagles are not expected to be negatively affected by the proposed action, because
no bald eagle nests have been identified by USFWS within the study corridor boundary. Since bald eagle

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populations are expanding, it is possible that additional nesting pairs may utilize areas near the highways
in the future. MDOT SHA will consult with the USFWS when construction begins to confirm the
presence/absence of bald eagle nests in the vicinity of the proposed action. USFWS determined that the
improvements to the ALB will require removal prior to construction and replacement of the resident
peregrine falcon nest box after construction in close coordination with the USFWS. USFWS expects
disruption of the falcons for multiple nesting seasons due to long-term construction activities. Once
construction activities are mostly complete near the former nest site, MDOT SHA recommends that the
nest box be reinstalled. Refer to DEIS and SDEIS, Chapter 4 Section 4.17.3.

Based on extensive surveys conducted in 2019 through 2020, seven state-listed RTE plant species were
found within the study corridor boundary. While complete avoidance of these RTE plant species is not
possible, as most will be impacted by the construction of the ALB, impacts were minimized to the extent
practicable. Mitigation for impacts to these state-listed RTE plant species has been identified through
coordination with the NPS, MDNR and VDCR and includes development and implementation of a
comprehensive ecological restoration plan for the impacted area. Refer to FEIS Chapter 5, Section 5.19.

K. Property/Community Facilities

DEIS commenters noted primarily concern regarding the number of residential and commercial
displacements that would occur with the DEIS Build Alternatives and the potential impacts of property
acquisitions. Commenters on the SDEIS sought further confirmation of the impacts of the Preferred
Alternative and continued to raise concerns with temporary and partial property and community facility
impacts.

The study corridors are adjacent to well-established communities, as well as commercial and industrial
facilities largely adjacent to existing interstate highways but also other state and local transportation right-
of-way. The Preferred Alternative does not result in any full acquisitions or residential or business
displacements. The Preferred Alternative would require property acquisition to accommodate the
proposed managed lanes, shoulders, traffic barrier, direct access at-grade auxiliary lanes or ramps, cut
and fill slopes, SWM facilities, retaining walls, and noise barriers. Construction of the Preferred Alternative
would also require relocation of some signage, guardrails, communications towers, and light poles.

Property acquisitions under the proposed action would largely occur to areas immediately adjacent to the
existing I-495 and |-270 roadway alignments, acquiring strips of land from undeveloped areas.
Throughout the NEPA process, MDOT SHA has worked diligently to reduce property needs and community
impacts by attempting to stay within the land previously acquired and impacted by the existing highway.
MDOT SHA performed more detailed analysis and engineering on all Build Alternatives in order to avoid
or minimize residential and business displacements. For all Build Alternatives, these efforts included
reducing grading areas next to the roadway, adding retaining walls, modifying interchange ramp designs,
adjusting direct access locations, shifting the centerline alignment, and locating stormwater facilities
underground.

Most important, MDOT SHA continued to engage with property owners, business owners, community
organizations and the general public to address concerns over property displacements and impacts. As a
result, the range of 25-34 full property displacements revealed in the DEIS have been completely avoided
under the Preferred Alternative. In addition, no permanent impacts to the operation of existing

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community facilities would occur. Although partial acquisitions will still be necessary to construct the
Preferred Alternative (limited “strip takes” of parcels and undeveloped areas of trees or landscaping
adjacent to I-495 and I-270), the existing sense of community cohesion of communities along the study
corridors would not be impacted. Refer to DEIS and SDEIS, Chapter 4, Sections 4.5, 4.6 and 4.9 and FEIS,
Chapter 5, Section 5.5.

Also, the Preferred Alternative would not eliminate access or provide new access to properties, nor would
it impede access between residences, community facilities, and businesses as no properties are accessed
directly from I-495 or |-270. MDOT SHA will continue to make minimizing impacts a priority through design
and construction and is committed to further coordination with neighboring communities and individual
property owners. Based upon the overall project benefits and strong values of communities currently
located near the Study, any projected decline or increase in property values related to the construction
of the project but not directly impacted is speculative. Where MDOT SHA acquires property, property
owners are compensated for decreases in value to the remainder of the property.

Construction would require the removal of vegetation to varying degrees from strips of land adjacent to
the study corridors within the LOD for the Preferred Alternative. As a result of the vegetation removal,
the wider interstates, added direct access, at-grade auxiliary lanes or ramps, retaining walls, and noise
barriers would become more visible and prominent. The views from adjacent properties including
residential properties, commercial enterprises, parkland/open space properties, and a number of
community resources would experience a visual impact; however, impacts would generally be consistent
with existing views of the study corridors as the surrounding area is adjacent to the existing interstate
facilities and are visually consistent with the existing highway setting.

The Preferred Alternative also would require reconstruction of structures spanning I-495 and I-270 to
lengthen or raise the elevation of these structures. Residents and employees who live, work, and utilize
services immediately adjacent to the study corridors may experience changes in current quality of life due
to visual and aesthetic impacts, partial property acquisition, and temporary construction activities. While
the Preferred Alternative would introduce some new elements, such as direct access ramps, the expanded
highway features would generally be compatible with the existing visual character or qualities along the
existing interstates.

The design of all highway elements would follow aesthetic and landscaping guidelines which will be
developed in consultation with local jurisdictions, private interest groups (private developers or
companies), local community or business associations, as well as local, state, and federal agencies and the
Developer to assure visual consistency with existing setting.

Development of the Preferred Alternative will result in beneficial impacts from projected congestion
relief. The expected improved congestion and trip reliability in Phase 1 South would result in more
predictable travel and increased response times for emergency services and travel times to other
community facilities. The Preferred Alternative would also reduce traffic on local roads by three and a half
(3.5) percent, which would lead to better access to facilities and improved emergency response times
along local roadways. Refer to FEIS, Chapter 4, Section 4.3.6. Community residents could also experience
a benefit to quality of life due to reduced congestion along the study corridors and improved trip reliability
and travel choices to destination points within the region.

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L. Public Health

Many comments concerning specific project impacts focused on the potential for adverse effects on public
health, particularly with respect to air quality. These comments often tied potential public health effects
to the analysis of EJ concerns, as data suggests that disadvantaged and/or low-income communities may
experience proportionally greater adverse effects as a result of proximity to traffic-generated air pollution.

As required by the CAA, the USEPA sets the NAAQS for airborne pollutants that have adverse impacts on
human health and the environment, referred to as criteria pollutants. The criteria pollutants are CO, SOQ2,
O3, PM2s and PMio), NQz2, and Pb. In addition to the criteria pollutants for which there are NAAQS, USEPA
also regulates MSATs. The nine priority MSATs are: benzene, 1,3-butadiene, formaldehyde, acrolein,
acetaldehyde, diesel particulate matter, ethylbenzene, naphthalene, and polycyclic organic matter. These
MSATs have been associated with causing health issues and therefore, an analysis of MSATs can be used
in part to identify risks to public health. *®

Results of the air quality analysis completed for the DEIS showed MSAT emissions are expected to remain
the same or slightly decrease for all Build Alternatives when compared to the No Build Alternative for
2040, the design year. In addition, all MSAT pollutant emissions were expected to significantly decline in
the Opening (2025) and Design (2040) years when compared to the base conditions (2016) for the Build
Alternatives in the DEIS. These reductions occurred despite projected increase in VMT from 2016 to the
2025 and 2040 build scenarios, base, opening and design years, respectively. The MSAT analysis was
updated for the Preferred Alternative as part of the FEIS. The results indicate that while MSAT emissions
may increase slightly in 2045, the new design year, in localized areas due to an increase in VMT, there will
be an overall significant decline (average 89.29% percent) in MSAT levels from existing conditions (2016).
Refer to DEIS, Appendix | and FEIS, Appendix K.

While much work has been done to assess the overall public health risk from traffic proximity and MSATs
exposure, it is a continuing area of research and the tools and techniques for assessing project-specific
health outcomes as a result of lifetime MSAT exposure remain limited. Per FHWA’s Updated Interim
Guidance on MSAT Analysis in NEPA Documents (2018), information is incomplete or unavailable to
credibly predict the project-specific health impacts due to changes in MSAT emissions associated with a
proposed set of highway alternatives. The outcome of such an assessment, adverse or not, would be
influenced more by the uncertainty introduced into the process through assumption and speculation
rather than any genuine insight into the actual health impacts directly attributable to MSAT exposure
associated with a proposed action.

These limitations impede the ability to evaluate how potential public health risks posed by MSAT exposure
should be factored into project-level decision-making within the context of a NEPA Study such as the
Study. However, the Final Air Quality Technical Report for the FEIS includes a more detailed discussion of
the uncertainties associated with predicting health impacts of project alternatives. Refer to FEIS,
Appendix K. The FEIS summarizes that “[a]ir toxics emissions from mobile sources have the potential to
impact human health” (FHWA, 2018). The Health Effects Institute (HEI), which has conducted several
FHWA-funded studies as documented in FHWA Guidance Appendix D, FHWA Sponsored Mobile Source Air

1 https://www.epa.gov/mobile-source-pollution

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Toxics Research Efforts (refer to FEIS, Appendix K), published a literature review of 700 studies examining
the public health effects of traffic-related air pollution. The HEI literature review concludes that:

“[mJany aspects of the epidemiologic and toxicologic evidence relating adverse human health
effects to exposure to primary traffic-generated air pollution remain incomplete. However, the
Panel concluded that the evidence is sufficient to support a causal relationship between exposure
to traffic-related air pollution and exacerbation of asthma. It also found suggestive evidence of a
causal relationship with onset of childhood asthma, non-asthma respiratory symptoms, impaired
lung function, total and cardiovascular mortality, and cardiovascular morbidity, although the data
are not sufficient to fully support causality. For a number of other health outcomes, there was
limited evidence of associations, but the data were either inadequate or insufficient to draw firmer
conclusions.” (HEI, 2010)

MDOT SHA and FHWA recognize that EJ populations who live in areas with high USEPA and MD EJSCREEN
EJ Index scores (FEIS Chapter 5, Section 21 and Appendix F, Section 5.4.4A) may experience air quality
impacts from construction activities and highway operations more acutely than populations with lower EJ
Index scores because those populations have higher sensitivity and exposure to pollutants. MDOT SHA
has committed to implementing emission control measures aimed at minimizing impacts to air quality
throughout construction. These include implementing a diese! emissions program to minimize air
pollution, including MSATs, implementing a GHG reduction program, instituting an anti-idling policy to
avoid unnecessary idling of construction equipment to reduce engine emissions and provide benefit to
those that live and work in or adjacent to the anticipated construction area, and implementing a truck
staging area plan for all construction vehicles waiting to load or unload material to locations where
emissions will have the least impact on sensitive areas and the public. Additionally, measures to reduce
fugitive dust during construction will be implemented. Refer to FEIS Chapter 5, Section 5.21 and FEIS,
Appendix F, Section 5.4.4.4

Additional measures to reduce MSAT and criteria pollutant emissions that are part of the project include
transportation demand management strategies such as congestion pricing through the addition of
managed lanes, incentivizing transit, carpool and vanpool with three or more users (HOV 3+) by allowing
travel toll free thus reducing reliance on single occupancy vehicles and providing new or upgraded bicycle
and pedestrian improvements. Lastly, measures to reduce emissions during construction have been
committed to and are detailed in Chapter 5, Section 5.8.4 of this FEIS.

M. Utility Impacts and Costs of Repairs

Many comments addressed the project’s potential for impacting existing infrastructure in the study area,
with an emphasis on water utilities, and expressed concern over the cost of any relocation efforts and
whether those costs would be passed on to utility customers such as Washington Suburban Sanitary
Commission (WSSC) customers. Many commenters wrongly concluded that cost estimates for the
relocation of utilities was not included in the preliminary cost estimates in the DEIS.

From the earliest stages of the NEPA process, MDOT SHA has coordinated with WSSC and other utility
providers concerning potential impacts that would require the relocation of existing utility infrastructure.

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During the NEPA process, impacts to utility infrastructure and potential relocations have been considered.
As the project advances from planning to final design, the scope and cost of utility relocations will be
further refined in close coordination with WSSC and other utility providers.

During predevelopment work for Phase 1, the selected Developer, is working collaboratively with MDOT
SHA and our utility partners to further identify, avoid and reduce any impacts to utilities and, where
necessary, develop plans to relocate utilities in the most efficient and accommodating manner as possible.
To the extent applicable, the Developer is required to adhere to the utility provider’s regulations, design
standards, and specifications and coordinate any design and construction with the utility provider.

Potential cost of utility relocation has consistently been factored into the overall estimates developed for
the project. The reduced footprint of proposed improvements associated with the Preferred Alternative
as compared to the Build Alternatives discussed in the DEIS, together with ongoing coordination to
identify, avoid and minimize conflicts with existing infrastructure to the maximum extent practicable have
lowered the cost estimates significantly. It is too early in the predevelopment process to determine the
exact scope and cost of any utility relocations that may still be required, but it now appears that these
costs will be significantly lower than WSSC's original estimates. The cost estimate for the Preferred
Alternative includes the cost of utility relocation based on planning level information but these costs are
significantly lower than WSSC’s original estimates.

N. Indirect and Cumulative Effects
Comments raised on the DEIS suggested that an assessment of indirect and cumulative effects (ICE) was

incomplete or inadequate. Other comments questioned why a final analysis of ICE was not included in the
SDEIS.

The ICE assessment for the Study was conducted in accordance with MDOT SHA’s current ICE guidelines
(MDOT SHA, 2012) and in accordance with NEPA’s CEQ implementing regulations. The methodology was
reviewed and agreed up by FHWA. Refer to DEIS, Chapter 4, Section 4.22; DEIS, Appendix O; SDEIS
Chapter 4, Section 4.22; FEIS Chapter 5, Section 5.22; and FEIS, Appendix Q. The ICE analysis considered
the effects of the proposed action in the context of general trends on population, employment, and
general growth based on master plans, reports, census and geographic data, historic maps, and aerial
imagery. The ICE also considered: planning and forecasting documents concerning past, present, and
reasonably foreseeable future economic development; the history and origins of the proposed action and
previous studies; and data reflected in previously completed NEPA documents to understand the potential
for regional ICE.

The analytical assumptions underlying the ICE based on the Build Alternatives documented in the DEIS did
not change and remain valid for the analysis performed in the SDEIS. This updated analysis showed that
the reduced footprint of the Preferred Alternative within the Phase 1 South limits should result in a
substantial reduction in the potential for ICE as compared to the impacts associated with the potential
development of managed lanes in the entire study area.

Concerning potential indirect effects, the DEIS demonstrated that potential changes in travel patterns by
way of increased capacity along existing infrastructure, especially in more rural, less-developed portions
of the ICE Analysis Area and other locations where undeveloped land exists would be most likely to
experience pressure for new development from improved access along the |-270 and I-495 corridors.

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Therefore, the Prince George’s County portion of the study area was the most likely to experience indirect
or project-related growth impacts because the location of the managed lanes and proposed interchanges
was aimed as supporting growing areas or those that the County has planned for additional growth.
However, because the Preferred Alternative would not result in any roadway improvements in Prince
George’s County, these potential indirect impacts would most likely not occur as a result of the proposed
action.

Other portions of the study area that would not include roadway improvements as a result of the
Preferred Alternative had already been assessed as unlikely to experience indirect effects due to the highly
built-out and/or preserved land uses. Due to increased capacity and access to managed lanes associated
with the Preferred Alternative, more rural, less developed portions of the ICE analysis area could
experience more pressure for new development. However, within the Phase 1 South limits, much of the
land use has already been developed and there is a paucity of unoccupied land available for new
development. Much of the unoccupied land is also designated by planning documents for preservation,
further reinforcing the small likelihood of development pressure as a result of new or improved access to
1-495 and |-270. Refer to SDEIS, Chapter 4, Section 4.22.3, FEIS, Chapter 5, Section 5.22, and FEIS,
Appendix Q.

The SDEIS and FEIS explain how the Preferred Alternative could result in certain indirect effects impacting
natural resources, including forests, wetlands, wetland buffers, and waterways. The proposed action
could result in additional roadway runoff, sedimentation, changes to hydrology, and facility-related run-
off quality and quantity, as well as changes in drainage patterns and imperviousness. Refer to SDEIS,
Chapter 4, Section 4.22.3, FEIS, Chapter 5, Section 5.22, and FEIS, Appendix Q. Indirect downstream
impacts to surface water would be minimized through the development and application of approved
erosion and sediment control plans and stormwater-related BMPs. Any wetlands impacts associated with
proposed public or private development would require permitting by USACE and state regulatory
agencies, as well as review and approval by county governments to ensure consistency with
environmental protection guidelines. Coordination with federal, state, and local agencies overseeing
water resources in the ICE Analysis Area has continued and resulted in determining mitigation for
unavoidable impacts. Refer to FEIS Chapter 5, Section 5.22 and FEIS, Chapter 7. Other potential indirect
effect, such as additional noise impacts, could occur to communities from greater traffic volumes on
connecting roadways. Indirect impacts would be minimized by adherence to current master plans and
zoning regulations pertaining to new development.

With regard to cumulative effects, past and present growth and development have led to both positive
and adverse effects. The region’s past and recent growth has resulted in improved local economies and
led to the provision of enhanced community facilities, transportation infrastructure, and recreational
resources benefiting residences and businesses. Construction and expansion of transportation facilities,
in particular, has facilitated economic growth by providing access to employment and community facilities
and allowing for more efficient movement of goods and services. Refer to DEIS, Chapter 4, Section 4.22;
DEIS, Appendix O, Section 3; SDEIS Chapter 4, Section 4.22.3.B; FEIS, Chapter 5, Section 5.22; and FEIS,
Appendix Q.

The proposed action is one of many reasonably-foreseeable future transportation projects designed to
address both existing volumes, as well as anticipated growth. The proposed action alone would provide

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improved access, mobility, and traffic conditions. Combined with the other projects identified in the ICE
Technical Report, it is anticipated that there would be a greater overall benefit to local communities,
especially in light of anticipated increased population and employment in the ICE Analysis Area. Refer to
FEIS, Appendix Q. These cumulative demographic trends are expected to increase traffic volumes and
create eventual need for more transportation improvement projects.

The proposed action, along with other future transportation projects could result in adverse effects,
including additional noise impacts, with a potential cumulative effect on communities in the vicinity of
improved and new roadways. Cumulative impacts to water quality could occur from stream loss and the
incremental increase of impervious surfaces that may increase runoff from past, present, and future
development projects. These would be minimized through the use of BMPs during construction and use
of SWM facilities. The incremental effect would be minimized by the required permitting process, which
would identify avoidance, minimization, and mitigation as needed to offset resource losses.

The final ICE analysis on the proposed action is included in the FEIS, Chapter 5, Section 5.22 and FEIS,
Appendix Q.

O. Safety

Several comments raised concerns about the proposed action’s potential impacts on vehicle, pedestrian,
and/or bicycle safety. These comments assert that the construction of enhanced interchanges could
impact pedestrian and bicycle safety and that an increased number of highway lanes and/or access to
managed lanes will increase weave movements, thereby compromising travel safety. As summarized
below, the project will implement accepted engineering techniques to address safety issues during project
construction and operation.

The Preferred Alternative would maintain the existing separation between highway operations and local
traffic, bicyclists and pedestrians through access limits and physical barriers in accordance with state and
Federal design standards and regulations. Refer to FEIS, Chapter 3, Section 3.1.5. With respect to
pedestrian safety concerns for those areas located outside the highway facilities themselves, where direct
access ramps would be constructed, alterations to traffic patterns and roadway/sideway networks would
be mitigated by the inclusion of signage, high-visibility crosswalk markings, and pedestrian countdown
signals. Existing pedestrian and bicycle facilities impacted by the proposed action would be replaced in-
kind or upgraded to meet the current master plan recommended facilities. Any such replacements would
be coordinated with county and pertinent local jurisdictions, in compliance with Maryland law.

Although safety was not one of the specific elements identified in the Study’s Purpose and Need, the
safety goal is to reduce the number and severity of traffic crashes within the study limits. A review of the
existing crash history and a quantitative analysis of the safety impacts of the proposed action is included
in the FEIS as part of the MDOT SHA's Application for Interstate Access Point Approval documentation
required by FHWA (FEIS, Appendix B). The crash history review has identified crash patterns and high
frequency crash locations on all freeway segments, ramps, ramp terminals, and crossing roadways within
the project area and evaluated how the Preferred Alternative will help address existing traffic safety
concerns. The quantitative safety analysis included predictive safety analyses using the methodologies of
the Highway Safety Manual (HSM), published by AASHTO, to calculate projected changes in crash
frequency using Safety Performance Functions and Crash Modification Factors, where appropriate.

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Additionally, the Enhanced Interchange Safety Analysis Tool (ISATe), an industry-accepted model
recommended by FHWA, was used to develop crash predictions for the proposed ramp terminals at the
new direct access ramps and in locations where existing general purpose access is being modified.
Approval of the IAPA will be contingent on demonstrating that the project does not have a significant
adverse impact on the safety of the Interstate facility or on the local street network.

The design of the proposed action is undergoing extensive constructability reviews, and a Transportation
Management Plan and Maintenance of Traffic plans will be developed in final design to ensure that it can
be built safely and efficiently with minimal disruptions. The HSM and ISATe analysis summarized in the
IAPA will be updated during final design, as needed. FHWA’s ultimate approval of final design will take
those safety impacts into account.

During construction, the project would also implement a temporary detour network to avoid a disruption
in pedestrian and bicyclist connectivity. In general, the maintenance of all types of traffic during
construction is a major project consideration.

By providing additional travel choices, the proposed action may also mitigate existing safety issues such
as high frequency of congestion related crashes. certain safety issues. Specifically, the Preferred
Alternative is expected to reduce congestion on the interstates within the study limits and local roadways
networks, allowing for more reliable travel times for all users, including emergency responders. Refer to
FEIS, Appendix A, Final Traffic Analysis Report.

P. Regional Economy

Commenters noted that construction of the proposed action, and the resulting expanded highway
capacity and roadway choice would improve the regional economy, through initial job creation and
enhanced mobility in the study area. However, some commenters noted a belief that the proposed action
would have a negative economic impact to the surrounding communities.

Transportation improvements implemented as part of the proposed action would offer significant
economic benefits to the State of Maryland and the NCR. These benefits would be realized both in the
short-term, as a result of planning and construction, and in the long-term because of anticipated improved
traffic performance along the main highway corridors.

Initially, project planning and construction activity would present potential beneficial impacts to varying
sectors of the region’s economy. An increase in employment and job opportunities for future permitting
and design work, construction workers, resource suppliers, and inspectors would result before and during
construction of the proposed action. In addition, the use of materials to construct the improvements, and
purchases of goods and services generated by construction, could create a short-term improvement in
the local economy by increasing business at area commercial and retail establishments. Economic activity
associated with the Study would produce future tax revenue which would be derived from commercial
sales of materials required for construction. Refer to DEIS, Chapter 4, Section 4.24.2 and FEIS, Chapter 5,
Section 5.23.

In terms of overall employment opportunities, the greater than $3 billion in private infrastructure
investment associated with Phase 1 South will support thousands of jobs per year for this project with a
large majority of those jobs during construction. The Developer will seek to partner with community

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organizations, community colleges and universities in addition to labor unions and local businesses to
maximize opportunities for workforce training and apprenticeships. The Developer has already entered
into several MOUs with local organizations to collaborate on providing career training opportunities
through programs such as Academy of Success. MDOT will work with the Developer to ensure the
Developer’s Workforce Development plan and job seekers portal is effective in maximizing the number of
opportunities and sufficient resources for local minority, women, and veteran job seekers. Moreover, the
project will provide many opportunities for Disadvantaged Business Enterprises (DBE) in the region. The
Developer has committed to meet a 26% DBE participation contract goal for predevelopment work (e.g.,
design, funding, accounting as well as other professional services and pre-construction services).
Subsequent DBE participation goals will be established for design/professional services, construction and
operations and maintenance activities for future project phases. Likewise, the Developer has already
started to collaborate with those MOU local organizations on providing capacity building and business
development programs and initiatives. MDOT also will work with the Developer to ensure the Developer’s
DBE Plan and DBE Participation Schedule commitment to the utilization of disadvantaged businesses for
the project professional services and construction opportunities. The business development and capacity
building of these local DBE businesses will strengthen the overall local business community and create
growth in the regional economy.

Longer term, reduced congestion, enhanced trip reliability, and additional roadway choices would result
in improved traffic performance that would also create economic benefits. Specifically, efficient, and
reliable highway movement is necessary to accommodate passenger and freight travel that move goods
and services through the region, with those movements increasingly dependent on the performance of I-
495 and |-270. Refer to DEIS, Chapter 1, Section 1.7.2. Thousands of employers in the NCR depend on the
study corridors for employee commuting and delivery access. As illustrated in Figure 1-3 of the DEIS,
approximately 54% of residents in Montgomery County and 56% of residents in Prince George’s County
travel ten or more miles from their homes for work, with employment destinations and workers’ home
destinations densely clustered along the I-495 and I-270 study corridors (Maryland Department of Labor,
Licensing, & Regulation, 2018).

Moreover, freight-dependent industries, including goods transportation services, raw
materials/intermediate products transportation services, and retail/consumer outlets, account for 19
percent of the NCR’s Gross Domestic Product, which totaled $464 billion in 2013 (NCRTPB, 2016c). Among
these industries within the NCR, the truck transportation mode accounts for 86% of the total weight and
79% of the total value of freight moved (NCRTPB, 2016c). Reliable travel times are critical to the
movement of both commuting employees and freight trucks and, therefore, the economy of the NCR.
Travelers, commuting employees, and freight trucks are especially sensitive to non-recurring delays
(unanticipated disruptions), which are indicative of poor reliability, as they disrupt scheduled activities
and manufacturing/distribution activities (TPB, 2016d). Refer to DEIS, Chapter 1, Section 1.7 and DEIS
Appendix A, Section 3.10.

By providing additional roadway capacity through managed lanes, the proposed action would improve
the movement of employees, and goods and services which would benefit the local and regional economy.
Logistics costs decrease as trucks and commercial vehicles travel in less congested conditions, spending
less time in route, thus improving supply chain fluidity for regional industries dependent on truck traffic.
Refer to SDEIS, Chapter 4, Section 4.24.2 and FEIS, Chapter 5, Section 5.24.2. The proposed action would

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also accommodate increased traffic and congestion attributed to the projected regional population
growth between 2010 and 2045. The improved function of I-495 and I-270, access to travel choices, and
enhanced trip reliability would maintain the area’s desirability for future economic activity. Overall, a
strengthened regional economy can be expected to increase tax revenues resulting from higher assessed
homeowner property values and for businesses that improve and build new structures. Refer to DEIS
Chapter 4, Section 4.22; DEIS, Appendix O, Section 3; FEIS Chapter 5, Section 5.22; and FEIS, Appendix

Q.

Finally, because changes in the Preferred Alternative described in the SDEIS and FEIS have eliminated all
business relocations, the project would not negatively impact access to area businesses or employers.
There would be no overall impact to the distribution of worker occupation within the study area.

9.3.5 P3 Program

Many comments addressed the State’s plans to develop the project through a P3 and expressed concerns
that future toll revenues may not cover private developer costs, requiring an additional subsidy from the
State. In addition, comments on the DEIS and SDEIS focused on project costs generally, and concerns that
the Preferred Alternative is not financially viable.

MDOT does not have enough funds to construct improvements of the magnitude associated with the
Preferred Alternative. Additionally, MDOT does not have enough bonding capacity to take out loans to
pay for the improvements, even with the promise of tolls to pay them back. Therefore, MDOT elected to
use a P3 approach to fund the project.

A P3 is an alternative model for delivery of a capital project in which the governmental sector works with
the private entities. The particular P3 model identified for Phase 1 is a progressive multi step approach.
This P3 model, like others, seeks to make the most of private sector expertise, innovation, and financing
to deliver public infrastructure for the benefit of the public owner and users of the infrastructure. This P3
agreement includes designing, building, financing, operating, and maintaining a transportation facility,
however, MDOT SHA would continue to own all lanes and infrastructure on I-495 and |-270 and ensure
the highway meets their intended transportation function.

Many comments expressed concern over the use of the P3 model, specifically pointing out challenges to
the delivery of the Purple Line project, which was also done through a P3 agreement. While concerns over
the Purple Line project are understandable, the Study P3 Agreements are different from the Purple Line
and other P3s in Maryland, in that this process uses a multi-step Progressive P3 model to further identify
and reduce impacts and risks. The first step of this process is the collaborative Predevelopment Work.
The evaluation criteria for the Predevelopment Work focused on reducing project risk, providing schedule
certainty and the ability to deliver Phase 1 with no State of Maryland funding. The Developer for the
project proposed a sound approach to delivering Phase 1 that will greatly reduce the likelihood of
challenges that other projects have faced. The Progressive P3 approach allows the Developer to closely
collaborate with MDOT, MDTA and other stakeholders during the Predevelopment phase before finalizing
its design and pricing, which will reduce and mitigate risks and challenges that would exist in a more
traditional procurement process as well as other P3 models.

Additional comments questioned the process by which the state selected the approved Developer. The
Maryland BPW approved the P3 Program in June 2019 with a supplemental approval in January 2020.

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These approvals allowed MDOT SHA to use the Progressive P3 approach to design and construct Phase 1
of the P3 Program. This approach allowed the solicitation process to proceed concurrently with the NEPA
process. The solicitation process included provisions to end should the NEPA process conclude with the
No Build Alternative as the Selected Alternative in the ROD.

MDOT issued a Request for Proposal seeking interested phase developers in February 2020. MDOT and
MDTA, with participation from local jurisdictions, developed a shortlist of four highly qualified Proposers
in July 2020. Three of the four shortlisted firms submitted proposals to enter into the P3 Agreement for
Phase 1 to assist in the pre-development work, deliver. In February 2021, MDOT SHA identified the
Selected Proposer that could best deliver the project in a manner most advantageous to the State.

On August 11, 2021, in accordance with Maryland law, MDOT and MDTA received approval from the BPW
to award the Phase 1 P3 Predevelopment Agreement to the Developer. In accordance with the terms and
conditions of the Phase 1 P3 Agreement, the Developer has proposed an estimated $300 million for transit
services in Montgomery County over the operating term of Phase 1 South. Moreover, upon financial close
of the Section P3 Agreement for Phase 1 South, MDOT is committed to fund not less than $60 million from
the Development Rights Fee provided by the Developer for the design and permitting of high priority
transit investments in Montgomery County and MDOT is committed to deliver the Metropolitan Grove
Bus Operations and Maintenance Facility including necessary bus fleet.

Only after approval of a ROD for the Managed Lanes Study with a Build Alternative selected will MDOT
seek approval from the BPW to move forward with a Section P3 Agreement with a subsidiary of the Phase
Developer who will be responsible for final design, construction, financing, operations, and maintenance
of a particular section.

The Preferred Alternative for Phase 1 South has an estimated cost ranging between $3.75 to $4.25 billion,
which is substantially smaller than that the anticipated $9-511 billion for the more extensive build
alternatives in the DEIS that included construction on sections of |-495 east of the |-270 Spurs. For
purposes of comparing alternatives, the DEIS presented a broad analysis of the potential for each
alternative to be financially self-sufficient. The analysis included multiple factors to determine potential
cash flows, such as a range of capital costs, initial revenue projections, preliminary operations and
maintenance costs, and assessed with a range of interest rates. The DEIS, Table 2-6, shows a range of
positive, as well as negative, cashflow outcomes. This analysis was necessary to account for various
market conditions and could change as the P3 program continues forward. From the outset, MDOT SHA
has stated its intention to deliver all planned improvements for the Study at no net cost to Maryland
taxpayers. That commitment stands.

9.3.6 Tolling

Some comments expressed a general opposition both to the use of managed or tolled lanes on |-495 and
|-270 and to management of those lanes through a P3 arrangement. Other comments sought information
regarding the process by which toll rates would be established and expressed concern that toll rates would
be affordable or inequitable to lower-income populations. Refer to Section 9.3.4 D of this chapter for
information on tolling and EJ.

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The SDEIS and FEIS demonstrate how the development of managed lanes will effectively provide tangible
operational benefits even though the Preferred Alternative includes no action or no improvements for a
large portion of the study area. Tolling as a congestion management tool has been considered in the
region as outlined in the Visualize2045 Plan, the latest financially CLRP that was approved by the NCRTPB
on October 17, 2018. The Visualize2045 Plan identified Seven Aspirational Initiatives for a Better Future.
One of the seven initiatives is “Expand Express Highway Network,” which includes congestion-free toll
roads, building on an emerging toll road network, and new opportunities for transit for express buses to
travel in the toll lanes. Moreover, the State’s use of the P3 model can provide funding for major
transportation improvements that may not otherwise be possible given fiscal constraints. Each of these
concerns is addressed in turn.

A. Opposition to Price Managed Lanes or Tolling Public Roads

Commentors questioned the purpose served, the need for tolling, and expressed general opposition to
tolling public roads. Specifically, comments expressed concern over implementing privatized toll roads
fearing loss of “free” lanes. Others specifically noted concerns about “occupancy-based tolling” being
ineffective. FHWA and MDOT SHA have considered the comments in opposition to managed or tolled
lanes in the context of the Study’s Purpose and Need and the proposed action’s ability to provide
substantial, tangible operational benefits to |-495 and |-270. General purpose lanes are susceptible to
congestion as traffic volumes increase. Once the traffic volume reaches a certain threshold, traffic
operations slow, remaining congested until traffic volumes decrease. Managed lanes remedy this issue by
combining two highway management tools: (1) Congestion Pricing and (2) Lane Management.

Congestion Pricing is the use of pricing to moderate demand during peak periods. In the highway sector,
congestion pricing involves the introduction of road-user charges that vary with the level of congestion
and/or the time of day, providing incentives for motorists to shift their trips to off-peak times, to less-
congested routes, or to alternative modes of travel. Higher prices may also encourage motorists to
consolidate trips or eliminate them entirely. When peak-period volumes are high, a shift in a relatively
small proportion of trips can lead to substantial reductions in overall congestion levels, resulting in more
reliable travel times. Refer to DEIS and SDEIS, Chapter 3, Section 3.3.3 and FEIS, Chapter 4, Section 4.3.3.

Lane Management involves restricting access to designated highway lanes based on occupancy or vehicle
type. By limiting the number of vehicles in designated lanes, it is possible to maintain a desirable level of
traffic service. Refer to DEIS Chapter 2, Section 2.5 and the National Cooperative Highway Research
Program, Research Report 835, Guidelines for Implementing Managed Lanes.

The price managed lanes included in the proposed action are HOT lanes. HOT lanes often implement a
combination of vehicle occupancy requirements and variable tolling, whereby HOVs may use the roadway
for a reduced toll rate or free of charge, while low occupancy vehicles pay higher toll rates. Toll payments
for these lanes may vary by time of day and level of congestion. Minimum vehicle occupancy, such as a
minimum of three or more occupants (HOV 3+), is a common eligibility requirement for managed lanes.
Such occupancy restrictions allow for the movement of more people relative to the total number of
vehicles. Importantly, under the proposed improvements (1) all travelers will be able to continue using
the same number of existing general purpose lanes for free and (2) HOV with three or more users (HOV
3+) will be able to use the managed lanes for free. The proposed managed lanes are designed to add value
by providing traffic relief throughout the corridor, including in the free general purpose lanes.

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Toll facilities collect and provide funds for transportation improvements throughout the corridor that
would not otherwise be funded or fundable due to the high cost. In Maryland, typical roadway
infrastructure improvements are funded through use of Maryland’s Transportation Trust Fund. However,
the State’s traditional funding sources, including the Trust Fund, are unable to effectively finance,
construct, operate, and maintain highway systems of the magnitude required to enhance trip reliability in
the study corridors. For these sorts of large projects—such as the Study—revenue sources that provide
adequate funding are needed to support more immediate capacity improvements. The use of alternative
funding approaches, such as pricing, tolling, or fares, provides the potential to address needed large-scale
improvements decades earlier than would otherwise be realized using traditional funding. Put simply, the
State of Maryland does not have the funds to construct improvements of this magnitude, which have an
estimated cost of approximately $3.75 to $4.25 billion. If MDOT SHA were to fund the construction of
one general purpose lane per direction for the limits of the Study and re-allocate its entire budget for
capital plan expansion ($1.4 billion over the next six years), it would take more than a decade to deliver
this alternative. This approach would also leave no additional funding available for other MDOT SHA
capital projects across the State of Maryland during that timeframe.

The use of a P3 for this project also reflects state fiscal realities concerning large-scale infrastructure
improvements. While MDOT could issue Consolidated Transportation Bonds (CTBs) to finance the
construction of additional general purpose lanes, MDOT has a statutory debt limit on CTBs. This remaining
amount of funds below the CTB limit would be insufficient to construct additional general purpose lanes.
Even with toll revenues, MDOT does not have enough bonding capacity to take out the loans that would
be required to pay for the improvements. MDOT has therefore selected a Developer through a
competitive process and has entered into a Phase 1 P3 agreement, whereby the Developer will design,
build, finance, operate, and maintain the managed lanes for a period of time using the toll revenue. MDOT
SHA will continue to own all of the lanes on I-495 and I-270 and ensure the highway meets their intended
transportation function.

B. Process for Establishing Toll Rate Ranges, and Setting Toll Rates Within Those Ranges

Many comments received questioned the process by which toll rates and the toll rate range are
established in Maryland while other comments raised concern over the ability of the Developer to raise
tolls to high levels. Specifically, comments expressed concerns about high toll rates, expensive short,
localized trips, and the Developer raising tolls in certain conditions forcing users to sit in traffic or pay a
high toll rate. Commentors referenced Virginia toll rates and news articles as examples of the toll rate
concern. The goal of the proposed HOT lanes is to maintain free-flowing traffic by using tolls to influence
traffic flow. For this project, the HOT lanes will be designed to maintain a minimum average speed of 45
mph or greater for more than 90 percent of the time during the morning and evening weekday peak
period. As such, the toll rates will be set to ensure the HOT lanes operate to established operational
metrics, which will apply the economic principles of supply and demand to influence the utilization of the
HOT lanes. The Developer will be responsible for setting toll rates within the established toll rate ranges
that were approved by the MDTA Board in November 2021, following three public comment review
periods. As previously mentioned, toll rate ranges will only apply to the HOT lanes, ensuring discounts for
qualifying vehicles and no tolls for vehicles with three or more occupants.

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The toll-rate range setting process is led by the MDTA, who are the only State entity with the authority to
set, revise, and fix toll rates in accordance with Transportation Article, § 4-312 of the Annotated Code of
Maryland and COMAR Title 11, Department of Transportation, Subtitle 07 MDTA, Chapter 05, Public
Notice of Toll Schedule Revisions (11.07.05). As outlined in the DEIS and SDEIS, the toll rate ranges were
determined through a multi-step process that is codified in Maryland law, which provides for public input
through public hearings and official public testimony.

A proposed toll rate range was presented to the MDTA Board on May 20, 2021, and the Board voted to
take the toll proposal to public hearings and a public comment period, thereby ensuring that the public
was engaged in the toll rate range-setting process. The public had the opportunity to comment on the toll
rate ranges three times throughout the process as follows:

e Public hearings were held on July 12 and 14, 2021. The comment period lasted from May 20
through August 12, 2021. At the August 26, 2021 MDTA Board Meeting, MDTA staff presented a
summary and analysis of public comments received at the public hearings; they also responded
to questions from the Board members. A summary of the public comments received and the
analysis of the comments’ is available on the MDTA webpage at:
https://mdta.maryland.gov/ALB270TollSetting/PublicParticipation.

e At the MDTA Board Meeting on September 30, 2021, MDTA staff presented the final toll rate
range proposal, which was the Board’s recommended action. The recommended toll rate ranges
for the proposed action, including the information and studies used in the analysis justifying the
toll rate range proposal, are available on the MDTA website at:
https://mdta.maryland.gov/ALB270TollSetting. Following an approval vote to seek public
comment on the recommendation, the second comment period was initiated and ran from
September 30, 2021 through October 28, 2021. On November 10, 2021, MDTA staff posted a
summary and analysis of comments received on the MDTA website.

e At the MDTA Board Meeting on November 18, 2021, MDTA staff presented the comment
summary from the second comment period. MDTA staff also presented the final toll rate range
recommendation to the Board. The Board accepted additional public comment from those
attending the meeting in-person, before voting to approve the toll rate ranges.

The toll rate ranges consist of minimum toll rates, soft toll rate caps, and maximum toll rates for the HOT
lanes. Minimum Toll Rate: The minimum toll rate is the lowest toll rate per mile that will be charged at
any tolling segment for the HOT lanes or the lowest total toll a customer will pay regardless of how far
they travel.

Soft Rate Cap: The purpose of the soft rate cap is to constrain the toll rate charged to customers when
throughput and speed performance targets are achieved. This provides customers protection from toll
increases when traffic conditions do not justify higher rates. Although not standard practice in the tolling
industry, the MDTA is choosing to be one of only two states in the United States to set a soft rate cap to
constrain the toll rate as a protective measure for customers. The soft rate cap will always be lower than
the maximum toll rate and can be exceeded only temporarily to provide customers who choose to pay a
toll for a faster and more reliable trip. The toll rate will continue to decrease once throughput and speed
performance targets are achieved, until it is at or below the soft rate cap.

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Maximum Toll Rate: The maximum toll rate is the highest per-mile toll rate that may be charged within
any tolling segment for the HOT lanes. The actual per-mile rate paid by customers is responsive to real-
time traffic. The maximum rate will only be realized under conditions where the soft rate cap is exceeded,
which would be during times of deteriorating performance. These operational parameters include
managed lanes speed below 50 mph, which would result from high volumes/congestion in the managed
lanes. When the soft rate cap is exceeded, the maximum toll rates would remain in effect and be a ceiling
to how high toll rates could be set regardless of managed lanes traffic operations.

The minimum and maximum toll rate ranges, and the soft rate cap within them, will be adjusted annually
to ensure the toll rates will: (1) keep up with the growing traffic demand for the HOT lanes, (2) account
for annual inflation, and (3) achieve the goal of providing a faster and more reliable trip for customers
who choose to pay the toll over the life of the project. MDTA approval of the toll rate range included
annual escalation of these values to account for inflation and economic growth of the planned timeframe
of the P3 agreement. The annual escalations will automatically apply to the toll rates and do not require
additional toll rate setting processes or approval of the MDTA Board. Toll rates will be set dynamically,
meaning they could change up to every five minutes based on traffic volumes or speed in the HOT lanes
to provide customers who choose to use the HOT lanes and pay a toll, a faster and more reliable trip. The
actual toll rates will change based on real-time traffic within each tolling segment, and current toll rates
will be displayed on electronic roadway signs, allowing drivers to know their toll prior to entering the HOT
Lanes. Tolls will be collected electronically at highway speeds, using overhead gantries, with no toll plazas
or toll booths (cashless tolling). The recommended toll rate ranges mentioned above reflect a base
minimum per-mile toll rate of 17 cents a mile. The maximum per mile toll rate for 2-axle E-ZPass vehicles
is $3.76 per mile. This value varies based on vehicle classifications (i.e., number of axles) and payment
type (e.g., E-ZPass, pay-by-plate, video tolling). Refer to MDTA’s webpage for the approved toll rate range:
https://mdta.maryland.gov/ALB270TollSetting/TollRateRangeSettingProcessAndApprovedTollRateRange
S.

9.3.7. Public Involvement

Comments raised general concerns over sufficiency of public involvement during the NEPA Study, specific
concerns over access and availability of the DEIS and SDEIS during the pandemic, and requested extension
of the DEIS and SDEIS public comment periods. From the outset of the Study’s NEPA process, FHWA and
MDOT SHA developed a comprehensive public involvement and engagement strategy designed to obtain
input from stakeholders around the entire study area. This strategy combined traditional opportunities
for commenting on the DEIS and SDEIS in addition to wide-ranging outreach to community organizations
(e.g., church groups, homeowners’ associations, public interest groups, and governmental entities), with
particular sensitivity and outreach to identified EJ communities. The public involvement and engagement
process, starting in early 2018 and continuing to the present, considered the vast diversity of community
resources. MDOT SHA’s strategy also changed over time to reflect the realities of conducting the NEPA
process in part during the COVID-19 global pandemic. The efforts during the Study to engage with the
public in a safe manner during the pandemic became recognized based on its strategy of ensuring safety
while still providing the same opportunities for meaningful participation by the public in the NEPA process.
Refer to SDEIS Chapter 7, Section 7.2.1. MDOT SHA and FHWA were able to make the DEIS available and
accessible and hold public hearings in recognition of evolving social gathering and public health
restrictions. The public involvement conducted throughout the Study has been documented in the

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following reports: DEIS, Chapter 7 and Appendix P; SDEIS, Chapter 7; and FEIS Chapter 8 and Appendix
R.

The Study began with publication of a Notice of Intent (NOI) on March 16, 2018. At the same time, the I-
495 & |-270 Program website was launched as a means to share information and to gather feedback from
the public (https://oplanesmd.com/). Pursuant to the CEQ regulations, publication of the NOI also began
a formal “scoping” period. MDOT SHA conducted a series of four Public Scoping Open Houses around the
study area, which hosted close to 400 attendees across Montgomery and Prince George’s counties. These
open houses were widely advertised through advertisements in traditional media, correspondence,
information posted on the Program website, and a variety of social media posts. Refer to DEIS, Appendix
P.

In addition to the mandatory scoping requirements, MDOT SHA conducted additional information
sessions, open houses, and provided comment periods during the development of the range of
alternatives to be considered in the DEIS. Outreach on the first stage of alternatives development, the
Preliminary Range of Alternatives, was conducted between July 2018 and January 2019. As with the first
round of public scoping open houses, four large Preliminary Alternatives Public Workshops were broadly
attended, with close to 600 attendees, including over a dozen elected officials. Attendees were able to
listen to a presentation regarding the project, review display boards and a summary handout, ask
questions of Study team, interact with technical staff at small working group tables, and comment publicly
on project information in front of the agency and other citizens. The comment period on the Preliminary
Range of Alternatives was broadly utilized, with 2,282 submissions via hard copy comment forms, online
forms, telephone, mail, and email. Refer to DEIS, Appendix P.

This transparent process of alternatives development continued into 2019 with another series of public
meetings and outreach focused on the ARDS in the DEIS. From March to mid-June 2019, MDOT SHA
conducted another eight large ARDS Public Workshops and offered another comment period between
April 11, 2019 and June 14, 2019. Over 1,000 people attended the workshops and the agency received
over 1,000 comment submissions at the workshops or by mail or email.

Knowing the broad extent of public interest in the Study and need for ample public involvement, MDOT
SHA also conducted over 40 meetings during the alternatives development stage with various community
associations, legislators, stakeholder organizations, and large property holders in the study area. Refer to
Table 5-5, DEIS, Appendix P. In addition, MDOT SHA extended this outreach strategy to include many
informal opportunities for interaction with the Study team and agency staff between June 2019 and April
2020, prior to official publication of the DEIS. MDOT SHA conducted over 100 such meetings during that
time period with individuals as well as small and large groups. All these meetings were organized and
conducted in addition to the required formal comment periods.

In total, over 3,900 comments were received during the study comment periods from Scoping through
ARDS. These comments were organized into relevant comment themes and summarized in respective
reports. To be fully transparent and to ensure all comments were able to reach other citizens, the
comment summary reports, including the individual submissions, were made publicly available on the
Program website.

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Finally, based on the extensive comments received both in and outside of formal comment periods, MDOT
SHA made substantive changes to the Preliminary Range of Alternatives considered, added new
alternatives, altered study elements of proposed build alternatives, conducted additional analyses and
outreach, refined design to avoid and minimize impacts and ultimately chose a Preferred Alternative that
addressed concerned raised over the life of the study.

The DEIS was published on July 10, 2020 and was made available on the I-495 & I-270 P3 Program webpage
(https://oplanesmd.com/deis/), on the USEPA EIS Database webpage and at multiple public locations in
hard copy in Montgomery and Prince George’s counties, Maryland; Fairfax County, Virginia; and
Washington, D.C. Following publication of the DEIS, FHWA and MDOT SHA provided a 90-day comment
period, which is twice the minimum time required by the CEQ regulations. Based on input from the general

public, community partners, stakeholders, and local and federal officials, however, MDOT SHA supported
extending the DEIS comment period and made a formal request to FHWA, which has authority to grant
any extension. FHWA approved this request and granted a 30-day extension of the public comment period
for the DEIS. All in all, the DEIS was made available for comment and review from July 10, 2020 through
and including November 9, 2020, a total of four months. During this extended comment period, the
agencies received close to 3,000 comments.

The SDEIS published on October 1, 2021 was prepared to consider new information relative to the
Preferred Alternative, Alternative 9 - Phase 1 South. Building off the analysis in the existing DEIS, the SDEIS
disclosed new information relevant to the Preferred Alternative while referencing the DEIS for information
that remained valid. The SDEIS also described the background and context in which the Preferred
Alternative, Alternative 9 — Phase 1 South was identified. The SDEIS was available for the public to review
and comment on the Preferred Alternative during a 45-day comment period, which was later extended
an addition 15 days. The SDEIS was also made available on the |-495 & I-270 P3 Program webpage
(https://oplanesmd.com/sdeis/), on the USEPA EIS Database webpage and at multiple public locations in
hard copy in Montgomery and Prince George’s counties; Maryland, Fairfax County, Virginia; and
Washington, D.C.

Recognizing the importance of providing access to the DEIS and supporting documents in a time with
COVID-19 restrictions, MDOT SHA provided the opportunity for persons without electronic access to view
the DEIS in hard copy at multiple locations across the study area. The agency employed innovative
approaches to identify locations that were convenient to affected communities, despite widespread
closures of many public facilities as a result of the pandemic. The DEIS was available for viewing at 21
public locations. Temporary facilities to house the DEIS for public review were provided and staffed at
eight public library parking lot locations along the study corridors, as well as one location in Washington,
D.C. Lobbies at six centrally located post offices in Montgomery and Prince George’s counties were also
used for DEIS viewing locations. Locations were available during the week and weekend days, with day
and evening hours to provide adequate options for the public to view the documents. Lastly, six select
MDOT SHA, MDTA, and VDOT offices within or near the study area were also open to the public for viewing
the DEIS and Technical Reports. Each DEIS viewing location was ADA-compliant, provided hard copy
documents and computers for electronic viewing, and were equipped with required Personal Protective
Equipment (PPE), including masks, hand sanitizers, and antibacterial cleaning solution. A strict safety
protocol, in compliance with the State-mandated COVID-19 guidelines, was followed to ensure the safety
of the public and study staff. DEIS comments were accepted through the following ways:

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* Oral testimony at one of the public hearings in the main hearing room;

* Oral testimony to a court reporter at a private room at the public hearing;
¢ Written comments on a comment form at the public hearing;

e Letters to the P3 Program Office;

« Online comment forms;

* Emails to the P3 Program Office; and

¢ Voicemail.

With this extended formal comment period and a continuous series of wide-ranging informal efforts to
ensure a variety of safe opportunities to participate in the NEPA process, sufficient time was allowed for
public consideration of and comment on the DEIS and SDEIS.

Providing access to information related to MDOT SHA’s proposed action and the opportunity to
participate in the decision-making process is particularly important with respect to low-income and
minority populations, also known as EJESD communities. Refer to Executive Order 12898: Federal Actions
to Address Environmental Justice in Minority Populations and Low-Income Populations. MDOT SHA made
concerted efforts to identify the location of and to engage these communities throughout the process.
Table 7-1 of DEIS, Appendix P summarizes the extensive number of workshops, stakeholder meetings,
pop-up information booths at public events, and other gatherings prior to publication of the DEIS which
were specifically focused on or conducted within EJ populations. MDOT SHA also ensured that these
communities were targeted to obtain information about the study and progress of the NEPA review
through mailings to schools, places of worship and affordable housing complexes (in multiple languages)
throughout the study area. The scope of EJ outreach is also summarized in DEIS, Appendix E.

The FEIS will be available for a 30-day Notice of Availability through the Program website before the ROD
is approved. Public involvement and engagement will continue after the formal NEPA process is complete
and the ROD is issued. As a requirement in the P3 Agreement, the Developer must provide a public
outreach and engagement plan. After the NEPA stage of the project concludes with publication of the
ROD, the Developer would coordinate with MDOT SHA to facilitate an early and ongoing collaborative
dialogue to engage stakeholders, local communities, and property owners though final design and
construction. MDOT SHA, jointly with the Developer, would be responsible for implementing strategies,
such as public meetings and community events, with the goal of maintaining an open dialogue with
stakeholders.

9.3.8 Comments Concerning Resources Outside Phase 1 South Limits

Despite the reduced limits of build improvements associated with the Preferred Alternative, commenters
still included concerns related to resources outside of the limits of build improvements. As described in
the SDEIS, the Preferred Alternative was identified after coordination with resource agencies, the public,
and stakeholders to respond directly to feedback received on the DEIS to avoid displacements and impacts
to significant environmental resources, and to align the NEPA approval with the planned project phased
delivery and permitting approach which focused on Phase 1 South only. The Preferred Alternative includes
two new, HOT managed lanes on I-495 in each direction from the George Washington Memorial Parkway
to west of MD 187 and conversion of the one existing HOV lane in each direction on I-270 to a HOT

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managed lane and adding one new HOT managed lane in each direction on |-270 from I-495 to north of I-
370 and on the I-270 east and west spurs. The Preferred Alternative includes no action or
no improvements at this time on |I-495 east of the I-270 spur to MD 5 in Prince George's County. Refer
to Figure 1-1 in the FEIS. The potential impacts raised regarding resources outside of Phase 1 South had
been identified in the DEIS related to build alternatives that would have spanned the entire study
area. Because those resources are located outside the Preferred Alternative limits of build improvements,
those impacts have now been completely avoided. Any future proposal for improvements to the
remaining parts of |-495 within the study limits, outside of Phase 1 South, would advance separately and
would be subject to additional environmental studies, analysis, and collaboration with the public,
stakeholders, and agencies.

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10 LIST OF PREPARERS

This Final Environmental Impact Statement (FEIS) was prepared by the Federal Highway Administration
(FHWA) and Maryland Department of Transportation State Highway Administration (MDOT SHA) with
assistance from technical professionals. Key preparers of this document are included below.

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Achieved

Study Role/ Responsibility

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Management

NEPA

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Cultural Resources/Section 106

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Stormwater Management

Kevin Hughes

BS Engineering Science

Noise

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Brittany Rolf Master of Community Planning | NEPA/Public Involvement
Deb Poppel MS Biology NEPA

Dori Shivers MS Civil Engineering Stormwater Management

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11 DISTRIBUTION LIST

11.1 Federal Agencies

Advisory Council on Historic Preservation

Department of Defense, Joint Base Andrews

Federal Emergency Management Agency Region III

Federal Railroad Administration

Federal Transit Administration, Region 3

General Services Administration

National Capital Planning Commission

National Institute of Standards & Technology, Office of Facilities and Property Management
National Marine Fisheries Service, Greater Atlantic Regional Office

National Oceanic Atmospheric Administration

National Park Service, National Capital Regional Office

Naval Support Activity Bethesda

US Army Corps of Engineers, Baltimore District

US Coast Guard

US Department of Agriculture

US Department of Housing and Urban Development

US Department of the Interior, Office of Environmental Policy & Compliance

US Environmental Protection Agency, Region 3

US Postal Service, Westlake Carrier Annex Post Office/Capital Heights Post Office
US Fish and Wildlife Service, Chesapeake Bay Field Office

11.2 Federally Recognized Tribes

Absentee-Shawnee Tribe of Oklahoma
Delaware Nation

Delaware Tribe of Indians
Chickahominy Indian Tribe
Chickahominy Indians Eastern Division
Eastern Shawnee Tribe of Oklahoma
Monacan Indian Nation

Nansemond Indian Tribe

Oneida Indian Nation

Onondaga Nation

Pamunkey Indian Tribe
Rappahannock Tribe, Inc.

Saint Regis Mohawk Tribe
Seneca-Cayuga Nation

Shawnee Tribe

Tuscarora Nation

Upper Mattaponi Indian Tribe

11.3 State of Maryland Agencies

Governor's Office of Community Initiatives, Maryland Commission on Indian Affairs
Maryland Department of Business and Economic Development

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Maryland Department of the Environment, Air and Radiation

Maryland Department of the Environment, Wetlands and Waterways Program
Maryland Department of Natural Resources

Maryland Department of Planning Clearinghouse

Maryland Department of Transportation, Maryland Transit Administration
Maryland Department of Transportation, Maryland Transportation Authority
Maryland Department of Transportation, Office of Planning & Capital Programming
Maryland Historical Trust

11.4 Commonwealth of Virginia Agencies

Virginia Department of Conservation and Recreation

Virginia Department of Environmental Quality, Office of Environmental Impact Review
Virginia Department of Forestry

Virginia Department of Health

Virginia Department of Historic Resources

Virginia Department of Transportation, Northern Virginia District

Virginia Department of Wildlife Resources

Virginia Marine Resources Commission

11.5 State Recognized and Other Tribal Groups

Piscataway Conoy Tribe of Maryland (PCT)
PCT - Cedarville Band of Piscataway

PCT - Choptico Band of Piscataway
Piscataway Indian Nation

11.6 County and Local Agencies

City of College Park

City of Gaithersburg

City of Greenbelt

City of New Carrollton

City of Rockville

Fairfax County, Department of Transportation

Fairfax County, Office of County Executive

Maryland-National Capital Park and Planning Commission, Montgomery County Department of Parks
Maryland-National Capital Park and Planning Commission, Montgomery County Planning Board
Maryland-National Capital Park and Planning Commission, Montgomery County Planning Department
Maryland-National Capital Park and Planning Commission, Prince George’s County Parks and Recreation
Maryland-National Capital Park and Planning Commission, Prince George’s County Planning Board
Maryland-National Capital Park and Planning Commission, Prince George’s County Planning Department
Maryland-National Capital Park Police, Montgomery County

Maryland-National Capital Park Police, Prince George’s County

Metropolitan Washington Council of Governments, Department of Environmental Programs
Montgomery County, Department of Transportation

Montgomery County Executive’s Office

Prince George’s County Department of Public Works and Transportation

Prince George’s County Executive’s Office

Washington Metropolitan Area Transit Authority

Washington Suburban Sanitary Commission (WSSC) Water

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23 CFR 771.130 Supplemental Environmental Impact Statements.

23 CFR § 450.324(c). Development and content of the metropolitan transportation plan.

23 CFR § 650.105(q). Definitions; Significant encroachment.

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23 CFR § 772. Procedures for Abatement of Highway Traffic Noise and Construction Noise.

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23 CFR § 774.3{(a, b, c). Section 4(f) approvals.

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23 CFR § 774.13(a, d, f). Exceptions.
23 CFR § 774.15. Constructive use determinations.
23 CFR § 774. 17. Definitions.

36 CFR § 800.2[c][5]. Participants in the Section 106 process; Consulting parties; Additional consulting
parties.

36 CFR § 800.3[f]. Initiation of the Section 106 Process; Identify other consulting parties.

36 CFR § 800.4(a)(1). Identification of historic properties; Determine scope of identification efforts;
Determine and document the area of potential effects.

36 CFR § 800.5(a)(1). Assessment of Adverse Effects; Apply criteria of adverse effect; Criteria of
adverse effect.

36 CFR Part 800.6(a)(1)(iii). Resolution of adverse effects; Continue consultation; Notify the Council
and determine Council participation.

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36 CFR Part 800.14(b). Federal agency program alternatives; Programmatic agreements.

36 Code of Federal Regulations (CFR) § 800.8. Coordination with the National Environmental Policy
Act.

36 CFR § 800.16(1}(1). Definitions; Historic Property.
AO CFR § 1502.16. Environmental Consequences.
40 CFR § 1508.1(g). Definitions; Effects or impacts.
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49 CFR § 24. Uniform Relocation Assistance and Real Property Acquisition for Federal and Federally-
Assisted Programs.

50 CFR § 10.13. General Provisions; List of Migratory Birds.

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recommendations; international and national coordination of efforts.

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